Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 1 of 179
Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 2 of 179
Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 3 of 179




                 Exhibit A
             Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 4 of 179




                                                                                                          Page 1




8-K

8-K




                                                   UNITED STATES

                                   SECURITIES AND EXCHANGE COMMISSION

                                                 Washington, DC 20549



                                                       FORM 8-K



                                                 CURRENT REPORT

                        Pursuant to Section 13 or 15(d) of The Securities Exchange Act of 1934

                          Date of Report (Date of earliest event reported): February 21, 2014



                                        Federal National Mortgage Association

                                  (Exact name of registrant as specified in its charter)




 Federally chartered corporation                        000-50231                               XX-XXXXXXX
      (State or other jurisdictionof            (CommissionFile Number)                (IRS EmployerIdentification
              incorporation)                                                                   Number)




                 3900 Wisconsin Avenue, NWWashington, DC                                          20016
                    (Address of principal executive offices)                                    (Zip Code)




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            Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 5 of 179
                                                                           Page 2




                         Registrant’s telephone number, including area code: 202-752-7000

                (Former Name or Former Address, if Changed Since Last Report): ______________



Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the
registrant under any of the following provisions (seeGeneral Instruction A.2. below):



[]    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)



[]    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)



[]    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))



[]    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))




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            Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 6 of 179
                                                                           Page 3




The information in this report, including information in the exhibits submitted herewith, shall not be deemed “filed” for
purposes of Section 18 of the Securities Exchange Act of 1934, or otherwise subject to the liabilities of Section 18, nor
shall it be deemed incorporated by reference into any disclosure document relating to Fannie Mae (formally known as the
Federal National Mortgage Association), except to the extent, if any, expressly incorporated by specific reference in that
document.


Item 2.02 Results of Operations and Financial Condition.

On February 21, 2014, Fannie Mae filed its annual report on Form 10-K for the year ended December 31, 2013 and
issued a news release reporting its financial results for the periods covered by the Form 10-K. The news release, a copy
of which is furnished as Exhibit 99.1 to this report, is incorporated herein by reference.

Item 7.01 Regulation FD Disclosure.

On February 21, 2014, Fannie Mae posted to its Web site a 2013 Credit Supplement presentation consisting primarily of
information about Fannie Mae’s guaranty book of business. The presentation, a copy of which is furnished as
Exhibit 99.2 to this report, is incorporated herein by reference. Fannie Mae’s Web site address is www.fanniemae.com.
Information appearing on the company’s Web site is not incorporated into this report.

Item 9.01 Financial Statements and Exhibits.

(d) Exhibits.The exhibit index filed herewith is incorporated herein by reference.




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 7 of 179
                                                                          Page 4




                                                   SIGNATURES

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be
signed on its behalf by the undersigned hereunto duly authorized.




                                                        FEDERAL NATIONAL MORTGAGE ASSOCIATION


                                                     By /s/ David C. Benson
                                                        David C. Benson
                                                        Executive Vice President andChief Financial Officer

Date: February 21, 2014




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            Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 8 of 179
                                                                           Page 5




                                                   EXHIBIT INDEX

The following exhibits are submitted herewith:




Exhibit Number           Description of Exhibit
           99.1          News release, dated February 21, 2014
           99.2          2013 Credit Supplement presentation, dated February 21, 2014




Section 2. Financial Information
Item 2.02 Results of Operations and Financial Condition
Section 7. Regulation FD
Item 7.01 Regulation FD Disclosure
Section 9. Financial Statements and Exhibits
Item 9.01 Financial Statements and Exhibits
2013 PRESS RELEASE




Resource Center: 1-800-732-6643

Exhibit 99.1

Contact:    Pete Bakel

202-752-2034




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             Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 9 of 179
                                                                            Page 6




Date:    February 21, 2014


    Fannie Mae Reports Comprehensive Income of $84.8 Billion for 2013 and $6.6 Billion for Fourth Quarter 2013


                             Fannie Mae Paid Treasury $82.5 Billion in Dividends in 2013



•                                        Fannie Mae reported annual net income
                                         for 2013 of$84.0billion, which includes
                                         the release of the company’s valuation
                                         allowance against its deferred tax assets,
                                         and annual pre-tax income for 2013 of
                                         $38.6 billion.

•                                        Fannie Mae reported net income
                                         of$6.5billion for the fourth quarter of
                                         2013, the company’s eighth consecutive
                                         quarterly profit, and pre-tax income of
                                         $8.3 billion for the fourth quarter of
                                         2013.

•                                        Fannie Mae will pay Treasury $7.2
                                         billionin dividends in March 2014. With
                                         the March dividend payment, Fannie
                                         Mae will have paid a total of
                                         $121.1billion in dividends to Treasury
                                         in comparison to $116.1 billion in draw
                                         requests since 2008. Dividend payments
                                         do not offset prior Treasury draws.

•                                        Fannie Mae has funded the mortgage
                                         market with approximately $4.1 trillion
                                         in liquidity since 2009, enabling
                                         families to buy, refinance, or rent a
                                         home.

•                                        Fannie Mae is supporting the housing
                                         recovery by providing access to
                                         affordable mortgages and by helping to
                                         build a safer, transparent, and
                                         sustainable housing finance system.




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 10 of 179
                                                                           Page 7




•                                        While Fannie Mae expects to be
                                         profitable for the foreseeable future, the
                                         company does not expect to repeat its
                                         2013 financial results, as those results
                                         were positively affected by the release
                                         of the company’s valuation allowance
                                         against its deferred tax assets, a
                                         significant increase in home prices
                                         during the year, and the large number of
                                         resolutions the company reached
                                         relating to representation and warranty
                                         matters and servicing matters.



WASHINGTON, DC— Fannie Mae (FNMA/OTC) reported annual net income of$84.0billion and annual pre-tax income
of $38.6 billionin 2013. This compares to net income of $17.2 billion and pre-tax income of $17.2 billion in 2012. Fannie
Mae reported net income of$6.5 billionfor the fourth quarter of 2013, the company’s eighth consecutive quarterly profit,
and pre-tax income of $8.3 billion for the fourth quarter of 2013. The company’s comprehensive income of $6.6 billion
for the fourth quarter of 2013 contributed to Fannie Mae’s positive net worth of $9.6 billionas of December 31, 2013.

Fannie Mae will pay Treasury $7.2 billionin March 2014 as a dividend on the senior preferred stock, marking the first
time in which the company’s cumulative dividend payments to Treasury will exceed its total draws. Under the senior
preferred stock purchase agreement, the payment of dividends does not offset prior draws.

Fannie Mae’s strong 2013 pre-tax results were driven by continued stable revenues, credit-related income, and fair value
gains. Credit-related income was positively affected by an increase in home prices, a decline




                   Fourth Quarter and Full Year 2013 Results                                        1




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 11 of 179
                                                                           Page 8




in serious delinquency rates, and updated assumptions and data used to estimate the company’s allowance for loan losses
in 2013. Fannie Mae’s 2013 financial results also were positively affected by the release of the company’s valuation
allowance against its deferred tax assets and the large number of resolutions the company entered into during the year
relating to representation and warranty matters and servicing matters.

While Fannie Mae remains under conservatorship and subject to the restrictions of the senior preferred stock purchase
agreement with Treasury, the company has undergone significant changes over the past several years resulting in
improved financial performance and a stronger book of business. Fannie Mae expects to remain profitable for the
foreseeable future. While the company expects its annual earnings to remain strong over the next few years, it expects its
net income in future years will be substantially lower than its net income for 2013. For more information about Fannie
Mae’s expectations for its future financial performance, see the company’s annual report on Form 10-K for the year
ended December 31, 2013, filed with the SEC on February 21, 2014.


                                  ABOUT FANNIE MAE’S CONSERVATORSHIP

Fannie Mae has operated under the conservatorship of the Federal Housing Finance Agency (“FHFA”) since September
6, 2008. Fannie Mae has not received funds from Treasury since the first quarter of 2012. The funding the company has
received under its senior preferred stock purchase agreement with the U.S. Treasury has provided the company with the
capital and liquidity needed to fulfill its mission of providing liquidity and support to the nation’s housing finance
markets and to avoid a trigger of mandatory receivership under the Federal Housing Finance Regulatory Reform Act of
2008. For periods through December 31, 2013, Fannie Mae has requested cumulative draws totaling $116.1 billion and
paid $113.9 billion in dividends to Treasury. Following the company’s March 2014 dividend payment of $7.2 billionto
Treasury, Fannie Mae’s cumulative dividend payments to Treasury will exceed total draws from Treasury. Under the
senior preferred stock purchase agreement, the payment of dividends does not offset prior draws. As a result, Treasury
maintains a liquidation preference of $117.1 billion on the company’s senior preferred stock.


                                       Treasury Draws and Dividend Payments




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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 12 of 179
                                                                Page 9




     Fourth Quarter and Full Year 2013 Results                                    2




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 13 of Page
                                                                          179 10




(1)
                                         Treasury draw requests are shown in the
                                         period for which requested and do not
                                         include the initial $1.0 billion
                                         liquidation preference of Fannie Mae’s
                                         senior preferred stock, for which Fannie
                                         Mae did not receive any cash proceeds.
                                         The payment of dividends does not
                                         offset prior Treasury draws.

(2)
                                         The company’s dividend for the first
                                         quarter of 2014 is calculated based on
                                         the company’s net worth of $9.6
                                         billionas of December 31, 2013 less the
                                         applicable capital reserve amount of
                                         $2.4 billion.

(3)
                                         Amounts may not sum due to rounding.

In August 2012, the terms governing the company’s dividend obligations on the senior preferred stock were amended.
The amended senior preferred stock purchase agreement does not allow the company to build a capital reserve.
Beginning in 2013, the required senior preferred stock dividends each quarter equal the amount, if any, by which the
company’s net worth as of the end of the immediately preceding fiscal quarter exceeds an applicable capital reserve
amount. The capital reserve amount was $3.0 billion for each quarterly dividend period in 2013, decreased to $2.4 billion
for dividend periods in 2014 and will continue to be reduced by $600 million each year until it reaches zero on January 1,
2018.

The amount of remaining funding available to Fannie Mae under the senior preferred stock purchase agreement with
Treasury is currently $117.6 billion.

Fannie Mae is not permitted to redeem the senior preferred stock prior to the termination of Treasury’s funding
commitment under the senior preferred stock purchase agreement. The limited circumstances under which Treasury’s
funding commitment will terminate are described in “Business—Conservatorship and Treasury Agreements” in the
company’s annual report on Form 10-K for the year ended December 31, 2013.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 14 of Page
                                                                         179 11




                        PROVIDING LIQUIDITY AND SUPPORT TO THE MARKET

Fannie Mae provided approximately $4.1 trillion in liquidity to the mortgagemarket from January 1, 2009 through
December 31, 2013through its purchases and guarantees of loans, which enabled borrowers to complete 12.3 million
mortgage refinancings and 3.7 million home purchases, and provided financing for 2.2 million units of multifamily
housing.




                  Fourth Quarter and Full Year 2013 Results                                    3




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 15 of Page
                                                                          179 12




Fannie Mae’s market share remained high in 2013 as the company has continued to meet the needs of the single-family
mortgage market in the absence of substantial issuances of mortgage-related securities by private institutions during the
year. The company remained the largest single issuer of single-family mortgage-related securities in the secondary
market during the fourthquarter of 2013, with an estimated market share of new single-family mortgage-related securities
issuances of 46percent, compared with 48percent in the fourthquarter of 2012 and 47percent for all of 2013.




Fannie Mae also remained a continuous source of liquidity in the multifamily market in 2013. As of September 30, 2013
(the latest date for which information is available), the company owned or guaranteed approximately 21percent of the
outstanding debt on multifamily properties.

                     HELPING TO BUILD A SUSTAINABLE HOUSING FINANCE SYSTEM

In addition to continuing to provide liquidity and support to the mortgage market, Fannie Mae has devoted significant
resources toward helping to build a sustainable housing finance system for the future, primarily through pursuing the
strategic goals identified by its conservator, FHFA. These strategic goals are: build a new infrastructure for the secondary
mortgage market; gradually contract the company’s dominant presence in the marketplace while simplifying and
shrinking its operations; and maintain foreclosure prevention activities and credit availability for new and refinanced
mortgages.

                                                  CREDIT QUALITY




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 16 of Page
                                                                          179 13




New Single-Family Book of Business: While continuing to make it possible for families to purchase, refinance, or rent a
home, Fannie Mae has established responsible credit standards. Since 2009, Fannie Mae has seen the effect of actions it
took, beginning in 2008, to significantly strengthen its underwriting and eligibility standards and change its pricing to
promote sustainable homeownership and stability in the housing market. As of December 31, 2013,77percent of Fannie
Mae’s single-family guaranty book of business consisted of loans it had purchased or guaranteed since the beginning of
2009. Given their strong credit risk profile and based on their performance so far, the company expects that in the
aggregate these loans will be profitable over their lifetime, meaning the company’s fee income on these loans will exceed
the company’s credit losses and administrative costs for them.




                   Fourth Quarter and Full Year 2013 Results                                        4




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 17 of Page
                                                                         179 14




Single-family conventional loans acquired by Fannie Mae in2013had a weighted average borrower FICO credit score at
origination of 753and an average original loan-to-value (“LTV”) ratio of 76percent.

Loss Reserves:The company’s total loss reserves decreased to $47.3 billionas of December 31, 2013from$62.6 billionas
of December 31, 2012. The company’s total loss reserves peaked at $76.9 billion as of December 31, 2011.




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 18 of Page
                                                                          179 15




Fannie Mae’s single-family serious delinquency rate has declined each quarter since the first quarter of 2010, and was
2.38percent as of December 31, 2013, compared with 5.47 percent as of March 31, 2010. This decrease is primarily the
result of home retention solutions, foreclosure alternatives, and completed foreclosures, as well as the company’s
acquisition of loans with stronger credit profiles since the beginning of 2009.




                   Fourth Quarter and Full Year 2013 Results                                      5




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 19 of Page
                                                                          179 16




                  HOME RETENTION SOLUTIONS AND FORECLOSURE ALTERNATIVES

To reduce the credit losses Fannie Mae ultimately incurs on its legacy book of business, the company has been focusing
its efforts on several strategies, including reducing defaults by offering home retention solutions, such as loan
modifications. Fannie Mae completed approximately 39,000loan modifications during the fourthquarter of2013and
approximately 160,000for the full year of2013.

Fannie Mae views foreclosure as a last resort. For homeowners and communities in need, the company offers alternatives
to foreclosure. We provided approximately234,000loan workouts in 2013 to help homeowners stay in their homes or
otherwise avoid foreclosure. These efforts helped to stabilize neighborhoods, home prices and the housing market. In
dealing with homeowners in distress, the company first seeks home retention solutions, which enable borrowers to stay in
their homes, before turning to foreclosure alternatives. When there is no viable home retention solution or foreclosure
alternative that can be applied, the company seeks to move to foreclosure expeditiously in an effort to minimize
prolonged delinquencies that can hurt local home values and destabilize communities.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 20 of Page
                                                                         179 17




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table must be assembled with part numbers in ascending order from left to right. Row numbers, which are not part of the
original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3                                                   For the Year Ended December 31,
4                                                  2013                                                 2012
5                       Unpaid Principal Balance                 Number of Loans                  Unpaid Principal
                                                                                                     Balance
6                                                          (Dollars in millions)
7            Home
           retention
          strategies
               :
8         Modificat        $        28,801                      160,007                             $         30,640
            ions
9         Repayme              1,594                             12,022                                 3,298
           nt plans
             and
          forbearan
              ces
          complete
               d
10        HomeSav               —                                  —                                      —
               er
           Advance
           first-lien
             loans
11          Total              30,395                           172,029                                 33,938
            home
          retention
          strategies
12        Foreclosu
               re
          alternativ
              es:
13           Short             9,786                             46,570                                 15,916
             sales




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 21 of Page
                                                                       179 18




14        Deeds-            2,504                             15,379                               2,590
         in-lieu of
        foreclosu
             re
15         Total            12,290                            61,949                               18,506
        foreclosu
             re
        alternativ
             es
16        Total         $       42,685                       233,978                           $       52,444
           loan
         workouts
17         Loan              1.48           %                  1.33           %                     1.85
         workouts
            as a
        percentag
            e of
          single-
          family
         guaranty
         book of
         business

***********************************************************************
************** This is piece: 2
***********************************************************************
1
2
3
4                                                                                    2011
5                               Number of Loans                Unpaid Principal Balance              Number of
                                                                                                       Loans
6
7
8                               163,412                          $         42,793                      213,340
9                               23,329                                5,042                            35,318
10                                   —                                 —                                    —
11                              186,741                              47,835                            248,658
12
13                              73,528                               15,412                            70,275




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 22 of Page
                                                                       179 19




14                          15,204                                 1,679                         9,558
15                          88,732                                 17,091                       79,833
16                          275,473                            $       64,926                   328,491
17         %                  1.57           %                      2.29           %             1.85


***********************************************************************
************** This is piece: 3
***********************************************************************
1
2
3
4                                                       2010
5                            Unpaid Principal Balance                  Number of Loans
6
7
8                              $           82,826                      403,506
9                                    4,385                             31,579
10                                   688                                   5,191
11                                         87,899                      440,276
12
13                                 15,899                              69,634
14                                   1,053                                 5,757
15                                 16,952                              75,391
16                             $        104,851                        515,667
17         %                         3.66           %                      2.87    %




               Fourth Quarter and Full Year 2013 Results                                    6




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 23 of Page
                                                                          179 20




                                            REFINANCING INITIATIVES

Through the company’s Refi Plus™initiative, which offers refinancing flexibility to eligible Fannie Mae borrowers and
includes HARP, the company acquired approximately 139,000 loansin the fourth quarter of 2013 and approximately 1
millionloans for the full year of2013. Some borrowers’ monthly payments increased as they took advantage of the ability
to refinance through Refi Plus to reduce the term of their loan, to switch from an adjustable-rate mortgage to a fixed-rate
mortgage, or to switch from an interest-only mortgage to a fully amortizing mortgage. Even taking these into account,
refinancings delivered to Fannie Mae through Refi Plus in2013reduced borrowers’ monthly mortgage payments by an
average of $223.




                                             FORECLOSURES AND REO

Fannie Mae acquired 32,208single-family REO properties, primarily through foreclosure, in the fourthquarter of2013,
compared with 37,353in the third quarter of2013. As of December 31, 2013, the company’s inventory of single-family
REO properties was 103,229, compared with 100,941 as of September 30, 2013. The carrying value of the company’s




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 24 of Page
                                                                          179 21




single-family REO was $10.3 billionas of December 31, 2013.

The company’s single-family foreclosure rate was 0.82percent for the full year of2013. This reflects the number of
single-family properties acquired through foreclosure or deeds-in-lieu of foreclosure as a percentage of the total number
of loans in Fannie Mae’s single-family guaranty book of business.




                   Fourth Quarter and Full Year 2013 Results                                        7




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 25 of Page
                                                                         179 22




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original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3                                                   For the Year Ended December 31,
4                                 2013                                       2012                             2011
5           Single-
            family
          foreclose
               d
          properties
           (number
              of
          properties
               ):
6         Beginnin         105,666                                    118,528                               162,489
              g of
            period
          inventory
           of single-
            family
          foreclose




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 26 of Page
                                                                       179 23




            d
        properties
          (REO)
7         Total            144,384                                  174,479                       199,696
        properties
         acquired
         through
        foreclosu
            re
8       Dispositi          (146,821        )                        (187,341         )            (243,657
         ons of
          REO
9         End of           103,229                                  105,666                       118,528
          period
        inventory
         of single-
          family
        foreclose
              d
        properties
          (REO)
10       Carrying      $        10,334                          $            9,505                   $
         value of
          single-
          family
        foreclose
             d
        properties
         (dollars
             in
         millions)
11       Single-             0.82                    %                0.99                    %     1.13
          family
        foreclosu
          re rate

***********************************************************************
************** This is piece: 2
***********************************************************************
1
2
3
4




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 27 of Page
                                                                          179 24




5
6
7
8                          )
9
10           9,692
11                                    %


The company provides further discussion of its financial results and condition, credit performance, fair value balance
sheets, and other matters in its annual report on Form 10-K for the year ended December 31, 2013, which was filed today
with the Securities and Exchange Commission. Additional information about the company’s credit performance, the
characteristics of its guaranty book of business, its foreclosure-prevention efforts, and other measures is contained in the
“2013 Credit Supplement” at www.fanniemae.com.

                                                            ###

In this release and the accompanying Appendix, the company has presented a number of estimates, forecasts,
expectations, and other forward-looking statements regarding the company’s future earnings and financial results,
including its profitability; the company’s future loss reserves; the profitability of its loans; its future dividend payments
to Treasury; and the impact of the company’s actions to reduce credit losses. These estimates, forecasts, expectations,
and statements are forward looking statements based on the company’s current assumptions regarding numerous factors,
including future home prices and the future performance of its loans. Actual results, and future projections, could be
materially different from what is set forth in the forward-looking statements as a result of home price changes, interest
rate changes, unemployment rates, other macroeconomic and housing market variables, the company’s future serious
delinquency rates, government policy, credit availability, borrower behavior, including increases in the number of
underwater borrowers who strategically default on their mortgage loan, the volume of loans it modifies, the nature,
volume and effectiveness of its loss mitigation strategies and activities, significant changes in modification and
foreclosure activity, management of its real estate owned inventory and pursuit of contractual remedies, changes in the
fair value of its assets and liabilities, impairments of its assets, future legislative or regulatory requirements that have a
significant impact on the company’s business such as a requirement that the company implement a principal forgiveness
program, future updates to the company’s models relating to loss reserves, including the assumptions used by these
models, changes in generally accepted accounting principles, changes to the company’s accounting policies, failures by
its mortgage seller-servicers to fulfill their repurchase obligations to it, effects from activities the company takes to
support the mortgage market and help borrowers, the conservatorship and its effect on the company’s business, the
investment by Treasury and its effect on the company’s business,the uncertainty of the company’s future, the company’s
future guaranty fee pricing and the impact of that pricing on the company’s competitive environment, challenges the
company faces in retaining and hiring qualified employees, the deteriorated credit performance of many loans in the
company’s guaranty book of business, a decrease in the company’s credit ratings, defaults by one or more institutional
counterparties, resolution or settlement agreements the company may enter into with its counterparties, operational
control weaknesses,changes in the structure and regulation of the financial services industry, the company’s ability to
access the debt markets, disruptions in the housing, credit, and stock markets, government investigations and litigation,
the performance of the company’s servicers, conditions in the foreclosure environment, natural or other disasters, and
many other factors, including those discussed in the “Risk Factors” section of and elsewhere in the company’s annual




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 28 of Page
                                                                          179 25




report on Form 10-K for the year ended December 31, 2013, and elsewhere in this release.

Fannie Mae provides Web site addresses in its news releases solely for readers’ information. Other content or
information appearing on these Web sites is not part of this release.

Fannie Mae enables people to buy, refinance, or rent a home.

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                   Fourth Quarter and Full Year 2013 Results                                    8




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 29 of Page
                                                                          179 26




                                                       APPENDIX

                        SUMMARY OF FOURTH QUARTER AND FULL YEAR 2013 RESULTS

Fannie Mae reported net income of $6.5 billionfor the fourthquarter of 2013, compared with net income of $8.7 billionfor
the third quarter of 2013and net income of$7.6 billionfor the fourthquarter of 2012. The company reported net income of
$84.0 billionfor 2013, compared with net income of $17.2 billion for 2012.




[Note: The following table/form is too wide to be printed on a single page. For meaningful review of its contents the
table must be assembled with part numbers in ascending order from left to right. Row numbers, which are not part of the
original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3          (Dollars                            4Q13                                       3Q13
              in
           millions)
4             Net                      $       4,851                            $         5,582
            interest
            income
5           Fee and                        2,136                                    741
             other
            income
6             Net                          6,987                                    6,323
           revenues




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 30 of Page
                                                                    179 27




7    Investme                        135                                      648
      nt gains,
         net
8       Net                          (22              )                       (27                 )
       other-
       than-
     temporar
         y
     impairme
        nts
9    Fair value                      961                                      335
        gains
      (losses),
         net
10   Administ                       (632              )                      (646                 )
      rative
     expenses
11    Credit-
      related
      income
12    Benefit                        —                                       2,609
     for credit
       losses
13   Foreclose                      1,082                                    1,165
         d
      property
      income
14      Total                       1,082                                    3,774
       credit-
      related
      income
15     Other                        (237              )                      (308                 )
        non-
      interest
     expenses
         (1)

16    Net gains                     1,287                                    3,776
       (losses)
         and
       income
     (expenses
           )
17    Income                        8,274                                   10,099




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 31 of Page
                                                                       179 28




          before
         federal
         income
          taxes
18      (Provisio                      (1,816           )                       (1,355              )
        n) benefit
            for
          federal
          income
           taxes
19         Net                         6,458                                    8,744
         income
20      Less: Net                        (1             )                         (7                )
         (income)
             loss
        attributab
          le to the
        noncontr
            olling
           interest
21           Net                   $          6,457                         $          8,737
          income
        attributab
            le to
          Fannie
            Mae
22         Total                   $          6,590                         $          8,603
        comprehe
           nsive
          income
        attributab
            le to
          Fannie
            Mae
23      Preferred                  $          (7,191    )                   $          (8,617       )
          stock
        dividends

***********************************************************************
************** This is piece: 2
***********************************************************************
1
2




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 32 of Page
                                                                       179 29




3                  Variance                                  FY 2013                              FY 2012
4           $           (731     )                   $           22,404                       $           21,501
5               1,395                                     3,930                                    1,487
6                664                                      26,334                                  22,988
7               (513             )                        1,191                                     487
8                 5                                        (64            )                        (713
9                626                                      2,959                                   (2,977
10               14                                       (2,545          )                       (2,367
11
12              (2,609           )                        8,949                                     852
13               (83             )                        2,839                                     254
14              (2,692           )                        11,788                                   1,106
15               71                                       (1,096          )                       (1,304
16              (2,489           )                        12,233                                  (5,768
17              (1,825           )                        38,567                                  17,220
18              (461             )                        45,415                                    —
19              (2,286           )                        83,982                                  17,220
20                6                                        (19            )                          4
21          $          (2,280    )                   $           83,963                       $           17,224
22          $          (2,013    )                   $           84,782                       $           18,843
23          $          1,426                         $        (85,419     )                   $          (15,827


***********************************************************************
************** This is piece: 3
***********************************************************************
1
2
3                                       Variance
4                                $           903
5                                    2,443
6                                    3,346
7                                    704
8           )                        649
9           )                        5,936
10          )                        (178             )
11




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 33 of Page
                                                                          179 30




12                                      8,097
13                                      2,585
14                                      10,682
15             )                         208
16             )                        18,001
17                                      21,347
18                                      45,415
19                                      66,762
20                                       (23              )
21                                  $          66,739
22                                  $          65,939
23             )                    $       (69,592       )


(1)
                                         Consists of debt extinguishment gains
                                         (losses), net, TCCA fees and other
                                         expenses.

Net revenueswere $7.0 billionfor the fourthquarter of 2013, compared with $6.3 billionfor the third quarter of 2013. For
the year, net revenues were $26.3 billion, up from $23.0 billionin 2012.

Net interest incomewas$4.9 billionfor the fourth quarter of 2013, compared with$5.6 billionfor the third quarter of 2013.
The decrease in net interest income compared to the third quarter of 2013 was due to lower amortization driven by
prepayment volumes and lower interest income from retained mortgage portfolio assets due to a decline in the company’s
retained mortgage portfolio. For the year, net interest income was$22.4 billionfor 2013, compared with net interest
income of$21.5 billionfor 2012. The increase in net interest income compared to 2012 was due primarily to higher
amortization driven by prepayment volumes and an increase in guaranty fees, partially offset by lower interest income
from retained mortgage portfolio assets due to a decline in the company’s retained mortgage portfolio.




                   Fourth Quarter and Full Year 2013 Results                                        9




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 34 of Page
                                                                          179 31




Fee and other incomewas$2.1 billionfor the fourthquarter of 2013, compared with$741 millionfor the third quarter of
2013. For the year, fee and other income was$3.9 billionfor 2013, compared with$1.5 billionfor 2012. The increases in
fee and other income were due primarily to funds the company received in 2013 pursuant to settlement agreements
resolving certain lawsuits relating to private-label mortgage-related securities sold to Fannie Mae.




Credit-related income, which consists of recognition of a benefit for credit losses and foreclosed property income,
was$1.1 billionin the fourthquarter of 2013, compared with$3.8 billionin the third quarter of 2013. Credit-related income
decreased in the fourth quarter of 2013 compared with the third quarter of 2013 due primarily to slower home price
improvement in the quarter. For the year, credit-related income was $11.8 billion, compared with credit-related income
of $1.1 billionin 2012. The company’s credit results for 2013 and 2012 were positively impacted by increases in home
prices, which resulted in reductions in our loss reserves. Credit-related income improved year over year due primarily to
a decline in the number of delinquent loans in the company’s single-family guaranty book of business; recognition of
compensatory fee income in 2013 related to servicing matters and gains resulting from resolution agreements reached in
2013 related to representation and warranty matters; and updates to assumptions and data used to estimate the company’s
allowance for loan losses of individually impaired single-family loans, which resulted in a decrease to the company’s
allowance for loan losses.




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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 35 of Page
                                                               179 32




     Fourth Quarter and Full Year 2013 Results                                    10




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 36 of Page
                                                                          179 33




Credit losses,which the company defines as net charge-offs plus foreclosed property expense, excluding the effect of
certain fair-value losses, were $260 million in the fourthquarter of 2013, compared with $1.1 billion in the third quarter
of 2013. For the year, credit losses were $4.5 billioncompared with $14.6 billionin 2012. Credit losses decreased in 2013
compared with 2012 due primarily to the recognition of compensatory fee income in 2013 related to servicing matters
and gains resulting from resolution agreements reached in 2013 related to representation and warranty matters. Also
contributing to the decrease in credit losses in 2013 was an improvement in sales prices on Fannie Mae-owned properties
and lower REO acquisitions driven primarily by lower delinquencies.




Total loss reserves, which reflect the company’s estimate of the probable losses the company has incurred in its
guaranty book of business, including concessions it granted borrowers upon modification of their loans, were $47.3
billionas of December 31, 2013, compared with $48.4 billion as of September 30, 2013 and $62.6 billion as of December
31, 2012. The total loss reserve coverage to total nonaccrual loans was57percent as of December 31, 2013, compared
with55percent as of December 31, 2012 and54percent as of December 31, 2011.




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 37 of Page
                                                                          179 34




Net fair value gainswere$1.0 billionin the fourthquarter of 2013, compared with $335 million in the third quarter of
2013. For the year, net fair value gains were $3.0 billion, compared with net fair value losses of $3.0 billionin 2012. The
company recorded fair value gains in the fourth quarter of 2013 and for the full year of 2013 due primarily to fair value
gains on risk management derivatives as interest rates increased during the year.




                    Fourth Quarter and Full Year 2013 Results                                         11




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 38 of Page
                                                                          179 35




                                         BUSINESS SEGMENT RESULTS

The business groups running Fannie Mae’s three reporting segments – its Single-Family business, its Multifamily
business, and its Capital Markets group – engage in complementary business activities in pursuing the company’s
mission of providing liquidity, stability, and affordability to the U.S. housing market. The company’s Single-Family and
Multifamily businesses work with Fannie Mae’s lender customers, who deliver mortgage loans that the company
purchases and securitizes into Fannie Mae MBS. The Capital Markets group manages the company’s mortgage-related
assets and other interest-earning non-mortgage investments, funding purchases of mortgage-related assets primarily with
proceeds received from the issuance of Fannie Mae debt securities in the domestic and international capital markets. The
Capital Markets group also provides liquidity to the mortgage market through short-term financing and other activities.

Single-Familybusiness had net income of $2.1 billionin the fourthquarter of 2013, compared with net income of $4.7
billion in the third quarter of 2013. The decrease in net income in the fourth quarter compared to the third quarter was
driven by lower credit-related income due primarily to slower home price improvement in the quarter. For the year, the
Single-Family business had net income of $48.3 billion, compared with net income of $6.3 billion in 2012. The
improvement in annual net income was due primarily to the release of the company’s valuation allowance against its
deferred tax assets, as well as an increase in credit-related income. In addition, guaranty fee income increased in 2013




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 39 of Page
                                                                          179 36




compared with 2012 due to the impact of guaranty fee increases. The single-family guaranty book of business was $2.89
trillionas of December 31, 2013, compared with $2.88 trillion as of September 30, 2013 and $2.83 trillionas of December
31, 2012.

Multifamilybusiness had net income of $706 millionin the fourthquarter of 2013, compared with $478 million in the
third quarter of 2013. The increase in net income in the fourth quarter compared to the third quarter was driven primarily
by increased credit-related income due to improvements in property valuations, as well as increased gains from
partnership investments as the continued strength of national multifamily market fundamentals resulted in improved
property-level operating performance and increased gains on the sale of investments. For the year, Multifamily had net
income of $10.1 billion, compared with $1.5 billionin 2012. The improvement in annual net income was due primarily to
the release of the company’s valuation allowance against its deferred tax assets, as well as increased credit-related
income due to improvements in default and loss severity trends and improvements in property




                   Fourth Quarter and Full Year 2013 Results                                         12




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                                                                          179 37




valuations. The Multifamilyguaranty book of business was $200.6 billionas of December 31, 2013, compared with
$203.7 billion as of September 30, 2013 and $206.2 billionas of December 31, 2012.

Capital Marketsgroup had net income of $4.5 billionin the fourthquarter of 2013, compared with $3.8 billionin the third
quarter of 2013. The increase in quarterly net income was due primarily to settlement agreements resolving certain
lawsuits relating to private-label mortgage-related securities sold to Fannie Mae and fair value gains on the company’s
risk management derivatives as interest rates increased during the quarter. The group had net income of $27.5 billionfor
the year, compared with $14.2 billionfor 2012. The improvement in annual net income was due primarily to the release
of the company’s valuation allowance against its deferred tax assets, the recognition of fair value gains in 2013 compared
with fair value losses in 2012, and the increase in fee and other income as a result of funds the company received
pursuant to settlement agreements resolving certain lawsuits relating to private-label mortgage-related securities sold to
Fannie Mae. The improvement in net income was partially offset by a decline in net interest income due to a decline in
the company’s retained mortgage portfolio. The Capital Markets retained mortgage portfolio balance decreased to $490.7
billionas of December 31, 2013, compared with $633.1 billionas of December 31, 2012, resulting from purchases of
$269.4 billionand liquidations and sales of$411.8 billionduring the year.




[Note: The following table/form is too wide to be printed on a single page. For meaningful review of its contents the
table must be assembled with part numbers in ascending order from left to right. Row numbers, which are not part of the
original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3          (Dollars                 4Q13                                      3Q13                           Variance
              in
           millions)
4           Single-




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 41 of Page
                                                                    179 38




      Family
     Segment:
5    Guaranty         $          2,830                         $          2,719                    $
        fee
      income
6     Credit-             848                                      3,642                         (2,794
      related
      income
7      Other              (877            )                        (865            )              (12
8     Income              2,801                                    5,496                         (2,695
       before
      federal
      income
       taxes
9    (Provisio            (667            )                        (751            )              84
     n) benefit
         for
       federal
       income
        taxes
10      Net           $          2,134                         $          4,745                    $
      income
11   Multifam
        ily
     Segment:
12   Guaranty         $           315                          $           311                     $
        fee
      income
13    Credit-             234                                      132                            102
      related
      income
14     Other              203                                       43                            160
15    Income              752                                      486                            266
       before
      federal
      income
       taxes
16   (Provisio             (46            )                         (8             )              (38
     n) benefit
         for
       federal
       income




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 42 of Page
                                                                       179 39




          taxes
17         Net            $            706                         $           478                          $
         income
18       Capital
        Markets
        Segment:
19         Net            $        2,031                           $          2,311                         $
         interest
         income
20      Investme              1,074                                    1,590                               (516
         nt gains,
            net
21      Fair value            1,061                                    371                                 690
           gains
         (losses),
            net
22        Other               1,461                                    123                                 1,338
23       Income               5,627                                    4,395                               1,232
          before
         federal
         income
          taxes
24      (Provisio             (1,103          )                        (596            )                   (507
        n) benefit
            for
          federal
          income
           taxes
25         Net            $        4,524                           $          3,799                         $
         income

***********************************************************************
************** This is piece: 2
***********************************************************************
1
2
3                                                      2013                                         2012
4
5          111                                $       10,468                           $          8,151
6                         )                       11,205                                    919
7                         )                       (2,507           )                       (2,700            )




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 43 of Page
                                                                       179 40




8                        )                       19,166                                   6,370
9                                                29,110                                    (80            )
10        (2,611         )                   $          48,276                        $           6,290
11
12          4                                $          1,217                         $           1,040
13                                                583                                      187
14                                                345                                      80
15                                               2,145                                    1,307
16                       )                       7,924                                     204
17         228                               $          10,069                        $           1,511
18
19        (280           )                   $          9,764                         $          13,241
20                       )                       4,911                                    6,217
21                                               3,148                                    (3,041          )
22                                               1,319                                    (2,092          )
23                                               19,142                                   14,325
24                       )                       8,381                                     (124           )
25         725                               $          27,523                        $          14,201


***********************************************************************
************** This is piece: 3
***********************************************************************
1
2
3                               Variance
4
5                        $          2,317
6                            10,286
7                             193
8                            12,796
9                            29,190
10                       $          41,986
11
12                       $            177
13                            396
14                            265




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 44 of Page
                                                                    179 41




15                   838
16                  7,720
17              $          8,558
18
19              $          (3,477    )
20                  (1,306           )
21                  6,189
22                  3,411
23                  4,817
24                  8,505
25              $          13,322




          Fourth Quarter and Full Year 2013 Results                                    13




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 45 of Page
                                                                         179 42




                                                      ANNEX I

                                                     FANNIE MAE

                                                 (In conservatorship)

                                             Consolidated Balance Sheets

                                     (Dollars in millions, except share amounts)



[Note: The following table/form is too wide to be printed on a single page. For meaningful review of its contents the
table must be assembled with part numbers in ascending order from left to right. Row numbers, which are not part of the
original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3                                                          As of December 31,
4                                            2013                                                  2012
5                                                           ASSETS
6          Cash and                 $       19,228                                                  $        21,117
             cash
          equivalen
              ts
7         Restricte                     28,995                                                          67,919
            d cash
          (includes
           $23,982
             and
          $61,976,




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 46 of Page
                                                                    179 43




     respectiv
        ely,
     related to
     consolida
     ted trusts)
8     Federal                    38,975                                                         32,500
        funds
      sold and
     securities
     purchase
      d under
     agreemen
         ts to
      resell or
       similar
     arrangem
         ents
9    Investme
       nts in
     securities
         :
10    Trading,                   30,768                                                         40,695
       at fair
       value
11   Available                   38,171                                                         63,181
      -for-sale,
        at fair
        value
      (includes
      $998 and
        $935,
     respectiv
         ely,
     related to
     consolida
     ted trusts)
12      Total                    68,939                                                         103,876
     investme
        nts in
      securities
13   Mortgage
      loans:
14     Loans                       380                                                           464




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 47 of Page
                                                                    179 44




       held for
       sale, at
      lower of
        cost or
     fair value
      (includes
       $31 and
         $72,
     respectiv
         ely,
     related to
     consolida
     ted trusts)
15     Loans
      held for
     investme
        nt, at
     amortized
        cost:
16   Of Fannie                   300,159                                                        355,544
       Mae
17        Of                    2,769,547                                                       2,652,193
     consolida
      ted trusts
      (includes
       $14,268
         and
      $10,800,
     respectiv
        ely, at
     fair value
     and loans
       pledged
          as
     collateral
      that may
     be sold or
     repledged
       of $442
     and $943,
     respectiv
         ely)
18     Total                    3,069,706                                                       3,007,737
       loans




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 48 of Page
                                                                    179 45




      held for
     investme
         nt
19   Allowanc                    (43,846            )                                            (58,795
     e for loan
       losses
20      Total                   3,025,860                                                       2,948,942
        loans
      held for
     investme
      nt, net of
     allowanc
           e
21    Total                     3,026,240                                                       2,949,406
     mortgage
      loans
22     Accrued                    8,319                                                          9,176
       interest
     receivabl
        e, net
      (includes
       $7,271
         and
       $7,567,
     respectiv
         ely,
      related to
     consolida
     ted trusts)
23   Acquired                    11,621                                                          10,489
     property,
        net
24   Deferred                    47,560                                                            —
        tax
      assets,
        net
25     Other                     20,231                                                          27,939
       assets
     (includes
        cash
      pledged
         as
     collateral




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 49 of Page
                                                                    179 46




     of $1,590
        and
      $1,222,
     respectiv
        ely)
26     Total                    $      3,270,108                                             $       3,222,422
       assets
27                                            LIABILITIES AND EQUITY
28   Liabilitie
         s:
29    Accrued                   $        10,553                                              $         11,303
       interest
       payable
      (includes
       $8,276
         and
       $8,645,
     respectiv
         ely,
     related to
     consolida
     ted trusts)
30     Debt:
31   Of Fannie                      529,434                                                      615,864
         Mae
      (includes
       $1,308
     and $793,
     respectiv
        ely, at
         fair
        value)
32        Of                     2,705,089                                                       2,573,653
     consolida
      ted trusts
      (includes
       $14,976
         and
      $11,647,
     respectiv
        ely, at
         fair
        value)




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 50 of Page
                                                                    179 47




33      Other                   15,441                                                          14,378
     liabilities
      (includes
      $488 and
       $1,059,
     respectiv
         ely,
     related to
     consolida
     ted trusts)
34      Total                  3,260,517                                                       3,215,198
     liabilities
35   Commitm                      —                                                               —
       ents and
     contingen
         cies
      (Note 19)
36     Fannie
        Mae
     stockhold
         ers’
       equity:
37     Senior                   117,149                                                        117,149
      preferred
       stock,
     1,000,000
       shares
       issued
         and
     outstandi
          ng
38    Preferred                 19,130                                                          19,130
       stock,
     700,000,0
      00 shares
         are
     authorize
     d—555,3
       74,922
       shares
       issued
         and
     outstandi
          ng




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 51 of Page
                                                                    179 48




39     Common                     687                                                            687
       stock, no
      par value,
           no
      maximum
     authorizat
     ion—1,30
      8,762,703
         shares
        issued,
     1,158,080
       ,657 and
     1,158,077
          ,970
         shares
      outstandi
           ng,
      respectiv
           ely
40   Accumul                   (121,227            )                                           (122,766
       ated
      deficit
41   Accumul                     1,203                                                           384
     ated other
     comprehe
        nsive
       income
42    Treasury                   (7,401            )                                            (7,401
      stock, at
        cost,
     150,682,0
       46 and
     150,684,7
     33 shares,
     respectiv
         ely
43      Total                    9,541                                                          7,183
       Fannie
        Mae
     stockhold
         ers’
       equity
44   Noncontr                     50                                                             41
      olling




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 52 of Page
                                                                       179 49




         interest
45          Total                       9,591                                                        7,224
           equity
        (See Note
         1:Impact
          of U.S.
        Governm
             ent
          Support
             and
           (Loss)
         Earnings
         per Share
             for
        informati
         on on our
         dividend
        obligatio
            n to
         Treasury)
46         Total                    $     3,270,108                                              $     3,222,422
        liabilities
            and
          equity

***********************************************************************
************** This is piece: 2
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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 53 of Page
                                                                    179 50




14
15
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19     )
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22
23
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31
32
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40     )
41
42     )
43
44
45
46




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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 54 of Page
                                                               179 51




                     See Notes to Consolidated Financial Statements




     Fourth Quarter and Full Year 2013 Results                                    14




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 55 of Page
                                                                         179 52




                                                        FANNIE MAE

                                                    (In conservatorship)

                       Consolidated Statements of Operations and Comprehensive Income (Loss)

                              (Dollars and shares in millions, except per share amounts)



[Note: The following table/form is too wide to be printed on a single page. For meaningful review of its contents the
table must be assembled with part numbers in ascending order from left to right. Row numbers, which are not part of the
original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3                                                       For the Year Ended December 31,
4                                                2013                                              2012
5          Interest
           income:
6          Trading                  $            779                                                $             989
          securities
7         Available                      2,357                                                            3,299
           -for-sale
          securities
8         Mortgage                      114,238                                                         124,706
            loans
          (includes
          $101,448,
          $110,451,




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                                                                    179 53




        and
     $123,633,
     respectiv
        ely,
     related to
     consolida
     ted trusts)
9      Other                         175                                                           196
10     Total                       117,549                                                        129,190
      interest
      income
11    Interest
     expense:
12     Short-                        131                                                           152
     term debt
13      Long-                      95,014                                                         107,537
     term debt
      (includes
      $84,751,
      $95,612,
         and
     $108,641,
     respectiv
         ely,
     related to
     consolida
     ted trusts)
14     Total                       95,145                                                         107,689
      interest
      expense
15      Net                        22,404                                                         21,501
      interest
      income
16     Benefit                      8,949                                                          852
     (provisio
        n) for
        credit
       losses
17      Net                        31,353                                                         22,353
      interest
      income
       (loss)
        after




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 57 of Page
                                                                    179 54




       benefit
     (provisio
        n) for
        credit
       losses
18   Investme                       1,191                                                          487
      nt gains,
         net
19      Net                          (64              )                                           (713
       other-
       than-
     temporar
         y
     impairme
        nts
20   Fair value                     2,959                                                         (2,977
        gains
      (losses),
         net
21      Debt                         131                                                          (244
     extinguis
       hment
        gains
      (losses),
         net
22    Fee and                       3,930                                                         1,487
       other
      income
23     Non-                         8,147                                                         (1,960
      interest
      income
       (loss)
24   Administ
       rative
     expenses:
25    Salaries                      1,218                                                         1,195
        and
     employee
      benefits
26   Professio                       910                                                           766
        nal
      services
27   Occupanc                        189                                                           188




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 58 of Page
                                                                    179 55




         y
      expenses
28     Other                        228                                                           218
     administr
        ative
      expenses
29      Total                      2,545                                                         2,367
     administr
        ative
      expenses
30   Foreclose                     (2,839            )                                            (254
          d
      property
      (income)
       expense
31   Temporar                      1,001                                                          238
      y Payroll
      Tax Cut
     Continuat
       ion Act
       of 2011
     (“TCCA”
        ) fees
32     Other                        226                                                           822
     expenses,
        net
33      Total                       933                                                          3,173
      expenses
34    Income                      38,567                                                         17,220
       (loss)
       before
      federal
      income
       taxes
35    Benefit                     45,415                                                          —
        for
      federal
      income
       taxes
36      Net                       83,982                                                         17,220
      income
       (loss)
37     Other




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 59 of Page
                                                                    179 56




     comprehe
        nsive
      income:
38    Changes                       693                                                         1,735
           in
     unrealize
       d gains
           on
     available-
      for-sale
     securities
       , net of
     reclassifi
        cation
     adjustme
       nts and
         taxes
39     Other                        126                                                          (116
40      Total                       819                                                         1,619
        other
     comprehe
        nsive
       income
41     Total                       84,801                                                       18,839
     comprehe
       nsive
     income(l
        oss)
42      Less:                       (19             )                                             4
     Compreh
        ensive
      (income)
         loss
     attributab
         le to
     noncontr
        olling
       interest
43      Total                  $          84,782                                            $         18,843
     comprehe
        nsive
       income
        (loss)
     attributab




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 60 of Page
                                                                    179 57




        le to
       Fannie
        Mae
44      Net                     $          83,982                                            $         17,220
      income
       (loss)
45   Less: Net                       (19             )                                             4
      (income)
         loss
     attributab
         le to
     noncontr
        olling
       interest
46        Net                   $          83,963                                            $         17,224
       income
        (loss)
     attributab
         le to
       Fannie
         Mae
47   Dividend                       (85,419          )                                           (15,827
           s
     distribute
         d or
      available
          for
     distributi
         on to
        senior
      preferred
     stockhold
      er (Note
          11)
48    Net (loss)                $          (1,456    )                                       $         1,397
       income
     attributab
         le to
      common
     stockhold
      ers (Note
          11)
49     (Loss)
      earnings




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 61 of Page
                                                                       179 58




        per share:
50        Basic                    $           (0.25    )                                       $           0.24
51       Diluted                       (0.25            )                                           0.24
52      Weighted
         -average
         common
          shares
        outstandi
            ng:
53        Basic                        5,762                                                        5,762
54       Diluted                       5,762                                                        5,893


***********************************************************************
************** This is piece: 2
***********************************************************************
1
2
3
4                                                                    2011
5
6                                                      $            1,087
7                                                            3,277
8                                                           138,462
9                                                            117
10                                                          142,943
11
12                                                           310
13                                                          123,352
14                                                          123,662
15                                                          19,281
16                                                          (26,718         )
17                                                          (7,437          )
18                                                           506
19          )                                                (308           )
20          )                                               (6,621          )
21          )                                                (232           )
22                                                           1,163




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 62 of Page
                                                                    179 59




23     )                                           (5,492           )
24
25                                                 1,236
26                                                  736
27                                                  179
28                                                  219
29                                                 2,370
30     )                                            780
31                                                   —
32                                                  866
33                                                 4,016
34                                                 (16,945          )
35                                                   90
36                                                 (16,855          )
37
38                                                  622
39     )                                            (175            )
40                                                  447
41                                                 (16,408          )
42                                                   —
43                                             $          (16,408   )
44                                             $          (16,855   )
45                                                   —
46                                             $          (16,855   )
47     )                                           (9,614           )
48                                             $          (26,469   )
49
50                                             $            (4.61   )
51                                                  (4.61           )
52
53                                                 5,737
54                                                 5,737



                           See Notes to Consolidated Financial Statements




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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 63 of Page
                                                               179 60




     Fourth Quarter and Full Year 2013 Results                                    15




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 64 of Page
                                                                         179 61




                                                     FANNIE MAE

                                                  (In conservatorship)

                                         Consolidated Statements of Cash Flows

                                                  (Dollars in millions)



[Note: The following table/form is too wide to be printed on a single page. For meaningful review of its contents the
table must be assembled with part numbers in ascending order from left to right. Row numbers, which are not part of the
original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3                                                    For the Year Ended December 31,
4                                   2013                                     2012                             2011
5           Cash
            flows
          provided
           by (used
              in)
          operatin
               g
          activities
               :
6             Net           $      83,982                            $      17,220                             $
            income
             (loss)
7         Reconcili




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                                                                    179 62




      ation of
         net
       income
      (loss) to
      net cash
     provided
      by (used
         in)
     operating
     activities:
8    Amortiza         (5,104            )                      (2,335            )              (369
       tion of
     cost basis
     adjustme
         nts
9    (Benefit)        (8,949            )                       (852             )             26,718
     provision
     for credit
       losses
10    Current         (47,766           )                        10                            1,044
         and
      deferred
       federal
      income
        taxes
11      Net            1,575                                   31,972                          (17,048
     change in
      trading
     securities
12    Net gains       (6,024            )                      (6,009            )             (5,109
      related to
         the
     dispositio
         n of
       acquired
       property
         and
     preforecl
        osure
        sales,
      including
        credit
     enhancem
         ents




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 66 of Page
                                                                    179 63




13   Other, net       (4,811            )                      (3,005            )             (3,619
14   Net cash         12,903                                   37,001                          (15,238
     provided
     by (used
        in)
     operating
     activities
15     Cash
       flows
     provided
         by
     investing
     activities
          :
16   Purchases        (7,521            )                      (3,216            )             (2,951
     of trading
      securities
       held for
     investme
          nt
17    Proceeds         2,491                                    3,508                          2,591
        from
     maturities
         and
     paydowns
     of trading
      securities
       held for
     investme
          nt
18    Proceeds        14,585                                    3,861                          1,526
         from
       sales of
       trading
      securities
       held for
     investme
           nt
19   Purchases          —                                        (34             )              (192
         of
     available-
      for-sale
     securities




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 67 of Page
                                                                    179 64




20   Proceeds         10,116                                   12,636                          13,552
       from
     maturities
        and
     paydowns
         of
     available-
      for-sale
     securities
21   Proceeds         15,497                                    1,306                           3,192
       from
      sales of
     available-
      for-sale
     securities
22   Purchases       (195,386           )                     (210,488           )             (78,099
      of loans
      held for
     investme
         nt
23    Proceeds        48,875                                   31,322                          25,190
         from
     repaymen
        ts and
       sales of
        loans
      acquired
       as held
          for
     investme
         nt of
       Fannie
         Mae
24    Proceeds        631,088                                  797,331                         544,145
         from
     repaymen
        ts and
       sales of
        loans
      acquired
       as held
          for
     investme
         nt of




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 68 of Page
                                                                    179 65




     consolida
      ted trusts
25      Net            38,924                                   (17,122           )             12,881
     change in
     restricted
        cash
26   Advances         (139,162           )                     (144,064           )             (70,914
     to lenders
27    Proceeds         38,349                                   38,685                          47,248
        from
     dispositio
         n of
      acquired
      property
         and
     preforecl
        osure
        sales
28       Net           (6,475            )                      13,500                          (34,249
     change in
       federal
        funds
      sold and
     securities
     purchase
      d under
     agreemen
         ts to
      resell or
       similar
     arrangem
         ents
29   Other, net         1,373                                     468                            468
30   Net cash          452,754                                  527,693                         464,388
     provided
         by
     investing
     activities
31      Cash
        flows
       used in
     financing
     activities




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                                                                    179 66




          :
32   Proceeds         372,361                                  736,065                         766,598
        from
      issuance
     of debt of
       Fannie
        Mae
33   Payments        (459,745           )                     (854,111           )             (815,838
     to redeem
       debt of
       Fannie
        Mae
34    Proceeds        409,979                                  396,513                         233,516
        from
      issuance
     of debt of
     consolida
      ted trusts
35   Payments        (707,544           )                     (832,537           )             (647,695
     to redeem
       debt of
     consolida
      ted trusts
36   Payments         (82,452           )                      (11,608           )              (9,613
      of cash
     dividends
     on senior
     preferred
      stock to
     Treasury
37    Proceeds          —                                       4,571                          23,978
         from
       senior
      preferred
        stock
      purchase
     agreemen
        t with
      Treasury
38   Other, net        (145             )                        (9              )               146
39   Net cash        (467,546           )                     (561,116           )             (448,908
      used in
     financing




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 70 of Page
                                                                    179 67




     activities
40       Net             (1,889          )                         3,578                         242
     (decrease
           )
      increase
       in cash
      and cash
     equivale
         nts
41    Cash and           21,117                                   17,539                        17,297
        cash
     equivalen
         ts at
     beginning
      of period
42    Cash and       $        19,228                          $         21,117                    $
        cash
     equivalen
      ts at end
      of period
43     Cash
       paid
      during
        the
      period
       for:
44    Interest       $       109,240                          $         119,259                   $
45    Income              2,350                                     —                            —
       taxes
46   Non-cash
     activities
          :
47      Net          $       433,007                          $         537,862                   $
     mortgage
       loans
     acquired
         by
     assuming
        debt
48      Net              179,097                                  165,272                       33,859
     transfers
       from
     mortgage




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 71 of Page
                                                                       179 68




          loans of
           Fannie
           Mae to
        mortgage
          loans of
        consolida
         ted trusts
49       Transfers         137,074                                133,554                         69,223
            from
         advances
        to lenders
          to loans
          held for
        investme
            nt of
        consolida
         ted trusts
50          Net            34,024                                 46,981                          56,517
        transfers
           from
        mortgage
         loans to
        acquired
        property

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6        (16,855       )
7
8                      )
9
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11                     )
12                     )
13                     )




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 72 of Page
                                                                    179 69




14                  )
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16                  )
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18
19                  )
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22                  )
23
24
25
26                  )
27
28                  )
29
30
31
32
33                  )
34
35                  )
36                  )
37
38
39                  )
40
41
42   17,539
43
44   128,806
45
46
47   448,437
48




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 73 of Page
                                                                    179 70




49
50



                          See Notes to Consolidated Financial Statements




          Fourth Quarter and Full Year 2013 Results                                    16




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 74 of Page
                                                                         179 71




                                                   FANNIE MAE

                                                 (In conservatorship)

                              Consolidated Statements of Changes in Equity (Deficit)

                                           (Dollars and shares in millions)



[Note: The following table/form is too wide to be printed on a single page. For meaningful review of its contents the
table must be assembled with part numbers in ascending order from left to right. Row numbers, which are not part of the
original data, have been added in the margins and can be used to align rows across the parts.]

***********************************************************************
************** This is piece: 1
***********************************************************************
1
2
3                                              Fannie Mae Stockholders’ Equity (Deficit)
4                                                    Shares Outstanding
5                      SeniorPreferred                    Preferred                       Common
6          Balance       1                              577                            1,119
            as of
          January
           1, 2011
7          Change        —                              —                               —
               in
          investme
              nt in
          noncontr
             olling
            interest




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 75 of Page
                                                                    179 72




8    Compreh
      ensive
       loss:
9     Net loss     —                              —                              —
10      Other
     comprehe
         nsive
       income,
      net of tax
        effect:
11    Changes      —                              —                              —
        in net
     unrealize
      d losses
          on
     available-
      for-sale
     securities
       (net of
        tax of
       $250)
12   Reclassifi    —                              —                              —
        cation
     adjustme
        nt for
        other-
        than-
     temporar
           y
     impairme
          nts
     recognize
       d in net
      loss (net
      of tax of
         $99)
13   Reclassifi    —                              —                              —
       cation
     adjustme
        nt for
        gains
      included
        in net
      loss (net




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 76 of Page
                                                                    179 73




      of tax of
        $28)
14      Prior       —                              —                              —
       service
      cost and
      actuarial
     gains, net
          of
     amortizat
       ion for
       defined
       benefit
        plans
15      Total
     comprehe
      nsive loss
16     Senior       —                              —                              —
     preferred
       stock
     dividends
17     Increase     —                              —                              —
       to senior
      preferred
     liquidatio
           n
     preferenc
           e
18   Conversi       —                             (21         )                   39
        on of
     convertib
         le
     preferred
     stock into
      common
       stock
19     Other        —                              —                              —
20    Balance        1                            556                           1,158
       as of
     Decembe
       r 31,
       2011
21    Change        —                              —                              —
        in




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 77 of Page
                                                                    179 74




     investme
         nt in
     noncontr
        olling
       interest
22   Compreh
       ensive
      income:
23       Net         —                              —                              —
       income
24      Other
     comprehe
         nsive
       income,
      net of tax
        effect:
25    Changes        —                              —                              —
        in net
     unrealize
      d losses
          on
     available-
      for-sale
     securities
       (net of
        tax of
       $702)
26   Reclassifi      —                              —                              —
        cation
     adjustme
        nt for
        other-
        than-
     temporar
           y
     impairme
          nts
     recognize
       d in net
       income
       (net of
        tax of
        $250)
27   Reclassifi      —                              —                              —




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 78 of Page
                                                                    179 75




        cation
     adjustme
        nt for
        gains
      included
        in net
       income
       (net of
     tax of $9)
28      Prior       —                              —                              —
       service
      cost and
      actuarial
     gains, net
          of
     amortizat
       ion for
       defined
       benefit
        plans
29      Total
     comprehe
        nsive
       income
30     Senior       —                              —                              —
     preferred
       stock
     dividends
31     Increase     —                              —                              —
       to senior
      preferred
     liquidatio
           n
     preferenc
           e
32     Other        —                              —                              —
33    Balance        1                            556                           1,158
       as of
     Decembe
       r 31,
       2012
34    Change        —                              —                              —
        in




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 79 of Page
                                                                    179 76




     investme
         nt in
     noncontr
        olling
       interest
35   Compreh
       ensive
      income:
36       Net         —                              —                              —
       income
37      Other
     comprehe
         nsive
       income,
      net of tax
        effect:
38    Changes        —                              —                              —
        in net
     unrealize
      d gains
          on
     available-
      for-sale
     securities
       (net of
        tax of
       $529)
39   Reclassifi      —                              —                              —
        cation
     adjustme
        nt for
        other-
        than-
     temporar
           y
     impairme
          nts
     recognize
       d in net
       income
       (net of
        tax of
         $22)
40   Reclassifi      —                              —                              —




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 80 of Page
                                                                       179 77




           cation
        adjustme
           nt for
           gains
         included
           in net
          income
          (net of
           tax of
           $179)
41         Prior       —                              —                              —
          service
         cost and
         actuarial
        gains, net
             of
        amortizat
          ion for
          defined
          benefit
        plans (net
         of tax of
           $68)
42         Total
        comprehe
           nsive
          income
43        Senior       —                              —                              —
        preferred
          stock
        dividends
44        Other        —                              —                              —
45       Balance        1                            556                           1,158
          as of
        Decembe
          r 31,
          2013

***********************************************************************
************** This is piece: 2
***********************************************************************
1
2




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 81 of Page
                                                                    179 78




3
4               Senior                                PreferredStock                       CommonStock
     Preferred Stock
5
6       $         88,600                          $        20,204                          $         667
7             —                                        —                                       —
8
9             —                                        —                                       —
10
11            —                                        —                                       —
12            —                                        —                                       —
13            —                                        —                                       —
14            —                                        —                                       —
15
16            —                                        —                                       —
17          23,978                                     —                                       —
18            —                                       (1,074           )                       20
19            —                                        —                                       —
20          112,578                                   19,130                                   687
21            —                                        —                                       —
22
23            —                                        —                                       —
24
25            —                                        —                                       —
26            —                                        —                                       —
27            —                                        —                                       —
28            —                                        —                                       —
29
30            —                                        —                                       —
31           4,571                                     —                                       —
32            —                                        —                                       —
33          117,149                                   19,130                                   687
34            —                                        —                                       —
35
36            —                                        —                                       —




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 82 of Page
                                                                       179 79




37
38              —                                        —                                           —
39              —                                        —                                           —
40              —                                        —                                           —
41              —                                        —                                           —
42
43              —                                        —                                           —
44              —                                        —                                           —
45          $       117,149                         $        19,130                            $         687


***********************************************************************
************** This is piece: 3
***********************************************************************
1
2
3
4                             AdditionalPaid-InCapital                     RetainedEarnings
                                                                         (AccumulatedDeficit)
5
6                               $            —                           $          (102,986     )
7                                    —                                         —
8
9                                    —                                       (16,855             )
10
11                                   —                                         —
12                                   —                                         —
13                                   —                                         —
14                                   —                                         —
15
16                                  (1,072           )                        (8,541             )
17                                   —                                         —
18                                  1,054                                      —
19                                   18                                         1
20                                   —                                       (128,381            )
21                                   —                                         —
22




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 83 of Page
                                                                       179 80




23                                  —                                        17,224
24
25                                  —                                          —
26                                  —                                          —
27                                  —                                          —
28                                  —                                          —
29
30                                   1                                       (11,609             )
31                                  —                                          —
32                                   (1              )                         —
33                                  —                                        (122,766            )
34                                  —                                          —
35
36                                  —                                        83,963
37
38                                  —                                          —
39                                  —                                          —
40                                  —                                          —
41                                  —                                          —
42
43                                  —                                        (82,452             )
44                                  —                                          28
45                              $         —                              $       (121,227        )


***********************************************************************
************** This is piece: 4
***********************************************************************
1
2
3
4               Accumulated                              TreasuryStock                      NonControlling
        Other                                                                                  Interest
        Comprehensive
        Income (Loss)
5
6           $      (1,682       )                   $       (7,402       )                   $        82




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     Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 84 of Page
                                                                    179 81




7          —                                       —                                       (29
8
9          —                                       —                                       —
10
11        465                                      —                                       —
12        209                                      —                                       —
13        (52             )                        —                                       —
14        (175            )                        —                                       —
15
16         —                                       —                                       —
17         —                                       —                                       —
18         —                                       —                                       —
19         —                                       (1              )                       —
20       (1,235           )                      (7,403            )                       53
21         —                                       —                                       (8
22
23         —                                       —                                       (4
24
25       1,289                                     —                                       —
26        463                                      —                                       —
27        (17             )                        —                                       —
28        (116            )                        —                                       —
29
30         —                                       —                                       —
31         —                                       —                                       —
32         —                                        2                                      —
33        384                                    (7,401            )                       41
34         —                                       —                                       (10
35
36         —                                       —                                       19
37
38        983                                      —                                       —
39         42                                      —                                       —
40        (332            )                        —                                       —
41        126                                      —                                       —




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        Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 85 of Page
                                                                       179 82




42
43              —                                        —                                       —
44              —                                        —                                       —
45          $       1,203                           $        (7,401      )                   $       50


***********************************************************************
************** This is piece: 5
***********************************************************************
1
2
3
4                               TotalEquity(Deficit)
5
6                               $          (2,517    )
7           )                        (29             )
8
9                                   (16,855          )
10
11                                   465
12                                   209
13                                   (52             )
14                                   (175            )
15                                  (16,408          )
16                                  (9,613           )
17                                  23,978
18                                    —
19                                    18
20                                  (4,571           )
21          )                         (8             )
22
23          )                       17,220
24
25                                  1,289
26                                   463
27                                   (17             )
28                                   (116            )




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       Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 86 of Page
                                                                      179 83




29                                18,839
30                                (11,608          )
31                                4,571
32                                  1
33                                7,224
34        )                        (10             )
35
36                                83,982
37
38                                 983
39                                  42
40                                 (332            )
41                                 126
42                                84,801
43                                (82,452          )
44                                  28
45                            $           9,591



                              See Notes to Consolidated Financial Statements




              Fourth Quarter and Full Year 2013 Results                                    17

CREDIT SUPPLEMENT




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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 87 of Page
                                                               179 84




           February 21, 2014 Fannie Mae 2013 Credit Supplement Exhibit 99.2




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 88 of Page
                                                                          179 85




   1 This presentation includes information about Fannie Mae, including information contained in Fannie Mae’s Annual
   Report on Form 10-K for the year ended December 31, 2013, the “2013 Form 10-K.” Some of the terms used in these
materials are defined and discussed more fully in the 2013 Form 10-K. These materials should be reviewed together with
  the 2013 Form 10-K, which is available on the “SEC Filings” page in the“Investor Relations” section of Fannie Mae’s
web site at www.fanniemae.com. Some of the information in this presentation is based upon information that we received
from third-party sources such as sellers and servicers of mortgage loans. Although we generally consider this information
 reliable, we do not independently verify all reported information. Due to rounding, amounts reported in this presentation
    may not add to totals indicated (or 100%). A zero indicates less than one half of one percent. A dash indicates a null
     value. Unless otherwise indicated data labeled as “2013” is as of December 31, 2013 or for the full year of 2013.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 89 of Page
                                                                         179 86




  2 Home Prices Home Price Growth/Decline Rates in the U.S. 3 One Year Home Price Change as of 2013 Q4 4 Home
Price Change Peak-to-Current as of 2013 Q4 5 Credit Profile of Fannie Mae Single-Family Loans Credit Characteristics
 of Single-Family Business Acquisitions 6 Credit Characteristics of Single-Family Business Acquisitions under the Refi
  Plus™ Initiative 7 Credit Characteristics of Single-Family Conventional Guaranty Book of Business by Key Product
   Features 8 Credit Characteristics of Single-Family Conventional Guaranty Book of Business by Origination Year 9
       Credit Characteristics of Single-Family Conventional Guaranty Book of Business by Select States 10 Credit
 Characteristics of Alt-A Loans in the Single-Family Conventional Guaranty Book of Business 11 Credit Characteristics
   of Refi Plus Loans in the Single-Family Conventional Guaranty Book of Business 12 Serious Delinquency Rates by
Select States and Region of Single-Family Conventional Guaranty Book of Business 13 Workouts of Fannie Mae Single-
Family Loans Single-Family Completed Workouts by Type 14 Re-performance Rates of Modified Single-Family Loans
   15 Additional Credit Information for Fannie Mae Single-Family Loans Cumulative Default Rates of Single-Family
  Conventional Guaranty Book of Business by Origination Year 16 Single-Family Real Estate Owned (REO) in Select
  States 17 Single-Family Short Sales and REO Sales Price / UPB of Mortgage Loans 18 Credit Profile of Fannie Mae
 Multifamily Loans Multifamily Credit Profile by Loan Attributes 19 Multifamily Credit Profile by Acquisition Year 20
               Multifamily Credit Profile 21 Multifamily 2013 Credit Losses by State 22 Table of Contents




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 90 of Page
                                                                         179 87




 3 7.5% 7.6% 10.6% 11.3% 2.7% -3.5% -9.1% -4.8% -4.3% -3.6% 4.2% 8.8% -15% -10% -5% 0% 5% 10% 15% 2002
 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 10.6% 10.7% 14.6% 14.7% -0.3% -8.4% -18.4% -2.5% -
3.8% -3.7% 7.2% 11.7% Home Price Growth/Decline Rates in the U.S. Fannie Mae Home Price Index Growth rates are
from period-end to period-end. *Estimate based on purchase transactions in Fannie-Freddie acquisition and public deed
   data available through the end of January 2014. Including subsequent data may lead to materially different results.
**Year-to-date as of Q3-2013. As comparison, Fannie Mae’s index for the same period is 8.7%. S&P/Case-Shiller Index
* Based on our home price index, we estimate that home prices on a national basis increased by 8.8% in 2013, following
an increase of 4.2% in 2012. Despite the recent increases in home prices, we estimate that, through December 31, 2013,
home prices on a national basis remained 13.5% below their peak in the third quarter of 2006. Our home price estimates
  are based on preliminary data and are subject to change as additional data become available. We estimate that home
                      prices on a national basis increased by 0.2% in the fourth quarter of 2013. **




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 91 of Page
                                                                          179 88




4TX6.8%5.4%MT7.3%0.3%CA25.4%19.6%NM3.0%0.5%CO9.3%2.6%WY2.6%0
. 2 % A Z 1 8 . 9 % 2 . 4 % N V 2 7 . 2 % 1 . 0 % U T 9 . 4 % 1 . 0 % M N 7 . 3 % 1 . 9 %I D 8 . 9 % 0 . 5 % K S 3 . 2 %
 0.5%OR11.9%1.7%NE5.3%0.4%SD4.3%0.2%ND7.7%0.1%OK3.2%0.6%MO4.1
%1.3%IL7.8%4.1%IA2.9%0.7%WI2.7%1.8%WA10.9%3.5%AR1.7%0.5%AL2.5
% 1 . 0 % M S 2 . 4 % 0 . 4 % G A 1 4 . 6 % 2 . 7 % P A 3 . 1 % 3 . 1 %O H 4 . 3 % 2 . 1 % N C 3 . 9 % 2 . 5 % N Y 4 . 8
 % 5 . 6 % L A 2 . 8 % 0 . 9 % F L 1 7 . 0 % 5. 7 % T N 3 . 3 % 1 . 3 % K Y 2 . 7 % 0 . 6 % V A 4 . 6 % 3 . 6 % I N 3 . 4
%1.2%MI12.0%2.4%ME4.1%0.3%SC4.6%1.2%WV1.1%0.2%MD7.0%2.8%VT1.
9%0.2%NH7.1%0.5%MA7.7%3.1%NJ4.7%4.0%CT2.7%1.4%DE2.7%0.4%RI4.0
% 0 . 3 % D C 9 . 3 % 0 . 4 % *Source: Fannie Mae. Home price estimates are based on purchase transactions in Fannie-
  Freddie acquisition and public deed data available through the end of January 2014. UPB estimates are based on data
   available through the end of December 2013. Including subsequent data may lead to materially different results. One
  Year Home Price Change as of 2013 Q4* United States 8.8% 0% to 5% 5% to 10% 10% and above State Growth Rate
               State: NM Growth Rate: 3.0% UPB %: 0.5% Example A K 4 . 0 % 0 . 2 % H I 9 . 0 % 0 . 8 %




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 92 of Page
                                                                          179 89




5TX0.0%5.4%MT-1.3%0.3%CA-28.5%19.6%CO0.0%2.6%NM-13.3%0.5%WY-1
 . 5 % 0 . 2 % A Z - 3 3 . 4 % 2 . 4 % N E 0 . 0 % 0 . 4 %N V - 4 3 . 7 % 1 . 0 % N D 0 . 0 % 0 . 1 % O K 0 . 0 % 0 . 6 %
KS-0.6%0.5%OR-16.9%1.7%SD-0.5%0.2%UT-11.8%1.0%MO-8.3%1.3%IA-0.6
%0.7%WA-18.0%3.5%AR-3.2%0.5%AL-8.8%1.0%OH-9.9%2.1%MN-13.9%1.9
%I D - 1 8 . 5 % 0 . 5 % W I - 9 . 9 % 1 . 8 % L A 0 . 0 % 0 . 9 % N C - 8 . 1 % 2 . 5 % G A - 1 8 . 6 % 2 . 7 % M S - 8 .
8 % 0 . 4 % N Y - 8 . 2 % 5 . 6 % I L - 2 0 . 6 % 4 . 1 % F L - 3 9 . 3 % 5. 7 % P A - 4 . 2 % 3 . 1 % T N - 5 . 8 % 1 . 3 %
KY-1.0%0.6%IN-2.0%1.2%MI-21.8%2.4%VA-15.5%3.6%ME-9.5%0.3%SC-9.9
%1.2%WV0.0%0.2%VT-7.6%0.2%MD-23.4%2.8%NH-17.5%0.5%MA-12.8%3.1
    %NJ-23.5%4.0%CT-19.6%1.4%DE-18.3%0.4%RI-29.8%0.3%DC-1.5%0.4%
Home Price Change Peak-to-Current as of 2013 Q4* United States -13.5% Below -30% -30% to -15% -15% to -5% -5%
to 0% 0% State Growth Rate State: NM Growth Rate: -13.3% UPB %: 0.5% Example *Source: Fannie Mae. Home price
   estimates are based on purchase transactions in Fannie-Freddie acquisition and public deed data available through the
       end of January 2014. UPB estimates are based on data available through the end of December 2013. Including
   subsequent data may lead to materially different results. Note: Date of peak is determined for each state individually.
               States currently at peak prices show 0.0% change. H I - 1 0 . 3 % 0 . 8 % A K - 1 . 3 % 0 . 2 %




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 93 of Page
                                                                          179 90




  6 Acquisition Year 2013 2012 2011 2010 2009 2008 2007 2006 2005 2004 Unpaid Principal Balance (billions) $728.4
    $832.2 $562.3 $595.0 $684.7 $557.2 $643.8 $515.8 $524.2 $568.8 Weighted Average Origination Note Rate 3.78%
  3.78% 4.35% 4.64% 4.93% 6.00% 6.51% 6.45% 5.73% 5.63% Origination Loan-to-Value Ratio <= 60% 22.0% 25.3%
   29.1% 30.3% 32.6% 22.7% 16.7% 18.6% 21.4% 23.1% >60% and <= 70% 13.9% 14.4% 15.5% 15.9% 17.0% 16.1%
   13.5% 15.1% 16.3% 16.2% >70% and <= 80% 34.9% 34.4% 37.3% 38.5% 39.9% 39.5% 44.7% 49.6% 46.2% 43.1%
   >80% and <= 90% 10.5% 9.1% 8.9% 8.6% 6.9% 11.7% 9.1% 6.8% 7.4% 8.2% >90% and <= 100% (2) 11.5% 8.4%
  6.8% 5.2% 3.3% 10.0% 15.8% 9.7% 8.5% 9.3% > 100% (2) 7.1% 8.3% 2.3% 1.6% 0.4% 0.1% 0.1% 0.2% 0.2% 0.2%
    Weighted Average Origination Loan-to-Value Ratio 75.7% 74.5% 69.3% 68.4% 66.8% 72.0% 75.5% 73.4% 72.0%
    71.4% Weighted Average Origination Loan-to-Value Ratio Excluding HARP (3) 70.3% 67.8% 66.6% 65.8% 65.8%
FICO Credit Scores (4) 0 to < 620 1.4% 0.8% 0.5% 0.4% 0.4% 2.8% 6.4% 6.2% 5.4% 5.6% >=620 and < 660 3.4% 2.2%
  1.8% 1.6% 1.5% 5.7% 11.5% 11.2% 10.7% 11.5% >=660 and < 700 9.7% 7.2% 7.0% 6.6% 6.5% 13.9% 19.2% 19.6%
    18.9% 19.4% >=700 and < 740 18.2% 15.6% 16.2% 16.1% 17.2% 21.7% 22.6% 23.0% 23.2% 23.9%>=740 67.3%
  74.1% 74.5% 75.1% 74.4% 55.8% 40.1% 39.7% 41.5% 39.2% Missing 0.0% 0.0% 0.1% 0.1% 0.1% 0.1% 0.1% 0.2%
0.3% 0.4% Weighted Average FICO Credit Score 753 761 762 762 761 738 716 716 719 715 Product Distribution Fixed-
 rate 97.6% 96.7% 93.5% 93.7% 96.6% 91.7% 90.1% 83.4% 78.7% 78.8% Adjustable-rate 2.4% 3.3% 6.5% 6.3% 3.4%
8.3% 9.9% 16.6% 21.3% 21.2% Alt-A (5) 1.3% 0.8% 1.2% 0.9% 0.2% 3.1% 16.7% 21.8% 16.1% 11.9% Subprime 0.3%
 0.7% 0.7% 0.0% Interest Only 0.2% 0.3% 0.7% 1.3% 1.0% 5.6% 15.2% 15.2% 10.1% 5.0% Negative Amortizing 0.0%
   0.3% 3.1% 3.2% 1.9% Investor 9.3% 7.2% 6.5% 4.6% 2.5% 5.6% 6.5% 7.0% 6.4% 5.4% Condo/Co-op 10.4% 9.1%
   8.8% 8.6% 8.2% 10.3% 10.4% 10.5% 9.8% 8.8% Refinance 70.2% 79.4% 76.5% 77.4% 79.9% 58.6% 50.4% 48.3%
   53.1% 57.3% Total Refi Plus Initiative (3) 22.5% 24.5% 24.3% 23.4% 10.6% HARP 13.7% 15.6% 9.9% 9.8% 4.1%
   Origination Loan-to-Value Ratio: >80% and <=105% 58.4% 57.2% 88.1% 94.4% 99.1% >105% and <=125% 21.5%
    22.1% 11.9% 5.6% 0.9% >125% 20.1% 20.7% HARP Weighted Average Origination Loan-to-Value Ratio 109.8%
 111.0% 94.3% 92.2% 90.7% Credit Characteristics of Single-Family Business Acquisitions(1) (1) Percentage calculated
   based on unpaid principal balance of loans at time of acquisition. Single-family business acquisitions refer to single-
    family mortgage loans we acquire through purchase or securitization transactions. (2) The increase after 2009 is the
result of the Home Affordable Refinance Program (“HARP”), which involves the refinance of existing Fannie Mae loans
 with high loan-to-value ratios, including loans with loan-to-value ratios in excess of 100%. (3) Our Refi Plus initiative,
    which includes HARP, started in April 2009. Our Refi Plus initiative provides expanded refinance opportunities for
 eligible Fannie Mae borrowers. (4) FICO credit score is as of loan origination, as reported by the seller of the mortgage




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 94 of Page
                                                                         179 91




loan. (5) Newly originated Alt-A loans acquired after 2008 consist of the refinance of existing loans under our Refi Plus
                                                       initiative.




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 95 of Page
                                                                          179 92




7 Credit Characteristics of Single-Family Business Acquisitions under the Refi Plus Initiative (1) Our Refi Plus initiative,
   under which we acquire HARP loans, started in April 2009. HARP loans have LTV ratios at origination in excess of
     80%, while Other Refi Plus loans have LTV ratios at origination of up to 80%. (2) FICO credit score is as of loan
    origination, as reported by the seller of the mortgage loan. 2013 2012 2011 2010 2009 2013 2012 2011 2010 2009
  Unpaid Principal Balance (billions) $99.5 $129.9 $55.6 $59.0 $27.9 $64.4 $73.8 $81.2 $80.5 $44.7 Weighted Average
 Origination Note Rate 4.04% 4.14% 4.78% 5.00% 5.05% 3.80% 3.89% 4.44% 4.68% 4.85% Origination Loan-to-Value
   Ratio <= 80% 100.00% 100.00% 100.00% 100.00% 100.00%>80% and <= 105% 58.4% 57.2% 88.1% 94.4% 99.1%
    >105% and <= 125% 21.5% 22.1% 11.9% 5.6% 0.9% >125% 20.1% 20.7% Weighted Average Origination Loan-
  to-Value Ratio 109.8% 111.0% 94.3% 92.2% 90.7% 60.2% 61.1% 60.2% 62.3% 63.3% FICO Credit Scores (2) 0 to <
620 6.7% 3.7% 2.1% 2.0% 1.2% 5.3% 2.9% 1.7% 1.4% 0.8% >= 620 and < 660 9.5% 6.0% 3.8% 3.6% 2.5% 6.9% 4.2%
   2.8% 2.4% 1.7% >=660 and < 700 17.5% 13.4% 11.6% 11.6% 9.6% 13.5% 9.8% 8.8% 8.0% 6.7% >=700 and< 740
 21.2% 20.3% 21.0% 21.4% 22.3% 18.4% 16.2% 16.7% 15.9% 16.3% >=740 45.1% 56.6% 61.5% 61.2% 64.4% 55.8%
66.9% 70.0% 72.3% 74.5% Weighted Average FICO Credit Score 722 738 746 746 749 737 753 758 760 762 P oduct D
 stribution Fixed-rate 99.6% 99.3% 96.8% 97.2% 97.9% 99.3% 98.9% 97.6% 97.3% 98.1% Adjustable-rate 0.4% 0.7%
 3.2% 2.8% 2.1% 0.7% 1.1% 2.4% 2.7% 1.9% Owner Occupied 78.6% 85.7% 86.3% 91.1% 95.2% 81.6% 87.2% 89.2%
 91.8% 93.5% Second/Vacation Home 3.1% 2.8% 3.6% 3.5% 3.3% 3.5% 3.2% 3.6% 3.5% 4.2% Investor 18.3% 11.5%
 10.1% 5.4% 1.6% 14.9% 9.6% 7.3% 4.7% 2.3% Condo/Co-op 13.2% 10.9% 10.5% 10.1% 8.3% 9.3% 7.6% 5.8% 6.0%
                                    6.8% Acquisition Year HARP (1) Other Refi Plus (1)




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 96 of Page
                                                                          179 93




   8 As of December 31, 2013 Negative Amortizing Loans Interest Only Loans Loans with FICO < 620 (3) Loans with
    FICO >= 620 and < 660 (3) Loans with Origination LTV Ratio > 90% Loans with FICO< 620 and Origination LTV
 Ratio > 90% (3) Alt-A Loans Subprime Loans (6) Subtotal of Key Product Features (1) Overall Book Unpaid Principal
     Balance (billions) (2) $6.4 $80.7 $74.3 $155.0 $425.7 $21.1 $131.3 $4.2 $739.4 $2,820.4 Share of Single-Family
 Conventional Guaranty Book 0.2% 2.9% 2.6% 5.5% 15.1% 0.7% 4.7% 0.1% 26.2% 100.0% Average Unpaid Principal
 Balance (2) $100,587 $234,819 $119,637 $131,294 $171,735 $131,430 $152,326 $142,220 $156,043 $160,357 Serious
      Delinquency Rate 4.95% 11.77% 9.91% 7.28% 3.48% 10.90% 9.23% 16.93% 5.67% 2.38% Origination Years
 2005-2008 54.6% 78.7% 46.0% 40.0% 14.3% 36.5% 61.1% 85.3% 31.0% 14.7% Weighted Average Origination Loan-
to-Value Ratio 70.5% 74.0% 80.8% 79.3% 105.3% 106.9% 77.1% 76.8% 90.7% 74.1% Origination Loan-to-Value Ratio
  > 90% 0.3% 7.9% 28.4% 23.4% 100.0% 100.0% 13.2% 6.5% 57.6% 15.1% Weighted Average Mark-to-Market Loan-
 to-Value Ratio 70.7% 91.8% 79.9% 77.3% 95.2% 103.3% 83.3% 94.7% 86.3% 66.7% Mark-to-Market Loan-to-Value
 Ratio > 100% and<= 125% 15.5% 23.4% 14.5% 12.3% 18.6% 29.3% 17.4% 23.1% 15.6% 5.0% Mark-to-Market Loan-
to-Value Ratio > 125% 11.9% 13.6% 7.5% 6.5% 8.7% 17.4% 10.1% 16.0% 7.3% 2.2% Weighted Average FICO (3) 706
724 584 642 728 585 714 618 704 744 FICO < 620 (3) 6.8% 1.5% 100.0% 5.0% 100.0% 2.0% 51.5% 10.1% 2.6% Fixed-
rate 4.0% 24.5% 81.5% 83.5% 94.2% 85.6% 65.2% 63.0% 82.8% 91.5% Primary Residence 68.6% 85.2% 95.2% 93.1%
 91.0% 95.3% 76.9% 96.9% 89.3% 88.2% Condo/Co-op 12.8% 15.3% 4.8% 6.2% 10.4% 5.9% 10.1% 3.9% 9.6% 9.5%
 Credit Enhanced (4) 38.8% 14.3% 25.2% 22.2% 57.4% 61.5% 12.8% 56.1% 37.1% 15.1% % of 2009 Credit Losses (5)
2.0% 32.6% 8.8% 15.5% 19.2% 3.4% 39.6% 1.5% 75.0% 100.0% % of 2010 Credit Losses (5) 1.9% 28.6% 8.0% 15.1%
15.9% 2.7% 33.2% 1.1% 68.4% 100.0% % of 2011 Credit Losses (5) 1.2% 25.8% 7.9% 14.7% 14.0% 2.2% 27.3% 0.6%
63.4% 100.0% % of 2012 Credit Losses (5) 0.5% 21.8% 7.8% 14.2% 16.8% 2.3% 23.7% 1.1% 61.2% 100.0% % of 2013
     Credit Losses (5)(6) 0.8% 18.7% 7.0% 15.7% 20.8% 2.0% 26.0% -0.2% 63.4% 100.0% Categories Not Mutually
Exclusive (1) (1) Loans with multiple product features are included in all applicable categories. The subtotal is calculated
by counting a loan only once even if it is included in multiple categories. (2) Excludes non-Fannie Mae securities held in
 portfolio and those Alt-A and subprime wraps for which Fannie Mae does not have loan-level information. Fannie Mae
 had access to detailed loan-level information for approximately 99% of its single-family conventional guaranty book of
     business as of December 31, 2013. (3) FICO credit score is as of loan origination, as reported by the seller of the
   mortgage loan. (4) Unpaid principal balance of all loans with credit enhancement as a percentage of unpaid principal
      balance of single-family conventional guaranty book of business for which Fannie Mae had access to loan-level
   information. (5) Expressed as a percentage of credit losses for the single-family guaranty book of business. Does not




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 97 of Page
                                                                          179 94




reflect the impact of recoveries that have not been allocated to specific loans. For information on total credit losses, refer
  to Fannie Mae’s 2013 Form 10-K. (6) Credit losses are negative due to recoveries recognized in the fourth quarter of
    2013. Credit Characteristics of Single-Family Conventional Guaranty Book of Business by Key Product Features




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 98 of Page
                                                                          179 95




   9 As of December 31, 2013 Overall Book 2013 2012 2011 2010 2009 2008 2007 2006 2005 2004 and Earlier Unpaid
Principal Balance (billions) (1) $2,820.4 $609.9 $728.0 $320.8 $280.2 $209.0 $80.3 $137.2 $98.7 $99.6 $256.7 Share of
     Single-Family Conventional Guaranty Book 100.0% 21.6% 25.8% 11.4% 9.9% 7.4% 2.8% 4.9% 3.5% 3.5% 9.1%
  Average Unpaid Principal Balance (1) $160,357 $199,516 $199,440 $171,471 $170,319 $164,285 $152,148 $163,511
$148,107 $129,790 $77,966 Serious Delinquency Rate 2.38% 0.04% 0.17% 0.34% 0.56% 0.98% 6.69% 12.18% 11.26%
    7.26% 3.50% Weighted Average Origination Loan-to-Value Ratio 74.1% 76.1% 76.0% 71.4% 71.2% 69.8% 74.7%
 78.3% 75.3% 73.5% 71.7% Origination Loan-to-Value Ratio > 90% (2) 15.1% 19.4% 18.7% 12.7% 10.4% 6.6% 12.7%
 20.9% 12.6% 9.8% 10.5% Weighted Average Mark-to-Market Loan-to-Value Ratio 66.7% 71.1% 64.3% 59.2% 60.6%
 62.5% 77.2% 94.2% 92.0% 78.0% 50.9% Mark-to-Market Loan-to-Value Ratio > 100% and <= 125% 5.0% 3.7% 3.6%
0.8% 1.1% 1.4% 11.8% 24.0% 22.0% 13.2% 2.1% Mark-to-Market Loan-to-Value Ratio > 125% 2.2% 1.7% 1.4% 0.0%
 0.1% 0.1% 2.8% 13.2% 13.2% 5.2% 0.7% Weighted Average FICO (3) 744 751 759 758 757 754 718 694 699 708 709
   FICO < 620 (3) 2.6% 1.5% 1.0% 0.7% 0.7% 0.7% 5.4% 10.8% 8.6% 6.5% 7.2% Interest Only 2.9% 0.2% 0.3% 0.6%
 1.0% 1.0% 7.5% 18.1% 20.0% 13.1% 2.8% Negative Amortizing 0.2% 0.1% 1.6% 1.8% 1.1% Fixed-rate 91.5% 97.6%
   97.4% 94.5% 95.4% 97.2% 77.8% 67.7% 66.5% 70.3% 82.5% Primary Residence 88.2% 86.4% 88.6% 87.3% 89.3%
 90.8% 87.0% 89.1% 87.0% 86.5% 90.0% Condo/Co-op 9.5% 10.4% 9.2% 8.8% 8.6% 9.0% 11.3% 10.1% 11.0% 10.9%
  8.0% Credit Enhanced (4) 15.1% 19.9% 15.1% 10.2% 7.4% 6.9% 26.3% 31.0% 19.9% 15.2% 11.2% % of 2009 Credit
    Losses (5) 100.0% 4.8% 36.0% 30.9% 16.4% 11.9% % of 2010 Credit Losses (5) 100.0% 0.4% 7.0% 35.8% 29.2%
15.9% 11.7% % of 2011 Credit Losses (5) 100.0% 0.7% 1.6% 5.7% 30.3% 27.7% 19.2% 14.8% % of 2012 Credit Losses
   (5) 100.0% 0.1% 0.6% 1.9% 2.5% 7.7% 31.5% 26.3% 16.3% 13.1% % of 2013 Credit Losses (5) 100.0% 0.1% 1.9%
     1.7% 2.9% 3.4% 7.1% 30.2% 24.6% 15.8% 12.4% Cumulative Default Rate (6) 0.0% 0.1% 0.2% 0.3% 0.5% 4.1%
 12.7% 11.6% 7.0% Origination Year Credit Characteristics of Single-Family Conventional Guaranty Book of Business
  by Origination Year (1) Excludes non-Fannie Mae securities held in portfolio and those Alt-A and subprime wraps for
  which Fannie Mae does not have loan-level information. Fannie Mae had access to detailed loan-level information for
     approximately 99% of its single-family conventional guaranty book of business as of December 31, 2013. (2) The
 increase after 2009 is the result of the Home Affordable Refinance Program (“HARP”), which involves the refinance of
existing Fannie Mae loans with high loan-to-value ratios, including loans with loan-to-value ratios in excess of 100%. (3)
FICO credit score is as of loan origination, as reported by the seller of the mortgage loan. (4) Unpaid principal balance of
   all loans with credit enhancement as a percentage of unpaid principal balance of single-family conventional guaranty
    book of business for which Fannie Mae has access to loan-level information. (5) Expressed as a percentage of credit




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           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 99 of Page
                                                                          179 96




    losses for the single-family guaranty book of business. Does not reflect the impact of recoveries that have not been
  allocated to specific loans. For information on total credit losses, refer to Fannie Mae’s 2013 Form 10-K. (6) Defaults
  include loan liquidations other than through voluntary pay-off or repurchase by lenders and include loan foreclosures,
 short sales, sales to third parties and deeds-in-lieu of foreclosure. Cumulative Default Rate is the total number of single-
 family conventional loans in the guaranty book of business originated in the identified year that have defaulted, divided
by the total number of single-family conventional loans in the guaranty book of business originated in the identified year.
                                 For 2003 and 2004 cumulative default rates, refer to slide 16.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 100 ofPage
                                                                          17997




10 As of December 31, 2013 Overall Book AZ CA FL NV Select Midwest States (1) Unpaid Principal Balance (billions)
    (2) $2,820.4 $67.9 $551.4 $160.4 $27.1 $276.8 Share of Single-Family Conventional Guaranty Book 100.0% 2.4%
      19.6% 5.7% 1.0% 9.8% Average Unpaid Principal Balance (2) $160,357 $149,802 $226,815 $138,769 $155,002
    $124,126 Serious Delinquency Rate 2.38% 1.12% 0.98% 6.89% 4.19% 2.43% Origination Years 2005-2008 14.7%
    18.2% 11.5% 30.0% 25.5% 14.1% Weighted Average Origination Loan-to-Value Ratio 74.1% 83.1% 68.7% 80.9%
    88.8% 78.5% Origination Loan-to-Value Ratio > 90% 15.1% 25.6% 10.1% 22.2% 27.5% 20.5% Weighted Average
  Mark-to-Market Loan-to-Value Ratio 66.7% 72.9% 57.6% 80.4% 84.7% 73.7% Mark-to-Market Loan-to-Value Ratio
    >100% and <=125% 5.0% 10.6% 3.9% 13.6% 15.4% 7.2% Mark-to-Market Loan-to-Value Ratio>125% 2.2% 4.8%
 1.8% 11.6% 15.3% 3.5% Weighted Average FICO (3) 744 745 753 731 740 739 FICO < 620 (3) 2.6% 2.3% 1.5% 4.4%
    2.4% 3.5% Interest Only 2.9% 5.2% 4.0% 5.8% 8.4% 1.8% Negative Amortizing 0.2% 0.3% 0.6% 0.6% 0.8% 0.1%
     Fixed-rate 91.5% 88.2% 90.0% 85.9% 83.2% 91.1% Primary Residence 88.2% 79.1% 85.0% 81.3% 75.5% 92.5%
 Condo/Co-op 9.5% 4.2% 12.6% 13.3% 5.3% 11.4% Credit Enhanced (4) 15.1% 14.9% 7.4% 14.2% 13.9% 19.0% % of
   2009 Credit Losses (5) 100.0% 10.8% 24.4% 15.5% 6.5% 14.8% % of 2010 Credit Losses (5) 100.0% 10.0% 22.6%
 17.5% 6.1% 13.6% % of 2011 Credit Losses (5) 100.0% 11.7% 27.0% 11.0% 7.9% 12.0% % of 2012 Credit Losses (5)
    100.0% 6.3% 18.4% 21.4% 4.8% 18.7% % of 2013 Credit Losses (5) 100.0% 1.4% 5.1% 28.9% 3.8% 21.8% Credit
Characteristics of Single-Family Conventional Guaranty Book of Business by Select States (1) Select Midwest states are
    Illinois, Indiana, Michigan, and Ohio. (2) Excludes non-Fannie Mae securities held in portfolio and those Alt-A and
   subprime wraps for which Fannie Mae does not have loan-level information. Fannie Mae had access to detailed loan-
level information for approximately 99% of its single-family conventional guaranty book of business as of December 31,
 2013. (3) FICO credit score is as of loan origination, as reported by the seller of the mortgage loan. (4) Unpaid principal
  balance of all loans with credit enhancement as a percentage of unpaid principal balance of single-family conventional
 guaranty book of business for which Fannie Mae has access to loan-level information. (5) Expressed as a percentage of
credit losses for the single-family guaranty book of business. Does not reflect the impact of recoveries that have not been
          allocated to specific loans. For information on total credit losses, refer to Fannie Mae’s 2013 Form 10-K.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 101 ofPage
                                                                          17998




    11 As of December 31, 2013 Alt-A (1) 2013(2) 2012(2) 2011 (2) 2010 (2) 2009 (2) 2008 2007 2006 2005 2004 and
  Earlier Unpaid principal balance (billions) (3) $131.3 $8.2 $7.8 $5.7 $2.8 $1.1 $2.6 $27.4 $29.4 $20.8 $25.5 Share of
    Alt-A 100.0% 6.2% 5.9% 4.4% 2.1% 0.8% 2.0% 20.9% 22.4% 15.8% 19.5% Weighted Average Origination Loan-
to-Value Ratio 77.1% 96.9% 105.3% 75.3% 81.3% 76.7% 69.0% 75.1% 74.2% 73.1% 71.9% Origination Loan-to-Value
      Ratio > 90% (4) 13.2% 52.4% 59.0% 26.4% 31.8% 23.0% 2.4% 8.6% 4.7% 3.3% 5.3% Weighted Average Mark-
    to-Market Loan-to-Value Ratio 83.3% 89.2% 86.7% 62.8% 72.8% 71.5% 75.0% 96.7% 96.5% 84.2% 57.1% Mark-
 to-Market Loan-to-Value Ratio > 100% and <=125% 17.4% 19.3% 19.7% 2.5% 4.8% 6.1% 11.2% 25.5% 25.3% 17.7%
3.8% Mark-to-Market Loan-to-Value Ratio> 125% 10.1% 12.2% 11.7% 0.1% 0.2% 0.5% 2.9% 15.8% 16.8% 8.3% 0.9%
   Weighted Average FICO (5) 714 710 721 740 727 729 719 705 708 719 715 FICO < 620 (5) 2.0% 9.6% 7.4% 3.1%
3.9% 4.4% 0.3% 0.7% 0.6% 0.5% 1.8% Adjustable-rate 34.8% 0.4% 0.7% 2.5% 4.0% 3.7% 29.2% 41.6% 46.3% 50.5%
35.6% Interest Only 25.6% 0.1% 8.1% 38.8% 39.6% 32.8% 16.6% Negative Amortizing 2.6% 4.3% 6.7% 2.8% Investor
   18.9% 35.3% 29.8% 25.0% 13.0% 5.7% 17.3% 17.0% 15.2% 18.8% 16.7% Condo/Co-op 10.1% 12.0% 11.1% 7.2%
   8.9% 8.6% 6.3% 8.3% 10.5% 12.7% 9.7% California 21.1% 23.9% 25.3% 25.5% 14.6% 13.9% 19.1% 21.0% 18.8%
19.5% 23.2% Florida 11.5% 9.8% 11.6% 4.0% 3.3% 3.5% 10.0% 12.9% 13.6% 13.4% 9.4% Credit Enhanced (6) 12.8%
7.9% 7.8% 2.1% 2.2% 1.4% 14.3% 16.5% 12.0% 11.1% 17.8% Serious Delinquency Rate at December 31, 2012 11.36%
   0.21% 1.05% 3.30% 4.89% 10.71% 17.41% 16.59% 11.76% 6.74% Serious Delinquency Rate at December 31, 2013
  9.23% 0.26% 0.82% 1.31% 3.47% 4.55% 10.35% 15.41% 14.63% 10.06% 6.07% % of 2009 Credit Losses (7) 39.6%
0.4% 13.4% 15.8% 7.3% 2.6% % of 2010 Credit Losses (7) 33.2% 0.0% 0.0% 0.5% 11.8% 12.8% 5.7% 2.3% % of 2011
 Credit Losses (7) 27.3% 0.1% 0.1% 0.3% 8.5% 10.1% 5.9% 2.5% % of 2012 Credit Losses (7) 23.7% 0.0% 0.0% 0.1%
   0.1% 0.3% 7.9% 8.9% 4.3% 1.9% % of 2013 Credit Losses (7) 26.0% 0.0% 0.1% 0.2% 0.2% 0.1% 0.2% 9.1% 9.6%
     4.7% 1.9% Cumulative Default Rate (8) 0.0% 0.3% 0.7% 3.1% 4.3% 10.2% 22.7% 20.9% 13.5% Origination Year
Credit Characteristics of Alt-A Loans in the Single-Family Conventional Guaranty Book of Business (1) In reporting our
 Alt-A exposure, we have classified mortgage loans as Alt-A if and only if the lenders that deliver the mortgage loans to
      us have classified the loans as Alt-A based on documentation or other product features. We have loans with some
     features that are similar to Alt-A mortgage loans that we have not classified as Alt-A because they do not meet our
   classification criteria. (2) Newly originated Alt-A loans acquired after 2008 consist of the refinance of existing loans
  under our Refi Plus initiative. (3) Excludes non-Fannie Mae securities held in portfolio and those Alt-A and subprime
       wraps for which Fannie Mae does not have loan-level information. Fannie Mae had access to detailed loan-level
    information for approximately 99% of its single-family conventional guaranty book of business as of December 31,




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 102 ofPage
                                                                          17999




   2013. (4) The increase after 2008 is the result of our HARP loans, which we began acquiring in April 2009 and which
   involve the refinance of existing Fannie Mae loans with high loan-to- value ratios, including loans with loan-to-value
  ratios in excess of 100%. (5) FICO credit score is as of loan origination, as reported by the seller of the mortgage loan.
    (6) Defined as unpaid principal balance of Alt-A loans with credit enhancement as a percentage of unpaid principal
 balance of all Alt-A loans for which Fannie Mae has access to loan-level information. (7) Expressed as a percentage of
credit losses for the single-family guaranty book of business. Does not reflect the impact of recoveries that have not been
   allocated to specific loans. For information on total credit losses, refer to Fannie Mae’s 2013 Form 10-K. (8) Defaults
  include loan liquidations other than through voluntary pay-off or repurchase by lenders and includes loan foreclosures,
short sales, sales to third parties and deeds-in- lieu of foreclosure. Cumulative Default Rate is the total number of single-
 family conventional loans in the guaranty book of business originated in the identified year that have defaulted, divided
by the total number of single-family conventional loans in the guaranty book of business originated in the identified year.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 103 ofPage
                                                                           179100




12 2013 2012 2011 2010 2009 2013 2012 2011 2010 2009 Unpaid Principal Balance (billions) $84.5 $124.8 $44.5 $41.6
 $19.4 $54.2 $65.3 $52.9 $43.0 $19.0 Share of Single-Family Conventional Guaranty Book 3.0% 4.4% 1.6% 1.5% 0.7%
     1.9% 2.3% 1.9% 1.5% 0.7% Average Unpaid Principal Balance $175,880 $193,343 $201,448 $213,750 $220,796
   $134,704 $141,962 $145,173 $155,763 $160,086 Share of Total Refinances 4.2% 6.1% 2.2% 2.0% 1.0% 2.7% 3.2%
2.6% 2.1% 0.9% Weighted Average Origination Loan-to-Value Ratio 109.4% 112.7% 95.0% 93.1% 91.5% 60.3% 61.3%
    60.7% 63.0% 65.0% Origination Loan-to-Value Ratio > 90% 75.0% 77.9% 58.7% 53.7% 48.8% Weighted Average
 Mark-to-Market Loan-to-Value Ratio 100.7% 93.4% 79.6% 81.5% 84.4% 56.3% 52.3% 50.2% 53.6% 58.1% Weighted
 Average FICO (2) 721 736 744 742 744 735 750 754 755 753 FICO < 620 (2) 7.0% 4.0% 2.3% 2.4% 1.8% 5.6% 3.3%
  2.1% 1.9% 1.7% Fixed-rate 99.6% 99.5% 97.2% 97.5% 97.8% 99.3% 99.1% 97.8% 97.7% 98.1% Primary Residence
  78.2% 85.0% 85.8% 90.2% 94.5% 81.1% 86.7% 88.1% 90.5% 92.0% Second/Vacation Home 3.1% 2.8% 3.4% 3.5%
3.2% 3.5% 3.1% 3.6% 3.6% 4.6% Investor 18.6% 12.2% 10.8% 6.3% 2.2% 15.4% 10.2% 8.4% 5.9% 3.4% Condo/Co-op
  13.2% 11.0% 10.3% 9.8% 8.2% 9.5% 7.7% 5.9% 6.2% 7.3% Serious Delinquency Rate Overall Serious Delinquency
   Rate 0.19% 0.63% 1.18% 1.90% 2.73% 0.05% 0.16% 0.34% 0.62% 1.00% Serious Delinquency Rate by MTMLTV
   Ratio: <=80% 0.09% 0.23% 0.63% 0.78% 1.08% 0.05% 0.16% 0.33% 0.56% 0.83% 80% and<=105% 0.14% 0.60%
  1.72% 2.69% 3.29% 0.05% 0.37% 2.85% 4.25% 3.87% 105% and <=125% 0.28% 1.03% 3.29% 5.48% 7.82% 0.00%
   2.56% 4.88% >125% 0.42% 1.57% 4.42% 6.80% 8.76% 0.00% 3.45% Mark-to-Market Loan-to-Value Ratio <=80%
   12.8% 29.7% 54.1% 47.6% 37.3% 99.5% 99.8% 99.7% 98.2% 93.4% 80% and <=105% 56.4% 47.1% 42.7% 48.3%
 57.1% 0.5% 0.2% 0.3% 1.8% 6.5% 105% and <=125% 18.2% 14.7% 3.0% 3.7% 5.1% 0.0% 0.0% 0.1% >125% 12.5%
    8.4% 0.2% 0.4% 0.6% 0.0% 0.0% As of December 31, 2013 Origination Year HARP (1) Other Refi Plus (1) Credit
    Characteristics of Refi Plus Loans in the Single-Family Conventional Guaranty Book of Business (1) Our Refi Plus
   initiative, under which we acquire HARP loans, started in April 2009. HARP loans have LTV ratios at origination in
  excess of 80%, while Other Refi Plus loans have LTV ratios at origination of up to 80%. (2) FICO credit score is as of
                               loan origination, as reported by the seller of the mortgage loan.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 104 ofPage
                                                                           179101




 13 0% 1% 2% 3% 4% 5% 6% 7% 2013 Q42013 Q32013 Q2 2013 Q1 2012 Q42012 Q32012 Q22012 Q12011 Q42011
Q32011 Q22011 Q12010 Q4 Serious Delinquency Rate by Region (3) Midwest Northeast Southeast Southwest West 0%
  2% 4% 6% 8% 10% 12% 14% 2013 Q42013 Q32013 Q2 2013 Q1 2012 Q42012 Q32012 Q22012 Q12011 Q42011
   Q32011 Q22011 Q12010 Q4 Serious Delinquency Rate by Select States AZ CA FL NV Select Midwest States All
 Serious Delinquency Rates by Select States and Region of Single-Family Conventional Guaranty Book of Business(1)
  (1) Calculated based on the number of loans in Fannie Mae’s single-family conventional guaranty book of business
within each specified category. (2) Select Midwest states are Illinois, Indiana, Michigan, and Ohio. (3) For information
   on which states are included in each region, refer to footnote 9 to Table 39 in Fannie Mae’s 2013 Form 10-K. (2)




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 105 ofPage
                                                                           179102




14 63,228 63,761 61,492 54,651 54,074 0 25,000 50,000 75,000 2012 Q4 2013 Q1 2013 Q2 2013 Q3 2013 Q4 Nu mb er
 o f Lo an s Modifications Repayment Plans and Forbearances Completed Short Sales and Deeds-in-Lieu Single-Family
 Completed Workouts by Type Modifications involve changes to the original mortgage loan terms, which may include a
change to the product type, interest rate, amortization term, maturity date and/or unpaid principal balance. Modifications
include both completed modifications under the Administration’s Home Affordable Modification Program (HAMP) and
completed non-HAMP modifications, and do not reflect loans currently in trial modifications. Repayment plans involve
     plans to repay past due principal and interest over a reasonable period of time through temporarily higher monthly
      payments. Loans with completed repayment plans are included for loans that were at least 60 days delinquent at
 initiation. Forbearances involve an agreement to suspend or reduce borrower payments for a period of time. Loans with
  forbearance plans are included for loans that were at least 90 days delinquent at initiation. Deeds-in-lieu of foreclosure
    involve the borrower’s voluntarily signing over title to the property. In a short sale, the borrower, working with the
 servicer and Fannie Mae, sells the home prior to foreclosure for less than the amount owed to pay off the loan, accrued
                                     interest and other expenses from the sale proceeds.




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         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 106 ofPage
                                                                          179103




  15 2010 2011 2011 2011 2011 2012 2012 2012 2012 2013 2013 2013 Q4 Q1 Q2 Q3 Q4 Q1 Q2 Q3 Q4 Q1 Q2 Q3 3
months post modification 81% 84% 84% 83% 84% 85% 84% 84% 85% 86% 83% 83% 6 months post modification 77%
 78% 79% 79% 79% 78% 77% 80% 82% 79% 77% n/a 9 months post modification 72% 75% 77% 76% 74% 73% 76%
78% 78% 76% n/a n/a 12 months post modification 69% 74% 75% 72% 71% 73% 75% 76% 76% n/a n/a n/a 15 months
 post modification 68% 73% 72% 70% 71% 73% 74% 74% n/a n/a n/a n/a 18 months post modification 68% 71% 71%
70% 71% 72% 73% n/a n/a n/a n/a n/a 21 months post modification 66% 70% 72% 71% 71% 72% n/a n/a n/a n/a n/a n/a
24 months post modification 65% 71% 73% 71% 71% n/a n/a n/a n/a n/a n/a n/a % Current or Paid Off Re-performance
Rates of Modified Single-Family Loans(1) (1) Excludes loans that were classified as subprime adjustable rate mortgages
 that were modified into fixed rate mortgages. Modifications include permanent modifications, but do not reflect loans
                                            currently in trial modifications.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 107 ofPage
                                                                           179104




16 2003 2004 2005 20062007 2008 20092010 2013 20112012 0.0% 1.0% 2.0% 3.0% 4.0% 5.0% 6.0% 7.0% 8.0% 9.0%
    10.0% 11.0% 12.0% 13.0% Yr1-Q1 Yr2-Q1 Yr3-Q1 Yr4-Q1 Yr5-Q1 Yr6-Q1 Yr7-Q1 Yr8-Q1 Yr9-Q1 Yr10-Q1
Yr11-Q1 Cu mu lat ive D efa ult R ate Time Since Beginning of Origination Year 2003 2004 2005 2006 2007 2008 2009
 2010 2011 2012 2013 Note: Defaults consist of loan liquidations other than through voluntary pay-off or repurchase by
  lenders and include loan foreclosures, short sales, sales to third parties and deeds-in-lieu of foreclosure. Cumulative
 Default Rate is the total number of single-family conventional loans in the guaranty book of business originated in the
identified year that have defaulted, divided by the total number of single-family conventional loans in the guaranty book
 of business originated in the identified year. Data as of December 31, 2013 is not necessarily indicative of the ultimate
performance of the loans and performance is likely to change, perhaps materially, in future periods. Cumulative Default
                  Rates of Single-Family Conventional Guaranty Book of Business by Origination Year




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 108 ofPage
                                                                           179105




 17 2013 2012 2011 2010 2009 2008 Beginning Balance N/A 105,666 118,528 162,489 86,155 63,538 33,729 N/A N/A
  Arizona 431 4,310 8,133 16,172 20,691 12,854 5,532 2,189 3,497 California 560 6,382 14,980 27,589 34,051 19,565
  10,624 4,931 8,909 Florida 1,226 30,298 23,586 13,748 29,628 13,282 6,159 19,876 13,838 Nevada 638 2,233 3,014
8,406 9,418 6,075 2,906 1,360 1,379 Select Midwest States (1) 724 31,830 40,070 33,777 45,411 28,464 23,668 26,252
    29,148 All other States 679 69,331 84,696 100,004 122,879 65,377 45,763 48,621 48,895 Total Acquisitions N/A
   144,384 174,479 199,696 262,078 145,617 94,652 N/A N/A Total Dispositions N/A (146,821) (187,341) (243,657)
(185,744) (123,000) (64,843) N/A N/A Ending Inventory N/A 103,229 105,666 118,528 162,489 86,155 63,538 N/A N/
A State REO Inventory as of December 31, 2013 REO Inventory as of December 31, 2012 Average Days From Last Paid
  Installment to Foreclosure For Full Year 2013 (2) (3) (4) REO Acquisitions and Dispositions (Number of Properties)
 Single-Family Real Estate Owned (REO) in Select States (1) Select Midwest States are Illinois, Indiana, Michigan, and
   Ohio. (2) Measured from the borrowers’ last paid installment on their mortgages to when the related properties were
added to our REO inventory for foreclosures completed during full year of 2013. (3) Fannie Mae incurs additional costs
    associated with property taxes, hazard insurance, and legal fees while a delinquent loan remains in the foreclosure
process. Additionally, the longer a loan remains in the foreclosure process, the longer it remains in our guaranty book of
   business as a seriously delinquent loan. The average number of days from last paid installment to foreclosure for all
 states combined were 325, 407, 479, 529, 655, and 793 in each of the years 2008 through 2013, respectively. (4) Home
                            Equity Conversion Mortgages (HECMs) excluded from calculation.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 109 ofPage
                                                                           179106




18 70% 72% 74% 76% 78% 63% 64% 67% 68% 70% 68% 71% 75% 75% 74% 62% 65% 68% 68% 68% 58% 62% 66%
70% 74% 78% Q4 Q1 Q2 Q3 Q4 2012 2013 Short Sales Gross Sales/ UPB Short Sales Net Sales/ UPB REO Gross Sales/
   UPB REO Net Sales/ UPB Q4 Q1 Q2 Q3 Q4 CA 71.1% 72.2% 75.5% 78.7% 81.4% AZ 69.9% 73.1% 76.5% 78.2%
   79.2% FL 63.7% 65.8% 68.8% 71.3% 73.6% NV 59.1% 63.0% 67.1% 70.1% 73.6% IL 67.3% 66.7% 68.6% 70.5%
72.7% Top 5 67.0% 68.8% 71.7% 73.9% 76.3% All Others 76.2% 76.7% 78.6% 79.8% 80.4% Total 70.4% 71.7% 74.3%
76.2% 78.0% Short Sales Gross Sales Price/UPB 2012 2013 Q4 Q1 Q2 Q3 Q4 CA 73.2% 78.0% 85.3% 86.7% 86.8% FL
   62.2% 64.5% 67.8% 70.7% 72.0% MI 56.9% 59.9% 65.1% 67.8% 66.7% IL 55.0% 57.2% 61.9% 63.2% 64.5% OH
 59.2% 61.7% 62.4% 64.6% 1.9% Top 5 63.9% 66.9% 71.1% 71.7% 2.1% All Others 72.2% 73.5% 77.6% 7.8% 76.2%
Total 68.5% 70.6% 74.6% 4.8% 74.2% 20132012REO Gross Sales Price/UPB Single-Family Short Sales and REO Sales
 Price / UPB of Mortgage Loans(1) (2) Gross Sales Price/UPB Trends on Direct Sale Dispositions(1) and Short Sales(2)
   Top 5 States(3) (1) Calculated as the sum of sale proceeds received on REO properties that have been sold to a third
party (excluding properties that have been repurchased by the seller/servicer, acquired by a mortgage insurance company,
   redeemed by a borrower, or sold through the FHFA Rental Pilot) divided by the aggregate unpaid principal balance
(UPB) of the related loans. Gross sales price represents the contract sale price. Net sales price represents the contract sale
   price less selling costs for the property and adjusted for other charges/credits paid by or due to the seller at closing.
 Properties disposed of in the fourth quarter of 2012 through structured rental transactions have been excluded from the
 Net/Gross Proceeds to UPB calculations. (2) Calculated as the sum of sales proceeds received on short sales divided by
  the aggregate unpaid principal balance (UPB) of the related loans. Gross sales price represents the contract sale price.
  Net sales price represents the contract sale price less charges/credits paid by or due to other parties at closing. (3) The
                states shown had the greatest volume of properties sold in 2013 in each respective category.




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 110 ofPage
                                                                           179107




19 Total Multifamily Guaranty Book of Business 35,581 $198.9 100% 0.10% 100% 100% 100% 100% Credit Enhanced
    Loans: Credit Enhanced 32,204 $181.1 91% 0.10% 1% 73% 83% 68% Non-Credit Enhanced 3,377 $17.7 9% 0.13%
 99% 27% 17% 32% Origination loan-to-value ratio: (3) Less than or equal to 70% 22,833 $110.1 56% 0.04% 46% 14%
18% 8% Greater than 70% and less than or equal to 80% 10,366 $81.9 41% 0.17% 35% 71% 70% 89% Greater than 80%
    2,382 $6.9 3% 0.23% 18% 15% 12% 3% Delegated Underwriting and Servicing (DUS ®) Loans: (4) DUS® - Small
 Balance Loans(5) 8,762 $16.6 8% 0.24% 5% 7% 9% 7% DUS ® - Non Small Balance Loans 12,454 $161.7 82% 0.06%
      -26% 71% 72% 61% DUS ® - Total 21,216 $178.3 90% 0.08% -21% 78% 81% 68% Non-DUS - Small Balance
 Loans(5) 13,589 $10.3 5% 0.50% 43% 16% 12% 10% Non-DUS - Non Small Balance Loans 776 $10.3 5% 0.17% 78%
  6% 7% 22% Non-DUS - Total 14,365 $20.6 10% 0.34% 121% 22% 19% 32% Maturity Dates: Loans maturing in 2014
      1,504 $6.8 3% 0.25% -16% 12% 5% 11% Loans maturing in 2015 2,548 $12.8 6% 0.08% -2% 8% 6% 4% Loans
   maturing in 2016 2,652 $14.0 7% 0.07% 33% 12% 8% 14% Loans maturing in 2017 3,764 $18.4 9% 0.29% 81% 33%
 21% 12% Loans maturing in 2018 3,187 $17.9 9% 0.10% 1% 14% 21% 8% Other maturities 21,926 $129.1 65% 0.08%
  3% 22% 39% 51% Loan Size Distribution: Less than or equal to $750K 8,883 $2.6 1% 0.51% 13% 5% 5% 2% Greater
  than $750K and less than or equal to $3M 12,262 $18.4 9% 0.38% 62% 17% 16% 16% Greater than $3M and less than
or equal to $5M 4,522 $16.6 8% 0.21% 4% 12% 11% 17% Greater than $5M and less than or equal to $25M 8,559 $88.0
44% 0.10% -34% 55% 50% 48% Greater than $25M 1,355 $73.4 37% 55% 11% 18% 17% % of 2010 Multifamily Credit
   Losses % of 2011 Multifamily Credit Losses % of 2012 Multifamily Credit Losses As of December 31, 2013 Unpaid
     Principal Balance (Billions) % of Multifamily Guaranty Book of Business (UPB) % Seriously Delinquent (1) Loan
Counts % of 2013 Multifamily Credit Losses (2) (1) We classify multifamily loans as seriously delinquent when payment
 is 60 days or more past due. (2) Negative values are the result of recoveries on previously charged off amounts and may
also cause other percentages to be greater than 100%. (3) Weighted Average Origination loan-to-value ratio is 66% as of
 December 31, 2013. (4) Under the Delegated Underwriting and Servicing, or DUS ®, product line, Fannie Mae acquires
 individual, newly originated mortgages from specially approved DUS lenders using DUS underwriting standards and/or
 DUS loan documents. Because DUS lenders generally share the risk of loss with Fannie Mae, they are able to originate,
underwrite, close and service certain loans without our pre-review. (5) Multifamily loans with an original unpaid balance
   of up to $3 million nationwide or up to $5 million in high cost markets. Multifamily Credit Profile by Loan Attributes




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 111 ofPage
                                                                           179108




20 As of December 31, 2013 Unpaid Principal Balance (Billions) % of Multifamily Guaranty Book of Business (UPB) %
    Seriously Delinquent (1) # of Seriously Delinquent loans (1) % of 2013 Multifamily Credit Losses (2) % of 2012
     Multifamily Credit Losses (2) % of 2011 Multifamily Credit Losses % of 2010 Multifamily Credit Losses Total
 Multifamily Guaranty Book of Business $198.9 100% 0.10% 102 100% 100% 100% 100% By Acquisition Year: 2013
  $29.1 15% 2012 $33.0 17% 0% 2011 $22.5 11% -2% 0% 2010 $16.1 8% 0.02% 1 96% 0% 2009 $15.9 8% 0.02% 2 -
 27% 7% 6% 2% 2008 $19.7 10% 0.17% 21 -12% 23% 31% 17% 2007 $23.9 12% 0.31% 38 13% 48% 33% 38% 2006
  $13.8 7% 0.21% 13 45% 10% 7% 17% 2005 $10.0 5% 0.07% 4 10% 17% 3% 2% Prior to 2005 $15.0 8% 0.38% 23 -
23% -4% 20% 25% (1) We classify multifamily loans as seriously delinquent when payment is 60 days or more past due.
(2) Negative values are the result of recoveries on previously charged off amounts and may also cause other percentages
  to be greater than 100%. Multifamily Credit Profile by Acquisition Year Multifamily SDQ Rate by Acquisition Year
  Cumulative Defaults by Acquisition Year 2010 2009 0.00% 0.50% 1.00% 1.50% 2.00% 2.50% 3.00% Year 1 Year 2
 Year 3 Year 4 Year 5 Year 6 Year 7 Year 8 Year 9 Cu mu lat ive D ef au lt R ate 2005 2006 2007 2008 2009 2010 011
2012 2013 2005 2007 2008 2006 2012 2011 2013 2005 2006 2007 2008 2009 2011 2010 2012 .00% .20% 0.40% 0.60%
0.80% 1.00% 1.20% 1.40% 1.60% Year 1 Year 2 Year 3 Year 4 Year 5 Year 6 Year 7 Year 8 Year 9 SDQ (%) 20 5 2006
                                        2007 2008 2009 2010 2011 2012 2013 2013




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 112 ofPage
                                                                           179109




   21 Total Multifamily Guaranty Book of Business $198.9 100% 0.10% 100% 100% 100% 100% Region: (3) Midwest
  $17.5 9% 0.23% -38% 15% 23% 10% Northeast $39.7 20% 0.11% -8% 10% 3% 5% Southeast $42.9 21% 0.11% 12%
53% 42% 40% Southwest $37.5 19% 0.09% -32% 8% 26% 40% Western $61.3 31% 0.07% 166% 14% 6% 6% Top Five
  States by UPB: California $47.3 24% 0.05% 8% 1% 1% 2% New York $23.6 12% 0.08% 2% 3% 0% 1% Texas $19.5
   10% 0.05% -16% 2% 19% 12% Florida $10.6 5% 0.14% 23% 36% 10% 13% Washington $7.2 4% 0.06% 1% 0% 0%
        0% Asset Class: (4) Conventional/Co-op $177.6 89% 0.12% 99% 94% 96% 99% Seniors Housing $12.8 6%
Manufactured Housing $5.4 3% 0% 3% 0% 0% Student Housing $3.1 2% 1% 3% 4% 1% Targeted Affordable Segment:
    Privately Owned with Subsidy (5) $29.4 15% 0.06% -15% 3% 14% 6% DUS & Non-DUS Lenders/Servicers: DUS:
 Bank (Direct, Owned Entity, or Subsidiary) $70.4 35% 0.08% 7% 21% 29% 45% DUS: Non-Bank Financial Institution
  $118.2 59% 0.11% 79% 70% 68% 50% Non-DUS: Bank (Direct, Owned Entity, or Subsidiary) $9.0 5% 0.18% 4% 6%
1% 4% Non-DUS: Non-Bank Financial Institution $1.1 1% 0.19% 10% 2% 1% 1% Non-DUS: Public Agency/Non Profit
    $0.2 0% 0% 0% 0% 0% % of 2010 Multifamily Credit Losses As of December 31, 2013 % of Multifamily Guaranty
   Book of Business (UPB) % Seriously Delinquent (1) % of 2011 Multifamily Credit Losses Unpaid Principal Balance
   (Billions) % of 2012 Multifamily Credit Losses % of 2013 Multifamily Credit Losses (2) (1) We classify multifamily
 loans as seriously delinquent when payment is 60 days or more past due. (2) Negative values are the result of recoveries
on previously charged off amounts and may also cause other percentages to be greater than 100%. (3) For information on
       which states are included in each region, refer to footnote 9 to Table 39 in Fannie Mae’s 2013 Form 10-K. (4)
  Conventional Multifamily/Cooperative Housing/Affordable Housing: Conventional Multifamily is a loan secured by a
 residential property comprised of five or more dwellings which offers market rental rates (i.e., not subsidized or subject
  to rent restrictions). Cooperative Housing is a multifamily loan made to a cooperative housing corporation and secured
  by a first or subordinated lien on a cooperative multifamily housing project that contains five or more units. Affordable
   Housing is a multifamily loan on a mortgaged property encumbered by a regulatory agreement or recorded restriction
       that limits rents, imposes income restrictions on tenants or places other restrictions on the use of the property.
 Manufactured Housing Communities: A multifamily loan secured by a residential development that consists of sites for
  manufactured homes and includes utilities, roads and other infrastructure. In some cases, landscaping and various other
   amenities such as a clubhouse, swimming pool, and tennis and/or sports courts are also included. Seniors Housing: A
     multifamily loan secured by a mortgaged property that is intended to be used for residents for whom the owner or
operator provides special services that are typically associated with either“independent living” or “assisted living.” Some
   Alzheimer’s and skilled nursing capabilities are permitted. Dedicated Student Housing: Multifamily loans secured by




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         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 113 ofPage
                                                                          179110




  residential properties in which college or graduate students make up at least 80% of the tenants. Dormitories are not
included. (5) The Multifamily Affordable Business Channel focuses on financing properties that are under a regulatory
      agreement that provides long-term affordability, such as properties with rent subsidies or income restrictions.
                                                Multifamily Credit Profile




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          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 114 ofPage
                                                                           179111




  22 Multifamily 2013 Credit Losses by State ($ Millions)* Numbers: Represent 2013 credit losses for each state which
 totaled $52M as of December 31, 2013. States with no numbers had less than $500K in credit losses or less than $500K
    in credit-related income in 2013. Shading: Represent Unpaid Principal Balance (UPB) for each state which totaled
$198.9B as of December 31, 2013. Note: Negative values are the result of recoveries on previously charged-off amounts.
 Portfolio UPB Concentration by State as of 12/31/2013 Example: UPB in NY is $24B and 2013 Credit Losses are $1M
                       *Total state credit losses will not tie to total 2013 credit losses due to rounding.




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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 115 ofPage
                                                                 179112




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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 116 of 179




                  Exhibit B
                  Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 117 of 179




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       FORM 8-K
       FEDERAL HOME LOAN MORTGAGE CORP - N/A
       Filed: February 27, 2014 (period: February 27, 2014 )

       Report of unscheduled material events or corporate changes.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 118 of 179
                                                                                  UNITED STATES
                                                                      SECURITIES AND EXCHANGE COMMISSION
                                                                              WASHINGTON, D.C. 20549

                                                                                                    FORM 8-K

                                                                               CURRENT REPORT
                                                        Pursuant To Section 13 or 15(d) of the Securities Exchange Act of 1934

                                                              Date of Report (Date of earliest event reported): February 27, 2014

                                                                            Federal Home Loan Mortgage Corporation
                                                                       (Exact name of registrant as specified in its charter)

                                                                                                  Freddie Mac

                    Federally chartered                                                                001-34139                                                              XX-XXXXXXX
                         corporation
               (State or other jurisdiction of                                                       (Commission                                                           (IRS Employer
                       incorporation)                                                                File Number)                                                        Identification No.)

                                8200 Jones Branch Drive
                                    McLean, Virginia                                                                                                        22102-3110
                          (Address of principal executive offices)                                                                                          (Zip Code)

                                                              Registrant’s telephone number, including area code: (703) 903-2000


                                                                                                 Not applicable
                                                              (Former name or former address, if changed since last report)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions ( see General Instruction A.2. below):

¨ Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

¨ Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

¨ Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

¨ Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 119 of 179

Item 2.02. Results of Operations and Financial Condition.
On February 27, 2014, Freddie Mac (formally known as the Federal Home Loan Mortgage Corporation) announced its results of operations for the year ended
December 31, 2013. A copy of the related press release for the year ended December 31, 2013 is being filed as Exhibit 99.1 to this report and is incorporated
herein by reference. In addition, a copy of the Fourth Quarter 2013 Financial Results Supplement is being furnished as Exhibit 99.2 to this report and is
incorporated herein by reference.

Exhibit 99.1 submitted herewith shall be deemed to be “filed” for purposes of Section 18 of the Securities Exchange Act of 1934.

Exhibit 99.2 submitted herewith shall not be deemed to be “filed” for purposes of Section 18 of the Securities Exchange Act of 1934, or otherwise subject to
the liabilities of Section 18, nor shall it be deemed to be incorporated by reference into any disclosure document relating to Freddie Mac, except to the extent, if
any, expressly set forth by specific reference in such document.

Item 9.01. Financial Statements and Exhibits.

        (d) Exhibits.

The following exhibits are being filed or furnished as part of this Report on Form 8-K:

  Exhibit Number                Description of Exhibit
  99.1                          Press release, dated February 27, 2014, issued by Freddie Mac
  99.2                          Fourth Quarter 2013 Financial Results Supplement




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 120 of 179

                                                                                                  SIGNATURE

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the undersigned
hereunto duly authorized.

                                                                                                            FEDERAL HOME LOAN MORTGAGE CORPORATION

                                                                                                            By: /s/ James G. Mackey
                                                                                                                James G. Mackey
                                                                                                                   Executive Vice President — Chief Financial Officer

Date: February 27, 2014




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 121 of 179

                                                                                              EXHIBIT INDEX

  Exhibit Number                Description of Exhibit
  99.1                          Press release, dated February 27, 2014, issued by Freddie Mac
  99.2                          Fourth Quarter 2013 Financial Results Supplement




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 122 of 179
                                                                                                                                                                                                       Exhibit 99.1

                                                    News Release

                                                                                                                                                                       FOR IMMEDIATE RELEASE
                                                                                                                                                                               February 27, 2014
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                         FREDDIE MAC REPORTS NET INCOME OF $48.7 BILLION FOR FULL-YEAR 2013;
                                      COMPREHENSIVE INCOME OF $51.6 BILLION

    Full-Year and Fourth Quarter 2013 Financial Results
    — Full-year net income and comprehensive income totaled $48.7 billion and $51.6 billion, respectively
    — Fourth quarter net income and comprehensive income totaled $8.6 billion and $9.8 billion, respectively – the company’s ninth consecutive quarter of
            positive net income and comprehensive income
    — Financial results were positively impacted by the following significant items:
        Full-year tax benefit of $23.3 billion driven by release of deferred tax asset valuation allowance
        ¡
        Pre-tax benefit of legal settlements of $6.0 billion for fourth quarter and $7.7 billion for full year
        ¡
     ¡  Continued improvement in home prices which contributed to reduced loan loss provisioning
     ¡  Fair value gains on derivative portfolio and non-agency mortgage-related securities
    — Recent level of earnings is not sustainable over the long term
    Treasury Draws and Dividend Payments at December 31, 2013
    — Paid aggregate cash dividends of $71.345 billion to Treasury through December 31, 2013, exceeding cumulative cash draws of $71.336 billion
            received from Treasury
    — Based on December 31, 2013 net worth of $12.8 billion, the company’s March 2014 dividend obligation will be $10.4 billion, bringing total cash
      dividends paid to Treasury to $81.8 billion
    — Senior preferred stock held by Treasury remains $72.3 billion, as dividend payments do not reduce prior Treasury draws
    — The capital reserve amount used to calculate dividends under the Purchase Agreement decreased from $3.0 billion in 2013 to $2.4 billion for each
            quarterly payment in 2014

    Housing Market Support Since January 1, 2009
    — Provided $2.2 trillion of liquidity, including $453 billion in 2013, to the mortgage market, including:
     ¡  7.7 million refinancings, including nearly 1.6 million in 2013
     ¡  2.0 million home purchases, including over 515,000 in 2013
     ¡  1.6 million units of multifamily rental housing, including nearly 388,000 in 2013
    — Helped approximately 953,000 borrowers to avoid foreclosure, including nearly 168,000 in 2013
    Credit Quality at December 31, 2013
    — Post-2008 book of business grew to 54 percent of single-family credit guarantee portfolio in 2013, excluding HARP and other relief refinance loans
            which grew to 21 percent
    — Delinquency rates remained below industry benchmarks:
        ¡     Single-family serious delinquency rate declined to 2.39 percent
        ¡     Multifamily delinquency rate was 0.09 percent




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 123 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 2

McLean, VA — Freddie Mac (OTCQB: FMCC) today reported net income of $8.6 billion for the fourth quarter of 2013, compared to $30.5 billion for the
third quarter of 2013. The company also reported comprehensive income of $9.8 billion for the fourth quarter of 2013, compared to $30.4 billion for the third
quarter of 2013. For the full-year 2013, Freddie Mac’s net income was $48.7 billion and comprehensive income was $51.6 billion, compared to net income of
$11.0 billion and comprehensive income of $16.0 billion for the full-year 2012. As discussed below, 2013 financial results were positively impacted by
release of the deferred tax asset valuation allowance, the benefit of various legal settlements, reduced loan loss provisioning and fair value gains on the
company’s derivative portfolio and non-agency mortgage-related securities.

                                                                                     Summary Financial Results (1)

                                                                                                                                                    Three Months Ended                            Full-Year
($ Billions)                                                                                                                                       9/30/13     12/31/13                       2012        2013
 1      Net interest income                                                                                                                       $     4.3   $       3.8                    $17.6       $16.5
 2      (Provision) benefit for credit losses                                                                                                           1.1           0.2                      (1.9)         2.5
 3      Derivative gains (losses)                                                                                                                      (0.1)          1.0                       (2.4)        2.6
 4      Net impairment                                                                                                                                 (0.1)         (1.3)                     (2.2)       (1.5)
 5      Other non-interest income                                                                                                                        1.9                    6.1              0.5         7.4
 6      Non-interest expense                                                                                                                            (0.6)                   (0.4)          (2.2)        (2.1)
 7      Pre-tax income                                                                                                                            $      6.5          $          9.3         $ 9.4       $ 25.4
 8      Income tax benefit (expense)                                                                                                                    24.0                    (0.7)           1.5        23.3
 9      Net income                                                                                                                                $     30.5          $          8.6         $ 11.0      $ 48.7
10      Total other comprehensive income (loss)                                                                                                          (0.0)                   1.2            5.1          2.9
11 Comprehensive income                                                                                                                           $     30.4          $          9.8         $ 16.0      $ 51.6
(1)   Columns may not add due to rounding. See “Appendix—Financial Results Discussion” section for additional information about the company’s financial results for the fourth
      quarter and full-year 2013.

Pre-Tax Income – Freddie Mac’s pre-tax income was $9.3 billion for the fourth quarter of 2013, compared to $6.5 billion for the third quarter of 2013. The
increase primarily reflects higher other non-interest income driven by higher private label securities (PLS) litigation settlement proceeds, as well as a shift from
derivative losses in the third quarter to derivative gains in the fourth quarter. These favorable impacts were partially offset by higher net impairment expense
and a lower benefit for credit losses.

Pre-tax income for the full-year 2013 was $25.4 billion, compared to $9.4 billion for the full-year 2012. The increase primarily reflects higher other non-
interest income driven by settlement proceeds related to PLS litigation, a shift from a provision for credit losses in 2012 to a benefit for credit losses in 2013,
and a shift from derivative losses in 2012 to derivative gains in 2013.

Derivatives are used to reduce Freddie Mac’s exposure to interest-rate risk but they could increase the volatility of earnings because fair value changes on the
company’s derivative portfolio are included in earnings, while fair value changes associated with several of the types of assets and liabilities being hedged are
not.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 124 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 3

Net Income – Freddie Mac’s net income was $8.6 billion for the fourth quarter of 2013, compared to $30.5 billion for the third quarter of 2013. Third quarter
results included an income tax benefit of $23.9 billion that resulted from the release of the deferred tax asset valuation allowance.

Net income for the full-year 2013 was $48.7 billion, compared to $11.0 billion for the full-year 2012. Full-year 2013 results reflect an income tax benefit of
$23.3 billion that primarily resulted from the release of the deferred tax asset valuation allowance in the third quarter.

Comprehensive Income – Freddie Mac’s comprehensive income was $9.8 billion for the fourth quarter of 2013, compared to $30.4 billion for the third
quarter of 2013. The decrease was primarily driven by higher quarterly net income in the third quarter due to the release of the deferred tax asset valuation
allowance.

Comprehensive income for the full-year 2013 was $51.6 billion, compared to $16.0 billion for the full-year 2012. The increase was mostly driven by higher
net income in 2013.

Legal Settlements – During 2013, Freddie Mac and the Federal Housing Finance Agency (FHFA) reached agreements with a number of institutions to settle
litigation related to Freddie Mac’s investment in certain PLS. These settlements contributed $4.8 billion and $5.5 billion to Freddie Mac’s pre-tax income in the
fourth quarter and full-year 2013, respectively. Additionally, Freddie Mac entered into agreements with a number of its sellers to resolve certain representation
and warranty claims (substantially all of which related to pre-conservatorship loan origination activity) in exchange for one-time cash payments. These
payments contributed $0.8 billion and $1.8 billion to the company’s pre-tax income in the fourth quarter and full-year 2013, respectively.

In February 2014, Freddie Mac and Lehman Brothers (Lehman) entered into a settlement under which Freddie Mac will receive $767 million to resolve claims
related to Lehman’s bankruptcy. Freddie Mac recognized $350 million in pre-tax income for 2013 related to this settlement.

In addition, in February 2014, Freddie Mac and FHFA entered into an agreement with Morgan Stanley to settle litigation related to Freddie Mac’s investment in
certain PLS. Under the agreement, Freddie Mac was paid $625 million, which will be reflected in the company’s financial results for the first quarter of 2014.

Sustainability of Earnings – The level of earnings Freddie Mac has experienced in recent periods is not sustainable over the long term. Freddie Mac’s recent
financial results, particularly the level of loan loss provisioning, have benefited significantly from strong home-price appreciation, which is beginning to
moderate. Recent financial results have also included significant benefits related to the release of the deferred tax asset valuation allowance, as well as legal
settlements of both PLS litigation and representation and warranty claims. Freddie Mac’s settlements of representation and warranty claims related to pre-
conservatorship loan originations are largely complete while PLS litigation is ongoing and additional settlements are expected in 2014. In addition, declines in
the size of the company’s mortgage-related investments portfolio, as required by FHFA and the Purchase Agreement with Treasury, will reduce earnings over
time. The company’s financial results will also continue to be affected by changes in interest rates, the yield curve, and mortgage spreads, which can cause
significant earnings and net worth variability from period to period.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 125 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 4

                                                                               About Freddie Mac’s Conservatorship

Purchase Agreement with Treasury – Freddie Mac has been operating under conservatorship, with FHFA as Conservator, since September 6, 2008. The
support provided by Treasury pursuant to the Purchase Agreement enables the company to maintain access to the debt markets and have adequate liquidity to
conduct its normal business operations. Based on Freddie Mac’s net worth of $12.8 billion at December 31, 2013, less the 2014 capital reserve amount of
$2.4 billion, the company’s dividend obligation to Treasury in March 2014 will be $10.4 billion. Including the March 2014 dividend obligation, Freddie
Mac’s aggregate cash dividends paid to Treasury will total $81.8 billion, versus cumulative cash draws of $71.3 billion received from Treasury through
December 31, 2013. Under the Purchase Agreement, the payment of dividends cannot be used to reduce prior Treasury draws. Accordingly, Treasury still
maintains a liquidation preference of $72.3 billion on the company’s senior preferred stock as of December 31, 2013.

Treasury Draws and Dividend Payments




(1)   The initial $1 billion liquidation preference of senior preferred stock was issued to Treasury in September 2008 as consideration for Treasury’s funding commitment. The
      company received no cash proceeds as a result of issuing this initial $1 billion liquidation preference of senior preferred stock.
(2)   Amounts may not add due to rounding.

In August 2012, the terms governing the company’s dividend obligations on the senior preferred stock were amended. The amended Purchase Agreement does
not allow the company to build a capital reserve over the long term. Beginning in 2013, the required senior preferred stock dividends each quarter equal the
amount, if any, by which the company’s net worth as of the end of the preceding quarter exceeds an applicable capital reserve amount. The applicable capital
reserve amount was $3 billion for 2013, is $2.4 billion for 2014, and will be reduced by $600 million each year thereafter until it reaches zero on January 1,
2018.

The amount of remaining funding available to Freddie Mac under the Purchase Agreement with Treasury is currently $140.5 billion, and will be reduced by
any future draws.

Freddie Mac is not permitted to redeem the senior preferred stock prior to the termination of Treasury’s funding commitment under the Purchase Agreement.
The limited circumstances under which Treasury’s funding commitment will terminate are described in “BUSINESS — Conservatorship and Related
Matters — Treasury Agreements” in the company’s Annual Report on Form 10-K for the year ended December 31, 2013.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 126 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 5

Remittance of Guarantee Fees to Treasury – In September 2012, Freddie Mac began remitting proceeds to Treasury from the 10 basis point guarantee fee
increase required by the Temporary Payroll Tax Cut Continuation Act of 2011. The expense related to this increase totaled $533 million in 2013 and $108
million in 2012.

                                                                                         Housing Market Support

Freddie Mac continues to support the U.S. housing market by ensuring credit availability for new and refinanced mortgages as well as rental housing. The
company also continues helping struggling homeowners avoid foreclosure and stabilizing communities nationwide. Since the beginning of 2009, Freddie Mac
has helped 11.3 million American families own or rent a home (including nearly 2.5 million relief refinance borrowers) and another 953,000 families avoid
foreclosure. At the same time, the company is working with FHFA, its customers and the industry to build a stronger housing finance system for the nation.

Number of Families Helped
                                                                                                                                                                                                    Cumulative
                                                                                                                                      2009         2010         2011        2012        2013
(Thousands)                                                                                                                                                                                           Total
 1 Number of families helped to own or rent a home                                                                                     2,480       2,089        1,830       2,472        2,458          11,329
 2   Relief refinance borrowers (includes HARP) (1)                                                                                     169          533          453         687          611           2,453
 3   Other refinance borrowers(1)                                                                                                     1,595          947          740         996          944           5,222
 4   Purchase borrowers(1)                                                                                                              460          378          326         353          515           2,032
 5   Multifamily rental units                                                                                                           256          231          311         436          388           1,622
 6 Number of single families helped to avoid foreclosure (2)                                                                            133           275         208          169         168                    953
 7   Loan modifications                                                                                                                  65          170          109           70           83                 497
 8   Repayment plans                                                                                                                     34           31           33           33           29                 160
 9   Forbearance agreements                                                                                                              15           35           20           13           12                  95
10   Short sales & deed-in-lieu of foreclosure transactions                                                                              19           39           46           53           44                 201
11 Total (lines 1+6)                                                                                                                  2,613        2,364        2,038       2,641        2,626               12,282
(1)   For the periods presented, a borrower may be counted more than once if the company purchased more than one loan (purchase or refinance mortgage) relating to the same
      borrower.
(2)   These categories are not mutually exclusive and a borrower in one category may also be included within another category in the same period. For the periods presented, a
      borrower may subsequently go into foreclosure.

Providing Liquidity – Freddie Mac continues to provide access to financing for new and refinanced mortgages and rental housing. Since the beginning of
2009, the company has provided $2.2 trillion in liquidity to the market through its purchases of loans and issuances of mortgage-related securities, including
$453 billion during 2013.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 127 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 6

Market Liquidity Provided (1)

                                                                                                                                                                                                    Cumulative
                                                                                                                                   2009         2010         2011         2012         2013
($ Billions)                                                                                                                                                                                          Total
1      Single-family purchases or issuances (1)                                                                                    $ 483        $ 390        $321         $ 427        $ 423        $     2,044
2        Relief refinance mortgages (includes HARP)                                                                                   35         106            82         123            99               445
3        Other refinance mortgages                                                                                                  345          200          168          228          210              1,151
4        Purchase mortgages                                                                                                           94           78           71           76          114               433
5         Other(2)                                                                                                                     9            6            -            -            -                 15
6      Multifamily loan purchases or guarantees (1)(3)                                                                             $ 17         $ 16         $ 20         $ 29         $ 26         $       108
7      Other(4)                                                                                                                    $ 46         $ -          $ 8          $ -          $ 4          $        58
8      Total (lines 1+6+7)                                                                                                         $ 546        $ 406        $ 349        $ 456        $ 453        $    2,210
(1)   Based on unpaid principal balance (UPB) and includes other guarantee commitments.
(2)   Includes Ginnie Mae Certificates, HFA initiative-related guarantees, and Other Guarantee Transactions.
(3)   In the first quarter of 2013, Freddie Mac made certain changes to more closely align the presentation of the company’s single-family and multifamily securitization activities. As
      a result, Multifamily issuances of K-deals are no longer included in line 6. All periods presented above have been revised.
(4)   Consists of non-Freddie Mac mortgage-related securities purchased for the company’s mortgage-related investments portfolio.

Enabling Refinance Activity – Through purchasing refinance mortgages, Freddie Mac helps borrowers lower their payments and/or improve their mortgage
terms. Refinance purchases of $309 billion accounted for 73 percent of the company’s single-family mortgage purchase volume during 2013, down from 82
percent in 2012, as long-term mortgage rates increased during much of 2013. The company estimates that the homeowners who refinanced during 2013 will
reduce their mortgage interest payments by an average of $3,600 during the first 12 months. Since the beginning of 2009, the company has purchased or
guaranteed $1.6 trillion of refinance mortgages, helping nearly 7.7 million homeowners.

Freddie Mac’s relief refinance initiative continues to help borrowers who are making timely mortgage payments but have been unable to refinance due to
declining property values. A portion of the relief refinance initiative is targeted at borrowers with current loan-to-value (LTV) ratios above 80 percent and
represents the company’s implementation of the Home Affordable Refinance Program (HARP). During 2013, Freddie Mac purchased approximately $63
billion of HARP loans. This figure represents approximately 340,000 HARP loans which enabled homeowners to reduce their mortgage interest payments by an
average of $4,100 during the first 12 months. Freddie Mac has purchased nearly 1.3 million HARP loans since the program’s debut in 2009.

Preventing Foreclosures – Freddie Mac helps struggling borrowers retain their homes or otherwise avoid foreclosure. During 2013, the company completed
approximately 168,000 single-family loan workouts, including over 83,000 loan modifications. This brings the total number of homeowners the company has
helped to avoid foreclosure to approximately 953,000 since the beginning of 2009.

In addition, when foreclosure is unavoidable, Freddie Mac has further helped to stabilize communities by focusing its real estate owned (REO) home sales on
owner-occupants, who have made up approximately two–thirds of its purchasers since the beginning of 2009, and by promoting industry-leading standards
for property preservation.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 128 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 7

Building a Stronger Mortgage Market – Working with FHFA and the industry, Freddie Mac continues to devote resources to help develop a stronger, more
efficient mortgage market. For example, in 2013, the company made progress on several initiatives supporting the Uniform Mortgage Data Program, which is
designed to capture consistent and accurate mortgage data, create efficiencies for all market participants and allow better assessment of mortgage risk.
Specifically, Freddie Mac introduced enhancements to the Uniform Loan Delivery Dataset, the Uniform Appraisal Dataset and the Uniform Collateral Data
Portal. The company also introduced a new representation and warranty framework, as well as better tools for its customers to use to improve loan quality.
Taken together, these actions are strengthening the mortgage market and increasing access to affordable mortgages for borrowers nationwide.

Reducing Taxpayer Exposure – In order to reduce taxpayer exposure to mortgage credit risk, the company led the market in introducing new mortgage credit
risk sharing initiatives in 2013. This included the issuance of $1.1 billion of Structured Agency Credit Risk (STACR) debt notes and a $77 million credit
insurance transaction. In these transactions, Freddie Mac transferred a substantial portion of the second loss risk on mortgages with aggregate UPB totaling
nearly $58 billion to private investors. The company believes approximately $45 billion of this UPB qualified toward the 2013 Conservatorship Scorecard
goal related to single-family risk transfer. In addition, Freddie Mac sold a record $28 billion in multifamily K-deal securities in 2013, bringing total
multifamily securitization volume to date to $71.5 billion. Freddie Mac is securitizing approximately 95 percent of its multifamily loan purchases through K-
deals, allowing the company to shift the first loss risk to private investors. The company also helped preserve taxpayer value through the securitization of
modified loans, a program begun in 2013.

                                                                                                 Credit Quality

New Single-Family Book – At December 31, 2013, the company’s new single-family book (loans acquired after 2008, excluding HARP and other relief
refinance mortgages) accounted for 54 percent of the UPB of Freddie Mac’s single-family credit guarantee portfolio. Since 2008, Freddie Mac has enhanced its
credit and underwriting policies, mortgage lenders have delivered fewer loans with higher-risk characteristics, and overall the company has seen positive
changes in the underwriting practices of lenders and mortgage insurers. These factors have contributed to the improved credit quality of the company’s new
single-family book, including low delinquency rates and credit losses.

Single-Family Credit Guarantee Portfolio – Concentration of Credit Risk

                                                                                                                 As of 12/31/2013                                                              Full-Year 2013
                                                                                                                             Serious Delinquency
                                                                                                  % of Portfolio                                                                           % of Credit Losses
                                                                                                                                     Rate
New single-family book (1)                                                                            54%                          0.24%                                                              3%
HARP and other relief refinance loans                                                                  21                           0.64%                                                               7
2005-2008 legacy single-family book                                                                    16                           8.77%                                                              81
Pre-2005 legacy single-family book                                                                      9                           3.24%                                                              9
Total                                                                                                100%                          2.39%                                                             100%
(1)   Loans acquired after 2008. Excludes HARP and other relief refinance loans.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 129 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 8

HARP and Other Relief Refinance Loans – HARP and other relief refinance loans represented 21 percent of the single-family credit guarantee portfolio at
December 31, 2013. HARP loans generally reflect many of the credit risk attributes of the original loans, particularly LTV ratios, and thus generally present
higher risk to the company than other refinance loans the company has purchased since 2009. However, in many cases, the borrowers’ payments are reduced
through HARP refinancing, thereby strengthening the borrowers’ potential to make their mortgage payments.

2005-2008 Legacy Single-Family Book – Freddie Mac’s 2005-2008 legacy single-family book continues to represent a declining portion of the company’s
single-family credit guarantee portfolio. At December 31, 2013 and 2012, the 2005-2008 legacy single-family book represented 16 percent and 24 percent of the
company’s single-family credit guarantee portfolio (based on UPB), respectively, but accounted for 81 percent and 87 percent of the company’s single-family
credit losses in 2013 and 2012, respectively. The gradual reduction of Freddie Mac’s 2005-2008 legacy single-family book has positively impacted the
payment performance of its overall single-family credit guarantee portfolio.

Single-Family Credit Guarantee Portfolio Purchases – LTV Ratios and Credit Scores

                                                                                                                                                             2009         2010         2011         2012         2013
Weighted Average Original LTV Ratio:
Relief refinance (includes HARP)                                                                                                                              80%         77%          77%          97%          91%
All other                                                                                                                                                    66%          67%          67%          68%          71%
   Total purchases                                                                                                                                           67%          70%          70%          76%          75%
Weighted Average Credit Score:
Relief refinance (includes HARP)                                                                                                                              738          747          744          740          727
All other                                                                                                                                                     757          758          759          762          756
   Total purchases                                                                                                                                            756          755          755          756          749

Total single-family loans (including relief refinance loans) purchased by Freddie Mac in 2013 had a weighted average original LTV ratio of 75 percent and a
weighted average FICO score of 749. The company’s 2012 and 2013 LTV ratios and FICO scores reflect increased purchases of HARP loans, which were
driven by FHFA-directed enhancements made in 2012 that expanded eligibility to refinance borrowers whose mortgages have LTV ratios above 125 percent.

Single-family serious delinquency rate was 2.39 percent at December 31, 2013, compared to 2.58 percent at September 30, 2013, and 3.25 percent at
December 31, 2012. The company’s single-family serious delinquency rate is substantially below the rate for the entire U.S. mortgage market. According to the
Mortgage Bankers Association’s National Delinquency Survey, the serious delinquency rate on first-lien single-family loans in the U.S. mortgage market was
5.41 percent at December 31, 2013. Freddie Mac’s delinquency rates continue to be affected by delays, including those due to increases in foreclosure process
timeframes, general constraints on servicer capacity and court backlogs (in states that require judicial foreclosure process).




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 130 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 9

Multifamily delinquency rate (based on loans 60 days or more past due or in the process of foreclosure) was 0.09 percent at December 31, 2013, compared
to 0.05 percent at September 30, 2013, and 0.19 percent at December 31, 2012, reflecting continued strong multifamily portfolio performance.

                                                                                           Additional Information

For more information, including that related to Freddie Mac’s financial results, conservatorship and related matters, see the company’s Annual Report on Form
10-K for the year ended December 31, 2013, and the company’s Consolidated Financial Statements and Financial Results Supplement. These documents are
available on the Investor Relations page of the company’s Web site at www.FreddieMac.com/investors.

Additional information about Freddie Mac and its business is also set forth in the company’s filings with the SEC, which are available on the Investor
Relations page of the company’s Web site at www.FreddieMac.com/investors and the SEC’s Web site at www.sec.gov. Freddie Mac encourages all investors
and interested members of the public to review these materials for a more complete understanding of the company’s financial results and related disclosures.

                                                                                                       ****
This press release contains forward-looking statements, which may include statements pertaining to the conservatorship, the company’s current expectations
and objectives for its single-family, multifamily and investment businesses, its loan workout initiatives and other efforts, and other programs to assist the
U.S. residential mortgage market, liquidity, capital management, economic and market conditions and trends, market share, the effect of legislative and
regulatory developments, and new accounting guidance, credit quality of loans the company owns or guarantees, and results of operations and financial
condition on a GAAP, Segment Earnings and fair value basis. Forward-looking statements involve known and unknown risks and uncertainties, some of
which are beyond the company’s control. Management’s expectations for the company’s future necessarily involve a number of assumptions, judgments and
estimates, and various factors, including changes in market conditions, liquidity, mortgage spreads, credit outlook, actions by the U.S. government
(including FHFA, Treasury and Congress), and the impacts of legislation or regulations and new or amended accounting guidance, could cause actual results
to differ materially from these expectations. These assumptions, judgments, estimates and factors are discussed in the company’s Annual Report on Form 10-
K for the year ended December 31, 2013, which is available on the Investor Relations page of the company’s Web site at www.FreddieMac.com/investors and
the SEC’s Web site at www.sec.gov. The company undertakes no obligation to update forward-looking statements it makes to reflect events or circumstances
after the date of this press release.

Freddie Mac was established by Congress in 1970 to provide liquidity, stability and affordability to the nation’s residential mortgage markets. Freddie Mac
supports communities across the nation by providing mortgage capital to lenders. Today Freddie Mac is making home possible for one in four home borrowers
and is one of the largest sources of financing for multifamily housing. For more information, visit www.FreddieMac.com.

                                                                                                        ###




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 131 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 10

                                                                              Appendix - Financial Results Discussion

Summary Consolidated Statements of Comprehensive Income (1)

                                                                                                                                                    Three Months Ended                            Full-Year
($ Billions)                                                                                                                                       9/30/13     12/31/13                       2012        2013
1       Net interest income                                                                                                                       $     4.3   $       3.8                    $17.6       $16.5
2       (Provision) benefit for credit losses                                                                                                           1.1           0.2                      (1.9)         2.5
3         Derivative gains (losses)                                                                                                                    (0.1)          1.0                       (2.4)        2.6
4         Net impairments of AFS securities recognized in earnings                                                                                     (0.1)         (1.3)                     (2.2)       (1.5)
5         Other non-interest income                                                                                                                      1.9                    6.1              0.5          7.4
6       Non-interest income (loss)                                                                                                                       1.7                    5.8             (4.1)        8.5
7         Administrative expenses                                                                                                                       (0.5)                   (0.5)          (1.6)        (1.8)
8         REO operations income (expense)                                                                                                                0.1                    (0.0)           (0.1)         0.1
9         Other non-interest expense                                                                                                                     (0.2)                   0.1           (0.6)         (0.4)
10      Non-interest expense                                                                                                                            (0.6)                   (0.4)          (2.2)        (2.1)
11      Pre-tax income                                                                                                                                   6.5                     9.3             9.4       25.4
12      Income tax benefit (expense)                                                                                                                    24.0                    (0.7)           1.5        23.3
13      Net income                                                                                                                                $     30.5          $          8.6         $ 11.0      $ 48.7
14      Total other comprehensive income (loss)                                                                                                          (0.0)                   1.2            5.1          2.9
15      Comprehensive income                                                                                                                      $     30.4          $          9.8         $ 16.0      $ 51.6
(1)   Columns may not add due to rounding.

Net interest income was $3.8 billion for the fourth quarter of 2013, compared to $4.3 billion for the third quarter of 2013. Net interest yield was 76 basis
points for the fourth quarter of 2013, compared to 86 basis points for the third quarter of 2013. The decreases in both net interest income and net interest yield
primarily reflect a decline in the balance of higher-yielding mortgage-related assets due to continued liquidations and lower amortization income related to
consolidated trusts.

Net interest income for the full-year 2013 was $16.5 billion, compared to $17.6 billion for the full-year 2012. Net interest yield for the full-year 2013 was 82
basis points, compared to 84 basis points for the full-year 2012. The decreases in both net interest income and net interest yield were primarily driven by a
decline in the balance of higher-yielding mortgage-related assets due to continued liquidations, partially offset by lower funding costs.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 132 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 11




(Provision) benefit for credit losses was a benefit of $201 million for the fourth quarter of 2013, compared to a benefit of $1.1 billion for the third quarter of
2013. The benefit for credit losses in the third and fourth quarters of 2013 was driven by $0.9 billion and $0.8 billion of recoveries from settlements of
representation and warranty claims, respectively. Moderation in home-price growth during the fourth quarter led to a smaller benefit for credit losses compared
to the third quarter.

(Provision) benefit for credit losses was a benefit of $2.5 billion for the full-year 2013, compared to provision expense of $1.9 billion for the full-year 2012.
The improvement reflects a decrease in the volume of newly delinquent loans, increases in national home prices, and approximately $1.7 billion in recoveries
from representation and warranty settlements during 2013.




The company’s loan loss reserve balance is increased by a provision for credit losses (and decreased by a benefit for credit losses) and reduced by charge-offs.
Freddie Mac’s loan loss reserves were $24.7 billion as of December 31, 2013, compared to $25.0 billion as of September 30, 2013 and $30.9 billion at
December 31, 2012.

Derivative gains (losses) was a gain of $1.0 billion for the fourth quarter of 2013, compared to a loss of $74 million for the third quarter of 2013. The
improvement was attributable to higher fair value gains on the net pay-fixed swap portfolio due to an increase in longer-term interest rates.

Derivative gains (losses) was a gain of $2.6 billion for the full-year 2013, compared to a loss of $2.4 billion for the full-year 2012. The improvement was
primarily due to an increase in longer-term interest rates during 2013, compared to a decrease in longer-term interest rates during 2012, coupled with a change
in the mix of the company’s derivative portfolio.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 133 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 12




Net impairment of AFS securities recognized in earnings was $1.3 billion for the fourth quarter of 2013, compared to $126 million for the third quarter of
2013. The increase was primarily due to the fourth quarter implementation of enhanced model assumptions used to project cash flows on certain modified
loans collateralizing non-agency mortgage-related securities.

Net impairment of available-for-sale securities (AFS) securities recognized in earnings was $1.5 billion for the full-year 2013, compared to $2.2 billion for the
full-year 2012. The decrease was driven by improvements in forecasted home prices over the expected life of the company’s AFS securities during 2013.




Other non-interest income was $6.1 billion for the fourth quarter of 2013, compared to $1.9 billion for the third quarter of 2013. The increase was mostly
driven by a $4.3 billion increase in settlement proceeds related to PLS litigation in the fourth quarter.

Other non-interest income for the full-year 2013 was $7.4 billion, compared to $0.5 billion for the full-year 2012. The increase primarily reflects settlement
proceeds of $5.5 billion related to PLS litigation during 2013.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 134 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 13




Non-interest expense was $390 million for the fourth quarter of 2013, compared to $577 million for the third quarter of 2013. The decrease was primarily
driven by the Lehman bankruptcy settlement, partially offset by higher REO holding period write-downs and lower disposition gains during the fourth
quarter.

Non-interest expense for the full-year 2013 was $2.1 billion, compared to $2.2 billion for the full-year 2012. The decrease was mostly due to the Lehman
bankruptcy settlement and a shift to REO operations income, partially offset by higher expense related to the legislated 10 basis point increase in guarantee
fees.




Income tax benefit (expense) was an expense of $731 million for the fourth quarter of 2013, compared to a benefit of $24.0 billion for the third quarter of
2013. Income tax benefit for the full-year 2013 was $23.3 billion, compared to $1.5 billion for the full-year 2012. The third quarter and full-year 2013 results
were primarily driven by the release of the deferred tax asset valuation allowance.

Total other comprehensive income (loss) was income of $1.2 billion for the fourth quarter of 2013, compared to a loss of $49 million for the third quarter of
2013. The shift from total other comprehensive loss in the third quarter to total other comprehensive income in the fourth quarter reflects improved fair values
on non-agency AFS securities due to spread tightening, as well as the recognition in earnings of other-than-temporary impairments on the company’s non-
agency mortgage-related securities in the fourth quarter.

Total other comprehensive income for the full-year 2013 was $2.9 billion, compared to $5.1 billion for the full-year 2012. The decrease reflects the
unfavorable impact of higher interest rates, partially offset by higher fair value gains due to spread tightening on non-agency securities.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 135 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 14

The fair value of Freddie Mac’s AFS securities may fluctuate considerably from period to period due to changes in interest rates and mortgage spreads, which
can lead to variability in the company’s comprehensive income results.




Segment Financial Results – Freddie Mac’s operations consist of three reportable segments, which are based on the type of business activities each performs
— Single-family Guarantee, Investments and Multifamily. Certain activities that are not part of a reportable segment are included in the All Other category. For
the third quarter and full-year 2013, the All Other category primarily includes the impact of releasing the valuation allowance against net deferred tax assets.

Summary of Segment Earnings (Loss) and Comprehensive Income (Loss) (1)

                                                                                                                                                     Three Months Ended                          Full-Year
($ Billions)                                                                                                                                        9/30/13     12/31/13                      2012      2013
        Segment Earnings (loss), net of taxes
 1        Single-family Guarantee                                                                                                                  $       2.0         $          1.3         $ (0.2)         $ 5.8
 2        Investments                                                                                                                                      3.7                   6.8             8.2           16.6
 3        Multifamily                                                                                                                                      0.8                   0.6             2.1              2.4
 4        All Other                                                                                                                                      23.9                    (0.0)            0.8           23.9
5        Total Segment Earnings (loss), net of taxes                                                                                               $     30.5          $          8.6         $ 11.0          $ 48.7
         Comprehensive income (loss) of segments
6          Single-family Guarantee                                                                                                                 $       2.0         $          1.3         $ (0.2)         $ 5.8
7          Investments                                                                                                                                     4.3                    8.3          11.4              20.3
8          Multifamily                                                                                                                                     0.2                    0.2            4.1              1.5
9          All Other                                                                                                                                     23.9                     0.1            0.8             24.0
10       Comprehensive income (loss) of segments                                                                                                   $     30.4          $          9.8         $ 16.0          $ 51.6
(1)   Columns may not add due to rounding.

Single-family Guarantee segment earnings were $1.3 billion for the fourth quarter of 2013, compared to $2.0 billion for the third quarter of 2013. The decrease
primarily reflects a reduction in the benefit for credit losses since the third quarter due to moderation in home price growth in the fourth quarter.
Comprehensive income for




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 136 of 179

Freddie Mac Fourth Quarter 2013 Financial Results
February 27, 2014
Page 15

the Single-family Guarantee segment approximated segment earnings for both the third and fourth quarter of 2013.

Single-family Guarantee segment earnings were $5.8 billion for the full-year 2013, compared to a loss of $164 million for the full-year 2012. The
improvement was primarily driven by a shift to a benefit for credit losses during 2013 from a provision for credit losses during 2012, due mostly to a decrease
in the volume of newly delinquent loans, continued increases in home prices and representation and warranty settlements in 2013. Comprehensive income for
the Single-family Guarantee segment approximated segment earnings (loss) for both full-year 2012 and 2013.

Investments segment earnings were $6.8 billion for the fourth quarter of 2013, compared to $3.7 billion for the third quarter of 2013. The increase was mostly
driven by higher settlement proceeds related to PLS litigation and higher derivative gains, partially offset by higher net impairment expense. Comprehensive
income for the Investments segment was $8.3 billion for the fourth quarter of 2013, compared to $4.3 billion for the third quarter of 2013. The increase reflects
higher segment earnings and improved fair values on non-agency AFS securities due to spread tightening.

Investments segment earnings were $16.6 billion for the full-year 2013, compared to $8.2 billion for the full-year 2012. The increase was primarily
attributable to settlement proceeds related to PLS litigation and higher derivative gains, partially offset by lower net interest income. Comprehensive income for
the Investments segment was $20.3 billion for the full-year 2013, compared to $11.4 billion for the full-year 2012. The increase reflects higher segment
earnings and improved fair values on non-agency AFS securities due to spread tightening.

Multifamily segment earnings were $556 million for the fourth quarter of 2013, compared to $844 million for the third quarter of 2013. The decrease
primarily reflects lower volume of sales of both AFS securities and mortgage loans. Comprehensive income for the Multifamily segment was relatively
unchanged at $164 million for the fourth quarter of 2013, compared to $155 million for the third quarter of 2013.

Multifamily segment earnings were $2.4 billion for the full-year 2013, compared to $2.1 billion for the full-year 2012. The increase was primarily attributable
to higher gains on the sale of AFS securities, partially offset by lower gains on mortgage loans. Comprehensive income for the Multifamily segment was $1.5
billion for the full-year 2013, compared to $4.1 billion for the full-year 2012. The decrease reflects the favorable impact of spread tightening on commercial
mortgage-backed securities (CMBS) during 2012 and the reversal of unrealized gains associated with CMBS that were sold during 2013.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 137 of 179

                                                                                                                                                                                     Exhibit 99.2




                                                                            Fourth Quarter 2013
                                                                            Financial Results
                                                                            Supplement

                                                                            February 27, 2014




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 138 of 179



  Table of contents
       Business Results                                                                                    Credit Supplement

       3 - Quarterly Financial Results                                                                  21 -    National Home Prices

       4 - Annual Financial Results                                                                     22 -    State-by-State Home Prices: June 2006 to December 2013

       5 - Comprehensive Income                                                                         23 -    State-by-State Home Prices: December 2012 to December 2013

       6 - Senior Preferred Stock Purchase Agreement with Treasury                                      24 -    Mortgage Market and Freddie Mac Serious Delinquency Rates
                                                                                                                Loan Purpose of Single-Family Credit Guarantee Portfolio
       7 - Treasury Draw Requests and Dividend Payments                                                 25 -
                                                                                                                Purchases
       8 - Total Equity and Senior Preferred Stock Activity                                             26 -    Credit Quality of Single-Family Credit Guarantee Portfolio Purchases

       9 - Single-Family Guarantee Fees Charged on New Acquisitions                                     27 -    Single-Family 4Q 2013 Credit Losses and REO by Region and State

     10 -   Loan Loss Reserves                                                                          28 - Single-Family Serious Delinquency Rates by State and Region
                                                                                                                Aging of Single-Family Seriously Delinquent Loans by Judicial and
     11 -   Real Estate Owned                                                                           29 -
                                                                                                                Non-Judicial States

     12 -   Market Liquidity Provided                                                                   30 -    Single-Family Credit Guarantee Portfolio Characteristics

     13 -   Single-Family Refinance Activity                                                            31 -    Single-Family Credit Profile by Book Year and Product Feature
                                                                                                                Single-Family Cumulative Foreclosure Transfer and Short Sale
     14 -   Single-Family Loan Workouts                                                                 32 -
                                                                                                                Rates by Book Year
     15 -   Single-Family Loan Modifications                                                            33 -    Multifamily Portfolio Composition

     16 -   Performance of Single-Family Modified Loans                                                 34 -    Multifamily Securitization Volume

     17 -   Repurchase Requests                                                                         35 -    Multifamily New Business Volume by State

     18 - Administrative Expenses                                                                       36 -    Multifamily Mortgage Portfolio UPB Concentration by State

     19 -   Purchase Agreement Portfolio Limits                                                         37 -    Multifamily Mortgage Portfolio by Attribute

                                                                                                        38 -    Multifamily Mortgage Portfolio by Attribute, Continued

                                                                                                        39 -    Multifamily Market and Freddie Mac Delinquency Rates


                                                                                                                                                                                                        2




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 139 of 179



   Quarterly financial results
   ($ Billions)                                                                        4Q 2013
                                                                                         vs
                                                                       3Q 2013 4Q 2013 3Q 2013
                                                                                                                       Line 2: Lower benefit for credit losses drivenby moderation i n
   1 Net interest income                                                     $4.3            $3.8         ($0.5)
                                                                                                                       home-price growth during 4Q13.
   2 Benefit for credit losses                                                 1.1            0.2          (0.9)
                                                                                                                       Line 3: A shift from derivative losses i n 3Q13 to derivative
   3      Derivative gains (losses)                                           (0.1)           1.0           1.0
                                                                                                                       gains in 4Q13 driven by higher fair value gains on the net pay-
          Net impairment of available-for-sale                                                                         fixed swap portfolio due to an increase in longer-term interest
   4                                                                          (0.1)          (1.3)         (1.2)
          securities recognized in earnings
                                                                                                                       rates.
   5      Other non-interest income                                            1.9            6.1           4.2
                                                                                                                       Line 4: Highernet impairmentof available-for-sale (AFS)
   6   Non-interest income                                                     1.7            5.8           4.1        securities primarily due to the 4Q13 implementation of enhanced
                                                                                                                       model assumptions used to project cash flows on certain
   7     Total administrative expenses                                        (0.5)          (0.5)         (0.0)
                                                                                                                       modified loans collateralizing non-agency mortgage-related
   8     Real estate owned operations income (expense)                         0.1           (0.0)         (0.1)
                                                                                                                       securities.
   9     Other non-interest expense                                           (0.2)           0.1           0.3
                                                                                                                       Line 5: Higherother non-interest income driven by a $4.3
   10 Non-interest expense                                                    (0.6)          (0.4)          0.2
                                                                                                                       billion increase in settlement proceeds related to private label
   11 Pre-tax income                                                           6.5            9.3           2.8        securities (PLS) litigation in 4Q13.

   12 Income tax benefit (expense)                                           24.0            (0.7)        (24.7)       Line 12: A shift from income tax benefit i n 3Q13 to income tax
                                                                                                                       expense in 4Q13 primarily due to the release of the deferred tax
   13 Net income                                                             30.5             8.6         (21.9)
                                                                                                                       asset valuation allowance.
   14 Total other comprehensive income (loss),
                                                                              (0.0)           1.2           1.3
        net of taxes                                                                                                   Line 14: A shift from total other comprehensive loss i n 3Q13 to
                                                                                                                       total other comprehensive income in 4Q13 reflects improved fair
   1 5 Comprehensive income                                                 $30.4            $9.8       ($20.6)
                                                                                                                       values on non-agency AFS securities due to spread tightening,
                                                                                                                       as well as the recognition in earnings of other-than temporary
                                                                                                                       impairments on the company’s non-agency mortgage-related
                                                                                                                       securities in 4Q13.

  Note: Columns may not add due to rounding.                                                                                                                                                       3




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 140 of 179



   Annual financial results
   ($ Billions)                                                                                                2013
                                                                                                                 vs
                                                                                 2012           2013           2012
   1    Net interest income                                                      $17.6           $16.5         ($1.1)         Line 2: A shift from a provision for credit losses i n 2012 to
   2    (Provision) benefit for credit losses                                      (1.9)            2.5           4.4         a benefit in 2013 due to a decrease in the volume of newly
                                                                                                                              delinquent loans, increases in national home prices and
   3     Derivative gains (losses)                                                 (2.4)            2.6           5.1
                                                                                                                              approximately $1.7 billion in recoveries from
   4     Net impairment of available-for-sale securities
                                                                                   (2.2)           (1.5)          0.7         representation and warranty settlements in 2013.
         recognized in earnings

   5     Other non-interest income                                                  0.5             7.4           6.9         Line 3: A shift from derivative losses i n 2012 to derivative
                                                                                                                              gains in 2013 driven by an increase in longer-term interest
   6    Non-interest income (loss)                                                 (4.1)            8.5         12.6
                                                                                                                              rates during 2013, compared to a decrease in longer-term
   7     Total administrative expenses                                             (1.6)           (1.8)         (0.2)        interest rates during 2012, coupled with a change in the
   8     Real estate owned operations income (expense)                             (0.1)            0.1           0.2         mix of the company’s derivative portfolio.

   9     Other non-interest expense                                                (0.6)           (0.4)          0.1         Line 5: Higherother non-interest income driven primarily

   10 Non-interest expense                                                                         (2.1)          0.1         by settlement proceeds of $5.5 billion related to PLS
                                                                                   (2.2)
                                                                                                                              litigation during 2013.
   11   Pre-tax income                                                              9.4            25.4          15.9
                                                                                                                              Line 12: Higherincome tax benefit primarilydriven by the
   12 Income tax benefit                                                            1.5            23.3          21.8         release of the deferred tax asset valuation allowance.

   13 Net income                                                                  11.0             48.7          37.7         Line 14: Lower total other comprehensive income reflects
                                                                                                                              the unfavorable impact of higher interest rates, partially
   14 Total other comprehensive income, net of taxes                                5.1             2.9          (2.1)
                                                                                                                              offset by higher fair value gains due to spread tightening
   1 5 Comprehensive income                                                     $16.0            $51.6         $35.6
                                                                                                                              on non-agency securities.




   Note: Columns may not add due to rounding.                                                                                                                                                        4




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 141 of 179




   Comprehensive income
    $ Billions

                                                                                                                                                                $30.4




                                                                                                                                                                                     $9.8
                                                                                                                     $7.0
                                                                              $5.6               $5.7
                                                                                                                                     $4.4
                                      $1.8                $2.9
                 $1.5


                   4Q                  1Q                  2Q                 3Q                  4Q                  1Q                 2Q                     3Q               4Q
                                                                                                                                                                    1
                  2011                2012                2012               2012                2012                2013               2013                   2013             2013



                                                  A                   Net income
                                                  B                   Total other comprehensive income (loss), net of taxes
                                                                                                                                                           2


                                           C=A+B                      Comprehensive income
      1 Net income and Comprehensive income include $23.9 billion non-cash benefit from releasing the valuation allowance on deferred tax assets.

      2 Consists of the after-tax changes in: (a) the unrealized gains and losses on available-for-sale securities; (b) the effective portion of derivatives previously designated as cash flow
         hedges; and (c) defined benefit plans.                                                                                                                                                         5




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 142 of 179


  Senior Preferred Stock Purchase Agreement with
  Treasury
          Senior preferred stock outstanding and held by Treasury remained $72.3 billion at
          December 31, 2013. 1
             »     Dividend payments do not reduce prior Treasury draws .
             »     Any future draws will increase the balance of senior preferred stock outstanding.

          Since entering conservatorship in September 2008, Freddie Mac has:
             »     Received cumulative draws of $71.3 billion from Treasury. No draws have been requested for the
                   past seven quarters; last draw request was $19 million for first quarter 2012.

          Freddie Mac’s net worth was $12.8 billion at December 31, 2013.
             »     Capital reserve amount decreased from $3.0 billion in 2013 to $2.4 billion for quarterly payments in
                   2014.

             »     Dividend obligation to Treasury will be $10.4 billion in March 2014.

             »     Aggregate cash dividends paid to Treasury will total $81.8 billion including the March dividend
                   obligation, versus cumulative cash draws of $71.3 billion received from Treasury through December
                   31, 2013.

          The amount of remaining Treasury funding currently available to Freddie Mac under the
          Purchase Agreement is $140.5 billion. Any future draws will reduce this amount.

    1 Senior preferred stock outstanding of $72.3 billion at December 31, 2013 includes cumulative draws of $71.3 billion plus the initial liquidation preference of $1 billion.                        6




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 143 of 179




  Treasury draw requests and dividend payments
    $ Billions
                                       Draws From Treasury                                                                           Dividend Payments to Treasury
                        ($ Billions)                                    Cumulative                                          ($ Billions)                                  Cumulative
                                                                          Total                                                                                             Total
                                                             1
                        Initial Liquidation Preference                       $1.0                                           Dividend Payments as of 12/31/13                 $71.3
                        Treasury Draws                                     $71.3                                            1Q 2014 Dividend Obligation                      $10.4
                           Total Senior Preferred Stock                                                                                                     2
                                                                           $72.3                                              Total Dividend Payments                        $81.8
                           Outstanding




                                                                                                                                                                                       4
                             Draw Requests from Treasury3                                                                            Dividend Payments to Treasury

    1 The initial $1 billion liquidation preference of senior preferred stock was issued to Treasury in September 2008 as consideration for Treasury’s funding commitment. The company
        received no cash proceeds as a result of issuingthis i n i t i al$1 billionliquidation
                                                                                             preference of senior preferred stock.
    2 Amounts may not add due to rounding.
    3 Annual amounts represent the total draws requested based on Freddie Mac’s quarterly net deficits for the periods presented. Draw requests are funded in the subsequent quarter
        (e.g., $19 million draw request for 1Q 2012 was funded in 2Q 2012).
    4
        Represents quarterly cash dividends paid by Freddie Mac to Treasury during the periods presented. Through December 31, 2012, Treasury was entitled to receive cumulative
        quarterly cash dividends at the annual rate of 10% per year on the liquidation preference of the senior preferred stock. However, the fixed dividend rate was replaced with a net
        worth sweep dividend payment beginning in the first quarter of 2013. See the company’s Annual Report on Form 10-K for the year ended December 31, 2013 for more information.
                                                                                                                                                                                                    7




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 144 of 179




  Total equity and Senior Preferred Stock activity
   ($ Billions)

                                                                                                          4Q 2012             1Q 2013             2Q 2013             3Q 2013             4Q 2013
   1     Beginningbalance - Total equity/ GAAP net worth                                                         $4.9                 $8.8              $10.0                $7.4               $33.4
   2     Capital draw funded by Treasury                                                                               -                   -                   -                   -                   -


   3     Net income                                                                                                4.5                 4.6                 5.0               30.5                  8.6
   4     Total other comprehensive income (loss), net of taxes                                                     1.3                 2.4                (0.6)               (0.0)                1.2
   5     Comprehensive income                                                                                      5.7                 7.0                 4.4               30.4                  9.8


   6     Dividends paid to Treasury                                                                               (1.8)               (5.8)               (7.0)               (4.4)              (30.4)
   7 Other                                                                                                             -                   -                   -                   -                   -

                                                                                    1
   8     Ending balance -Total equity / GAAP net worth                                                           $8.8              $10.0                 $7.4              $33.4                $12.8


                                                                                                    2
   9     Aggregate liquidation preference of the senior preferred stock                                        $72.3               $72.3                $72.3              $72.3                $72.3

   10 Remaining senior preferred stock funding beginning in 2013                                                    N/A           $140.5              $140.5              $140.5             $140.5




       1 See the company’s Annual Report on Form 10-K for the year ended December 31, 2013 for a description of the company’s dividend obligation to Treasury.
       2 Includes the initial liquidation preference of Freddie Mac’s senior preferred stock of $1.0 billion.

       Note: Columns may not add due to rounding.                                                                                                                                                          8




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                            Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 145 of 179


        Single-family guarantee fees charged on new
        acquisitions

                                           Quarterly                                                                                                                              Annual
                               In Basis Points, Annualized                                                                                                                   In Basis Points




                                                                                                                                                                                                             1




                                                                                                                                                                    1
                                                               Legislated 10 Basis Point Guarantee Fee Remitted to Treasury

                                                                                                                                                                                                                      2
                                                               Single-Family Guarantee Fee Charged on New Acquisitions (excluding amounts remitted to Treasury)


     1 Effective April 1, 2012, guarantee fees charged on single-family loans sold to Freddie Mac were increased by 10 basis points. Under the Temporary Payroll Tax Cut Continuation
       Act of 2011, Freddie Mac is required to remit the proceeds from this increase to Treasury. Given the April 1, 2012 effective date, the impact of the increase on average guarantee
       fees for full-year 2012 was 7.5 basis points.
     2 Represents the estimated rate of management and guarantee fees for new acquisitions during the period assuming amortization of delivery fees using the estimated life of the

       related loans rather than the original contractual maturity date of the related loans. Also includes the effect of pricing adjustments that are based on the relative performance of our
       PCs compared to comparable Fannie Mae securities.


                                                                                                                                                                                                                           9




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 146 of 179



      Loan loss reserves
    $ Billions



                      $39.5              $38.3
                                                            $35.8
                                                                               $33.8
                         $2.6
                                                                                                   $30.9
                                            $1.8
                                                                                                                       $28.6
                                                                                                                                           $26.4
                                                                                  $0.6                                                                       $25.0                $24.7
                                                                $0.2

                                                                                                                                                               ($0.4)($0.2)
                                                                                                      ($0.7)              ($0.5)              ($0.6)($0.6)
                                                                                                                                                         ($1.1)

                                                                                                                  ($2.1)              ($1.9)
                                                                                              ($2.5)
                                                          ($2.9)          ($3.0)
                 ($3.2)              ($3.3)


                  4Q 2011             1Q 2012             2Q 2012           3Q 2012             4Q 2012            1Q 2013             2Q 2013            3Q 2013            4Q 2013

                                                      1                                                                                                                                   2
                          Net Charge-offs                         Provision (Benefit)                          Loan Loss Reserves (Period End Balances)



    1 Includes amounts related to certain loans purchased under financial guarantees and reflected within other expenses on the company’s consolidated statements of comprehensive
       income.
    2 Consists of the allowance for loan losses and the reserve for guarantee losses.
                                                                                                                                                                                                      10




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                           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 147 of 179



                                                           1
         Real estate owned
                                     Property Inventory                                                                        Geographic Distribution
                                                                                                                                                                                  2


                                        2013 Activity                                                                  Based on Number of Properties in Inventory
                                       ((Number of Properties)                                                                               ((Number of Properties)

                                       70,685
                                                                                                                                                           21k



                                                                                                                                                                 16k
                                                                                                                                             14k

                                                                                                                                       11k

                                                            (72,454)                                                         8k
                  49,077                                                         47,308                                                                                                    6k
                                                                                                                                                                             5k                 5k
                                                                                                                       5k
                                                                                                                                                                                      4k

                 12/31/12            Acquisitions          Dispositions         12/31/13
                 Inventory                                                       Inventory
                                                                                                                      Northeast       Southeast        North Central        Southwest       West
                                   Historical Trend
                                                                                                                                              12/31/2012                  12/31/2013
                              Ending Property Inventory                                                     In 2013, REO inventory declined primarily due to lower single-family foreclosure
                                       ((Number of Properties)                                              activity as a result of Freddie Mac’s loss mitigation efforts and a declining
                                                                                                            amount of delinquent loans.

                                                                                                            Freddie Mac experienced an increase in REO acquisitions during 2013
               61k      59k                                                                                 compared to 2012 in the Northeast region and REO acquisitions remained high
                                                                                                            in the Southeast region. High REO acquisition volumes in these regions were
                                 53k
                                          51k                                                               primarily due to higher foreclosure volume in Maryland, Pennsylvania and
                                                    49k        48k              47k        47k              Florida.
                                                                          45k
                                                                                                            The North Central region comprised 33 percent of our REO property inventory
                                                                                                            as of December 31, 2013. This region generally has experienced more
                                                                                                            challenging economic conditions, and includes a number of states with longer
                                                                                                            foreclosure timelines due to the local laws and foreclosure process for single-
               4Q       1Q      2Q        3Q         4Q        1Q         2Q    3Q         4Q
                                                                                                            family mortgage loans. Seven of the nine states in the North Central region
              2011     2012     2012     2012       2012       2013    2013     2013      2013
                                                                                                            require a judicial foreclosure process.
    1
        Includes single-family and multifamily REO. Multifamily ending property inventory was 6 properties and 1 property as of December 31, 2012 and 2013, respectively.
    2 Region designation: West (AK, AZ, CA, GU, HI, ID, MT, NV, OR, UT, WA); Northeast (CT, DE, DC, MA, ME, MD, NH, NJ, NY, PA, RI, VT, VA, WV); Southeast (AL, FL, GA, KY,
                                                                                                                                                                                                11
        MS, NC, PR, SC, TN, VI); North Central (IL, IN, IA, MI, MN, ND, OH, SD, WI); and Southwest (AR, CO, KS, LA, MO, NE, NM, OK, TX, WY).




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 148 of 179



             Market liquidity provided
                Number of Families Freddie Mac Helped                                                                           Purchase and Issuance Volume 2,3
                      to Own or Rent a Home 1                                                                                   (Single-Family and Multifamily)
                                          In Thousands                                                                                               $ Billions




                                                                                                                                             Cumulative Totals
                                                                                                                                               Since 2009

                                                                                                                     1
                                           Number of Families Freddie Mac Helped to Own or Rent a Home                   (In Thousands)             11,329

                                             Refinance borrowers (includes HARP)                                                                     7,675

                                             Purchase borrowers                                                                                      2,032

                                             Multifamily rental units                                                                                1,622

                                                                                               2
                                           Freddie Mac Purchase and Issuance Volume                                                               $2.2 Trillion
         1
             For the periods presented, a borrower may be counted more than once if the company purchased more than one loan (purchase or refinance mortgage) relating to the same
             borrower.
         2
             Includes cash purchases of single-family and multifamily mortgage loans, issuances of Freddie Mac mortgage-related securities through the company’s guarantor swap program,
             issuances of other guaranteecommitments,issuance of otherstructured securities a n dpurchases of non-FreddieM a cmortgage-relatedsecurities.
         3
                                                                                                                                                                                           12 As a
              In the first quarter of 2013, Freddie Mac made certain changes to more closely align the presentation of the company’s single-family and multifamily securitization activities.
             result, the purchase and issuance volumes for all prior periods have been revised to conform with the current period presentation.




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                              Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 149 of 179



                                                                                                            1
  Single-family refinance activity
                                                                                                                                                                                                 Cumulative
                                                                                                   2009                    2010                     2011                  2012       2013
                                                                                                                                                                                                     Total

    Number of Borrowers2 (In Thousands)
    Other Refinance                                                                               1,595                     947                     740                    996        944           5,222
    Relief Refinance - LTV                     80%                                                  83                      324                     268                    253        270           1,198
    Relief Refinance - LTV > 80% to 100% (HARP) 3                                                   72                      166                     126                    191        168            723
    Relief Refinance - LTV > 100% to 125% (HARP) 3                                                  14                       43                       59                   144        110            370
                                                                        3
    Relief Refinance - LTV > 125% (HARP)                                                             0                        0                        0                    99        63             162
         Total Number of Borrowers                                                                1,764                   1,480                    1,193                  1,683      1,555          7,675

    $ Volume (In Billions)

    Other Refinance                                                                                $345                    $200                     $168                  $228       $210           $1,151
    Relief Refinance - LTV                     80%                                                  $15                     $58                      $42                   $36        $37            $188
                                                                                     3
    Relief Refinance - LTV > 80% to 100% (HARP)                                                     $17                     $38                      $27                   $37        $30            $149
                                                                                         3
    Relief Refinance - LTV > 100% to 125% (HARP)                                                     $3                     $10                      $13                   $30        $21             $77
                                                                        3
    Relief Refinance - LTV > 125% (HARP)                                                             $0                       $0                      $0                   $20        $11             $31
         Total $ Volume                                                                            $380                    $306                     $250                  $351       $309           $1,596

      1 Consists of all single-family refinance mortgage loans that the company either purchased or guaranteed during the period, including those associated with other
        guarantee commitments and Other Guarantee Transactions.

      2 Some loans have multiple borrowers, but the company has counted them as one borrower for this purpose. For the periods presented, a borrower may be counted
        more than once if the company purchased more than one refinance loan relating to the same borrower.

      3 The relief refinance mortgage initiative is Freddie Mac’s implementation of the Home Affordable Refinance Program (HARP). Under the program, the company allows
        eligible borrowers who have mortgages with high current LTV ratios to refinance their mortgages without obtaining new mortgage insurance in excess of what was already
        in place. HARP is targeted at borrowers with current LTV ratios above 80%; however, Freddie Mac’s program also allows borrowers with LTV ratios at or below
        80% to participate.

                                                                                                                                                                                                               13




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                             Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 150 of 179



                                                                                                1
       Single-family loan workouts

  Number of Loans                                                                                               Number of Loans
           (000)                                                                                                        (000)

      60                                                                                                                 300
                                                                                                                                                            275
                                                                                                                         250
                                            46
                        43                                       41                                                                                                             208
                                                                                     41                   40             200
                                                                                                                                                                                                169           168
     30                                                                                                                  150
                                                                                                                                        133

                                                                                                                         100


                                                                                                                          50


      0                                                                                                                     0
                   4Q 2012             1Q 2013            2Q 2013              3Q 2013              4Q 2013                             2009               2010                2011            2012          2013
                      Loan modifications                     Repayment plans                   Forbearance agreements                         Short sales and deed-in-lieu of foreclosure transactions


                                                       Home Retention Actions                   2
                                                                                                                                                                Foreclosure          Alternatives     2




                                                                                                                                             Cumulative Totals Since
                                                                                                                                                              2009
                                                                                 1
                                            Number of Families Avoiding Foreclosure(In Thousands)                                                               953

                                            Families Retaining Homes                                                                                  8 out of every 10
       1
            Consists of both home retention actions and foreclosure alternatives.
       2
            These categories are not mutually exclusive and a borrower in one category may also be included within another category in the same or another period. For example, a borrower
            helped through a home retention action in one period may subsequently lose his or her home through a foreclosure or a short sale or deed-in-lieu transaction in a later period.                     14




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                               Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 151 of 179



            Single-family loan modifications
                                                                                               Single-family Loan Modifications
                                                                                                   (HAMP and non-HAMP)1



    Number of                                                                                                                 Number of
     Loans                                                                                                                     Loans
     (000)                                                                                                                     (000)
     30                                                                                                                       200
                                                                                                                                                             170
                                                                                                              23               160
                        20                    21                                         21
                                                                   19
       20
                                                                                                                               120                                           109
                                                                                                                                                                                                            83
                                                                                                                                80             65                                              70
       10
                                                                                                                                40

        0                                                                                                                        0
                    4Q 2012               1Q 2013               2Q 2013              3Q 2013               4Q 2013                            2009           2010            2011              2012         2013

                                     No change in terms                                                                                        Term extension

                                     Change in interest rate, and in certain cases, term                                                        Change in interest rate, term extension and
                                     extension                                                                                                  principal forbearance2



            1
                Includes completed loan modifications under HAMP and under the company’s other modification programs. Excludes those loan modification activities for which the borrower has
                started the required process, but the modification has not been made permanent or effective, such as loans in a modification trial period.

            2
                Principal forbearance is a change to a loan’s terms to designate a portion of the principal as non-interest bearing and non-amortizing.                                                          15
            Note: Totals may not recalculate due to rounding.




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 152 of 179




   Performance of single-family modified loans
                                                     Quarterly Percentages of Modified Single-Family Loans
                                                                                           1
                                                                    (HAMP and non-HAMP)


                                                                                 % Current and Performing
                                                                                                                                                           2
                                                                                          Quarter of Loan Modification Completion

    Time Since Modification 4Q 2011                               1Q 2012             2Q 2012            3Q 2012             4Q 2012            1Q 2013             2Q 2013             3Q 2013

    3 to 5 months                                86%                 85%                87%                 84%                 85%                86%                 85%                84%

    6 to 8 months                                80%                 80%                83%                 82%                 81%                81%                 79%                 N/A

    9 to 11 months                               75%                 77%                81%                 78%                 78%                78%                 N/A                 N/A

    12 to 14 months                              73%                 76%                78%                 76%                 75%                 N/A                N/A                 N/A

    15 to 17 months                              73%                 74%                77%                 73%                 N/A                 N/A                N/A                 N/A

    18 to 20 months                              71%                 73%                75%                  N/A                N/A                 N/A                N/A                 N/A

    21 to 23 months                              70%                 71%                 N/A                 N/A                N/A                 N/A                N/A                 N/A

    24 to 26 months                              68%                 N/A                 N/A                 N/A                N/A                 N/A                N/A                 N/A

    1   Represents the percentage of loans that are current and performing (no payment is 30 days or more past due) or have been paid in full. Excludes loans in modification trial periods.

    2
        Loan modifications are recognized as completed in the quarterly period in which the servicer has reported the modification as effective and the agreement has been accepted by the
        company. For loans that have been remodified (e.g., where a borrower has received a new modification after defaulting on the prior modification) the rates reflect the status of each
        modification separately. For example, in the case of a remodified loan where the borrower is performing, the previous modification would be presented as being in default in the
        applicable period.
                                                                                                                                                                                                      16




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                             Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 153 of 179



      Repurchase requests 1,2
               Trend in Repurchase Requests Outstanding                                                                                           2013 Repurchase Request Activity


         $ Billions                                                                                                           $ Billions

                                                                               41%
                                                                                                                                                          $10.8
                                                              39%

                                            34%

                                                                                                   27%

                20%              20%                                                                                                                                            ($5.6)
        $3.6              $4.2              $3.8                              $3.0
                                                             $2.7
                                                                                                  $2.2
                                                                                                                                    $3.0                                                      ($6.0)          $2.2
                                                                                                            3
      12/31/2008 12/31/2009 12/31/2010 12/31/2011 12/31/2012 12/31/2013                                                          UPB at               Issuances
                                                                                                                                                                                         5
                                                                                                                                                                            Collections Cancellations UPB at
                                                                                                                               12/31/2012                                                and other6 12/31/2013
                                   Outstanding repurchase requests
                                                                                              4
                                   Requests outstandingmore than4 months

  1   Amounts are based on the UPB of the loans associated with the repurchase requests. The balance as of December 31, 2013 includes: (a) $1.6 billion in UPB related to
      repurchase claims for violations of seller representations and warranties and (b) $0.6 billion in UPB related to repurchase claims for violations of servicing guidelines.
      The balance as of December 31, 2013 excludes $0.3 billion in UPB related to notices of defect related to servicing violations.
  2   The amount the company expects to collect on outstanding requests is significantly less than the unpaid principal balance (UPB) of the loans primarily because many of
      these are likely to be satisfied by reimbursement of the company’s realized credit losses by seller/servicers, or rescinded in the course of the contractual appeals proces
      Based on historical loss experience and the fact that many of these loans are covered by credit enhancements (e.g., mortgage insurance), Freddie Mac expects the
      actual credit losses experienced by the company should it fail to collect to also be less than the UPB of the loans.
  3   Approximately $0.2 billion of the total amount of repurchase requests outstanding at December 31, 2013 were issued due to mortgage insurance rescission or mortgage
      insurance claim denial.
  4
      Repurchase requests outstanding more than four months include repurchase requests for which appeals were pending.
  5
      Requests collected are based on the UPB of the loans associated with the repurchase requests, which in many cases is more than the amount of payments received for
      reimbursement of losses for requests associated with foreclosed mortgage loans, negotiated agreements and other alternative remedies. Includes $2.1 billion in 2013
      related to settlement agreements with certain seller/servicers to release specified loans from certain repurchase obligations in exchange for one-time cash payments.
  6   Consists primarily of those requests that were resolved by the servicer providing missing documentation or rescinded through a successful appeal of the request. Also
      includes other items that affect the UPB of the loan while the repurchase request is outstanding, such as payments made on the loan.
                                                                                                                                                                                                                 17




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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 154 of 179




    Administrative expenses

                                         Quarterly                                                                                               Annual

  $ Millions                                                                                              $ Millions
    600                                                                                                 2,000
                                                                                                                                                                                            $1,805
                                                                                      $474              1,800         $1,685
                                                    $444             $455                                                               $1,597
                 $422              $432                                                                                                                                   $1,561
                                                                                                        1,600                                            $1,506
    400
                                                                                                        1,400
                                                                                                        1,200

    200                                                                                                 1,000
                                                                                                           800
                                                                                                           600
        0                                                                                                  400
                  4Q                1Q               2Q               3Q               4Q                               2009             2010             2011              2012             2013
                 2012              2013             2013             2013             2013




                                                                                                                                                                                                    18




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                             Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 155 of 179



        Purchase Agreement portfolio limits

                                      Mortgage Assets1, 2                                                                                                           Indebtedness1, 3
                                                   ($ Billions)                                                                                                             ($ Billions)




                                                                                                                                          $874.8
                                                                                                                                                                   4
                                                                                                                                                           $780              $780         $780       $780
               4
        $650           $650             $650            $650
                                                                                                                                                                                                                         4
                                                                                  4                                                                                                                               $663
        $558                                                             $553
                       $534             $521                                                                                            $552               $535
                                                        $498
                                                                                                                   4                                                         $526         $520       $511
                                                                                                          $470
                                                                         $461

   12/31/1203/31/13 06/30/13 09/30/13 12/31/13                                                         12/31/14                      12/31/12 03/31/13 06/30/13 09/30/13 12/31/13 01/01/14

                             Mortgage-related investments portfolio ending balance                                                                                        Total debt outstanding
                             Mortgage-related investments portfolio limit                                                                                                  Indebtedness limit




    1
        The company’s Purchase Agreement with Treasury limits the amount of mortgage assets the company can own and indebtedness it can incur. Under the Purchase Agreement,
        mortgage assets and indebtedness are calculated without giving effect to the January 1, 2010 change in the accounting guidance related to the transfer of financial assets and
        consolidation of variable interest entities (VIEs). See the company’s Annual Report on Form 10-K for the year ended December 31, 2013 for more information.
    2 Represents the unpaid principal balance (UPB) of the company’s mortgage-related investments portfolio. The company discloses its mortgage assets on this basis monthly in its

        Monthly Volume Summary reports, which are available on its Web site and in Current Reports on Form 8-K filed with the Securities and Exchange Commission (SEC).
    3
        Represents the par value of the company’s unsecured short-term and long-term debt securities issued to third parties to fund its business activities. The company discloses its
        indebtedness on this basis monthly in its Monthly Volume Summary reports, which are available on its Web site and in Current Reports on Form 8-K filed with the SEC.
    4
        Limit under the Purchase Agreement, as amended on August 17, 2012.
                                                                                                                                                                                                                    19




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                            Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 156 of 179




                                                                                                                           Credit
                                                                                                             Supplement




                                                                                                                                                                                                      20




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                              Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 157 of 179


      National home prices have experienced a cumulative
      decline of 15% since June 2006¹
         Percent
           (%)
           6
                           5.2                                                                                                                                                                                   5.3
                                                4.7
                                                                                                                                                                                                   4.1
              4
                                          2.9
                      2.5       2.4                  2.6                                                                                                                                                    2.7
                                                                     2.2
              2                                                                                                                                                                                                    1.5
                                     1.3                       1.3                                                                   1.2                                       1.1                    1.1
                                                                                    0.8 0.8                                                               0.7
                                                          0.4                                                                                                                                 0.4
                                                                                                                                           0.0                                                            0.2
              0
                                                                                                                                                    (0.3)                                                              (0.4)
                                                                        (0.7)                                 (0.8)
                                                                                                                                                                         ( 1 . 2 )( 1 . 1 )
            (2)                                                                (1. 6)                                                         (1.6)
                                                                                              (2.1)                                                                                        (2.1)
                                                                                                                                                              (2 . 5 )
                                                                                                                    (2.8) (2.7)                                    (2.8)
                                                                                                         ( 3. 1 )
            (4)
                                                                                                   ( 4 .2 )

                                                                                                                           (5.3)
            (6)
                     1Q              4Q              3Q              2Q              1Q              4Q               3Q             2Q              1Q             4Q               3Q             2Q      1Q          4Q
                    2004            2004            2005           2006            2007            2007             2008           2009            2010            2010            2011            2012     2013       2013

  1
      National home prices use the Freddie Mac House Price Index for the U.S., which is a value-weighted average of the state indexes where the value weights are based on Freddie
      Mac’s single-family credit guarantee portfolio. Other indices of home prices may have different results, as they are determined using different pools of mortgage loans and calculated
      under different conventions than Freddie Mac’s. The Freddie Mac House Price Index for the U.S. is a non-seasonally adjusted monthly series; quarterly growth rates are calculated as
      a 3-month change based on the final month of each quarter. Seasonal factors typically result in stronger house-price appreciation during the second and third quarters. Historical
      quarterly growth rates change as new data becomes available. Values for the most recent periods typically see the largest changes. Cumulative decline calculated as the percent
      change from June 2006 to December 2013.

                                                                                                                                                                                                                               21
      Source: Freddie Mac.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                                Powered by Morningstar ® Document Research ℠
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                          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 158 of 179


      Home price performance by state
                                                                                       1
      June 2006 to December 2013

                                                                                            United States -15%
                                                                                                                                                                                                   NH
                                        -15%                                                                                                                                                                  -11%
                                        WA                                                               41%                                                                                                   ME
                                                                           1%                                                                                                                       -2%
                                                                                                         ND                  -16%                                                                    VT-19%
                                                                           MT
                                   -13%                                                                                       MN                                                             -11%                    MA
                                   OR                   -16%                                              11%                               -15%                                                       -11%
                                                                                                                                             WI                                              NY
                                                          ID                                              SD                                                 -22%                                               RI -28%
                                                                                8%                                                                            MI
                                                                                                                                 3%                                                        -7%              CT -21%
                                                                                WY
                                                                                                            2%                   IA                   -16%                                  PA            NJ -21%
                                            -42%                                                            NE                             -24% -5% OH                                        -21%        DE -18%
                                                                                                                                                            3%
                                            NV                  -1%                   4%                                                     IL I N
                              -23%                                                                                                                         WV -16%                                        MD
                                                                UT                    CO                        -1%                  -13%                      VA
                               CA                                                                                                    MO            KY -1%                                               DC 25%
                                                                                                                KS
                                                                                                                                                            NC -6%
                                                                                                                                                TN -1%
                                                                                                                    6%                 -5%                  -9%
                                                           -30%
                                                           AZ
                                                                                  -14%                              OK                AR                    SC                                              0%
                                                                                  NM                                                         -8% -11% -15%                                                -11 to -1%
                                                                                                                                             M S AL      GA
                                                                                                              15%                                                                                         -21 to -12%
                                                                                                                                         3%
                    4%                                                                                        TX                                                                                            -22%
                                                                                                                                         LA                                          -34%
                    AK
                                                                -2%                                                                                                                    FL
                                                                  HI



          1 The Freddie Mac House Price Index for the U.S. is a value-weighted average of the state indexes where the value weights are based on Freddie Mac’s single-family credit
             guarantee portfolio. Other indices of home prices may have different results, as they are determined using different pools of mortgage loans and calculated under different
             conventions. The Freddie Mac House Price Index for the U.S. is a non-seasonally adjusted monthly series.
                                                                                                                                                                                                                      22
             Source: Freddie Mac




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                             Powered by Morningstar ® Document Research ℠
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                          Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 159 of 179


       Home price performance by state
                                                                                                        1
       December 2012 to December 2013

                                                                                               United States 9%
                                                                                                                                                                                                     NH
                                          9%                                                                                                                                                                   1%
                                          WA                                                                                                                                                                   ME
                                                                               5%                         10%
                                                                                                                                                                                                     4%
                                                                               MT                         ND                                                                                         VT 6%
                                     12%                                                                                        10%                                                             3%                  MA
                                      OR                  9%                                                5%                  MN             6%                                               NY        8%
                                                          ID                                                SD                                 WI                12%                                              RI 3%
                                                                                   6%                                                                             MI                       3%
                                                                                   WY                                                6%                                                    PA                  CT 2%
                                                                                                             5%                                                                                           NJ 5%
                                                                                                                                     IA                                    4%
                                              25%                                                            NE                                     8%          4%         OH                   6%        DE 3%
                                               NV                11%                                                                                IL          IN                 4% 3 %
                                                                                         8%                                              5%                                                               MD
                               19%                                UT                                              4%                                                              WV VA
                                                                                         CO                                              MO                       KY 4%
                               CA                                                                                 KS                                                                                      DC 13%
                                                                                                                                                                                     NC 6%
                                                                                                                                                              TN 6%
                                                                                                                      3%                                                         6%
                                                              14%                                                                         1%
                                                               AZ
                                                                                    1%                                OK                  AR                                     SC                        10%
                                                                                    NM                                                                 2%          2%         15%
                                                                                                                                                                                                          6 to 9%
                                                                                                                                                       MS          AL         GA
                                                                                                                9%                          5%                                                            3 to 5%
                     3%                                                                                         TX                          LA                                                            0 to 2%
                     AK                                                                                                                                                                   15%
                                                                   8%                                                                                                                      FL
                                                                    HI



         1 The Freddie Mac House Price Index for the U.S. is a value-weighted average of the state indexes where the value weights are based on Freddie Mac’s single-family credit
            guarantee portfolio. Other indices of home prices may have different results, as they are determined using different pools of mortgage loans and calculated under different
            conventions. The Freddie Mac House Price Index for the U.S. is a non-seasonally adjusted monthly series.
                                                                                                                                                                                                                      23
            Source: Freddie Mac




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                           Powered by Morningstar ® Document Research ℠
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                           Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 160 of 179


         Mortgage market and Freddie Mac serious delinquency
         rates
                                                                       Single-family Serious Delinquency Rates

              32

              28


              24

              20                                                                                                                                                                                19.92%



              16

              12



                8
                                                                                                                                                                                                  5.41%
                4                                                                                                                                                                                 3.08%
                                                                                                                                                                                                  2.39%

                0
                     Mar- Jun- Sep- Dec- Mar- Jun- Sep- Dec- Mar- Jun- Sep- Dec- Mar- Jun- Sep- Dec- Mar- Jun- Sep- Dec-
                      09   09   09 09     10 10 10 10 1 1 1 1 1 1 1 1 1 2 1 2 1 2 1 2 13 13 13 13
                                                       Total Mortgage Market1                                Prime1                    Subprime1     Freddie Mac2


     1
         Source: National Delinquency Survey from the Mortgage Bankers Association. Categories represent first lien single-family loans.
     2
         See “MD&A – RISK MANAGEMENT – Credit Risk – Mortgage Credit Risk – Single-Family Mortgage Credit Risk – Credit Performance – Delinquencies” in Freddie Mac’s Form 10-K for
         the year ended December 31, 2013, for information about the company’s reported delinquency rates.
                                                                                                                                                                                                   24




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 161 of 179


   Loan purpose of single-family credit guarantee
   portfolio purchases
     Percent (%)




                                                                                              3                                                    9                   8
                                                                                         4                 16                  14
                                                                                                                                                                      15
                                                                                                                               12                  20                                        Total
                             47                                                                            12
          56                                     53                 59                                                                                                                   Refinance
                                                                                                                                                                                          Loans:

                                                                                        73                                                                                                    73%
                                                                                                                                                                      50
                                                                                                           52                  52
                                                                                                                                                   53

                             53
          44                                     47
                                                                    41
                                                                                                                               22                                     27
                                                                                        20                 20                                      18

         2005              2006               2007                2008               2009                2010               2011                2012                2013

                             Purchase                 Other Refinance                   HARP¹             Relief Refinance (Non-HARP)¹


     1   The relief refinance mortgage initiative is Freddie Mac’s implementation of the Home Affordable Refinance Program (HARP). Under the program, the company allows eligible
         borrowers who have mortgages with high current LTV ratios to refinance their mortgages without obtaining new mortgage insurance in excess of what was already in place. HARP is
         targeted at borrowers with current LTV ratios above 80%; however, Freddie Mac’s relief refinance initiative also allows borrowers with LTV ratios at or below 80% to participate.
                                                                                                                                                                                        25




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 162 of 179


  Credit quality of single-family credit guarantee portfolio
  purchases
                                                                                                2009                  2010                  2011                   2012                  2013

                                                               1
   Weighted Average Original LTV Ratio
   Relief refinance (includes HARP)                                                             80%                   77%                    77%                   97%                    91%
   All other                                                                                    66%                   67%                    67%                   68%                    71%
      Total purchases                                                                           67%                   70%                    70%                   76%                    75%

                                                      2
   Weighted Average Credit Score
   Relief refinance (includes HARP)                                                              738                   747                   744                   740                    727
   All other                                                                                     757                   758                   759                   762                    756
      Total purchases                                                                            756                   755                   755                   756                    749




                                                                                                2009                  2010                  2011                   2012                  2013
                                                                                                           3
   Purchase of Relief Refinance Mortgages > 80% LTV (HARP loans)
   $ Billions                                                                                  $19.6                 $47.9                 $39.7                  $86.9                 $62.5
   % of single-family credit guarantee portfolio purchases                                       4%                   12%                    12%                   20%                    15%

  1   Original LTV ratios are calculated as the unpaid principal balance (UPB) of the mortgage Freddie Mac guarantees including the credit-enhanced portion, divided by the lesser of
      the appraised value of the property at the time of mortgage origination or the mortgage borrower’s purchase price. Second liens not owned or guaranteed by Freddie Mac are
      excluded from the LTV ratio calculation. The existence of a second lien mortgage reduces the borrower’s equity in the home and, therefore, can increase the risk of default.
  2   Credit score data is based on FICO scores at the time of origination and may not be indicative of the borrowers’ creditworthiness at December 31, 2013. FICO scores can range
      between approximately 300 to 850 points.
  3   HARP is the portion of the company’s relief refinance initiative targeted at borrowers with current LTV ratios above 80%. In April 2013, HARP was extended to December 31,
      2015.
                                                                                                                                                                                                       26




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                                 Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 163 of 179


      Single-family 4Q 2013 credit losses and REO
      by region and state
                                                                                        1                                                                                                             4                                      5
                                                                  Total Portfolio UPB                         Seriously Delinquent Loans                         REO Acquisitions & Balance                       Credit Losses (Gains)
                                                                                                                                           Serious
                                                                                                                                       Delinquency         4Q 2013             REO
                                                                                                          2                                          3
                                                                                                  UPB                                       Rate         Acquisitions       Inventory        % of Total
                                                               ($ Billions)    % of Total      ($ Millions)           % of Total             (%)          ($ Millions)      ($ Millions)     Inventory          ($ Millions)    % of Total

                        6
            Region

      1       West                                                $464            28%             $8,842                 20%               1.73%             $456             $1,091            15%                 ($32)           (8%)

      2       Northeast                                            431             26             15,756                  36               3.23%              492              1,480             20                  146             37

      3       North Central                                        291             18             5,631                   13               1.81%              528              2,113             29                  119             30

      4       Southeast                                            273             16             10,624                  25               3.42%              883              2,167             29                  170             42

      5       Southwest                                            194             12             2,463                    6               1.36%              188               530               7                  (5)             (1)

      6         Total                                            $1,653          100%            $43,316                 100%              2.39%            $2,547            $7,381            100%               $398            100%




            State

      7       Arizona, California, Florida & Nevada        7
                                                                  $422            26%            $12,839                 30%               3.01%             $880             $2,052            28%                 $93             23%

      8       Illinois, Michigan & Ohio
                                              8
                                                                   176             11             4,113                    9               2.11%              376              1,563             21                  104             26

                                          9
      9       New York & New Jersey                                145             9              9,088                   21               5.11%               99               247               3                  33              9

      10      All other                                            910             54             17,276                  40               1.88%             1,192             3,519             48                  168             42

      11        Total                                             $1,653         100%            $43,316                 100%              2.39%            $2,547            $7,381            100%                $398           100%

  1       Based on the unpaid principal balance (UPB) of the single-family credit guarantee portfolio at December 31, 2013.
  2       UPB amounts exclude $408 million of Other Guarantee Transactions since these securities are backed by non-Freddie Mac issued securities for which loan characteristic data was not
          available.
  3       Based on the number of loans that are three monthly payments or more past due or in the process of foreclosure.
  4       Based on the UPB of loans at the time of REO acquisition.
  5       Consist of the aggregate amount of charge-offs, net of recoveries, and REO operations (income) expense for 4Q 2013.
  6       Region designation: West (AK, AZ, CA, GU, HI, ID, MT, NV, OR, UT, WA); Northeast (CT, DE, DC, MA, ME, MD, NH, NJ, NY, PA, RI, VT, VA, WV); Southeast (AL, FL, GA, KY, MS, NC, PR,
          SC, TN, VI); North Central (IL, IN, IA, MI, MN, ND, OH, SD, WI); and Southwest (AR, CO, KS, LA, MO, NE, NM, OK, TX, WY).
  7
          Represents the four states that had the largest cumulative declines in home prices during the housing crisis that began in 2006, as measured using Freddie Mac’s home price index.
  8       Represents selected states in the North Central region that have experienced adverse economic conditions since 2006.
  9       Represents two states with a judicial foreclosure process in which there are a significant number of seriously delinquent loans within Freddie Mac’s single-family credit guarantee portfolio.
                                                                                                                                                                                                                                                 27




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                                           Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 164 of 179


        Single-family serious delinquency rates by state and
        region
                   Single-family Serious Delinquency Rates                                                               Single-family Serious Delinquency Rates
                                  By State 1,2                                                                                         By Region1,3




                                                                                                                                                                                                    3.4%
                                                                                                                                                                                                    3.2%
                                                                                               6.4%
                                                                                               6.2%                                                                                                 2.4%
                                                                                                                                                                                                    1.8%
                                                                                               4.4%
                                                                                                                                                                                                    1.7%
                                                                                               2.8%                                                                                                 1.4%
                                                                                               2.4%
                                                                                               1.3%




                                                                                                                                                                                                  28




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                            Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 165 of 179


   Aging of single-family seriously delinquent loans by
   judicial and non-judicial states

                                                                                             As of 12/31/2012                                   As of 9/30/2013                                As of 12/31/2013

                                                                                   # of Seriously                                    # of Seriously                                      # of Seriously
                                                                                    Delinquent                 Percent                Delinquent                  Percent                 Delinquent        Percent
                                                                                        Loans                                             Loans                                             Loans

    Judicial Review States 1

      Less than or equal to 1 year                                                           79,422               23%                          60,943                 22%                       59,129        23%
      More than 1 year and less than or equal to 2 years                                     50,506               14%                          33,756                 12%                       30,604        12%
      More than 2 years                                                                      77,766               22%                          67,306                 25%                       65,154        26%


    Non-Judicial States 1

      Less than or equal to 1 year                                                           87,641               25%                          66,405                 25%                       60,175        24%

      More than 1 year and less than or equal to 2 years                                     30,435                9%                          22,063                  8%                       17,968        7%
      More than 2 years                                                                      23,824                7%                          22,998                  8%                       19,731        8%
                     1
    Combined

      Less than or equal to 1 year                                                          167,063               48%                        127,348                  47%                     119,304         47%
      More than 1 year and less than or equal to 2 years                                     80,941               23%                          55,819                 20%                       48,572        19%
      More than 2 years                                                                     101,590               29%                          90,304                 33%                       84,885        34%


    Total                                                                                   349,594              100%                        273,471                 100%                     252,761        100%




  1 Excludes loans underlying certain single-family Other Guarantee Transactions since the geographic information is not available to us for these loans. As of December 31, 2013, the
     states and territories classified as having a judicial foreclosure process consist of: CT, DE, FL, HI, IA, IL, IN, KS, KY, LA, ME, ND, NE, NJ, NM, NY, OH, OK, OR, PA, PR, SC, SD, VI,
     VT and WI. All other states are classified as having a non-judicial foreclosure process. Judicial foreclosures are those conducted under the supervision of a court.
                                                                                                                                                                                                                       29




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                           Powered by Morningstar ® Document Research ℠
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                              Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 166 of 179



                                                                                                                                                                               1
  Single-family credit guarantee portfolio characteristics
                                                                                 Total Portfolio                                                                                   Original   FICO < 620 &
                                                                                      as of                                             Option     FICO          FICO                LTV        Original
                     Attribute                                                                                 2                   3                       4               4                               4
                                                                               December 31, 2013       Alt-A       Interest-only         ARM       < 620       620 - 659            > 90%      LTV > 90%
                1    UPB $ Billions                                                   $1,653            $57              $35              $6        $48           $96                $258         $13
                2    Percent of Total Portfolio                                        100%              3%               2%              0%         3%           6%                 16%           1%
                3    Average UPB per loan                                           $154,632         $154,285        $225,114          $199,528   $126,197     $132,737            $169,694    $136,640
                4    Fixed Rate (% of total portfolio)                                  94%             63%              18%              0%        95%           94%                98%          98%
                5    Owner Occupied                                                     90%             82%              81%             76%        95%           94%                91%          95%
                6    Original Loan-to-Value (OLTV)                                      75%             73%              74%             71%        81%           80%                107%         107%
                7      OLTV > 90%                                                       16%              4%               3%              2%        27%           23%                100%         100%
                8    Current Loan-to-Value (CLTV)                                       69%             87%              93%             86%        83%           80%                98%          102%
                9      CLTV > 90%                                                       17%             46%              53%             41%        37%           33%                61%          68%
                10     CLTV > 100%                                                      10%             33%              37%             29%        25%           22%                35%          49%
                1 1 CLTV > 110%                                                         6%              22%              23%             19%        16%           14%                22%          32%
                                             4
                12 Average FICO Score                                                   739             711               717             711       585           643                 725          582
                13     FICO < 620     4
                                                                                        3%               5%               3%              4%       100%           0%                  5%          100%
                                  5
                     Book Year
                14     2013                                                             16%              0%               0%              0%         1%           5%                 10%           1%
                15     2012                                                             16%              0%               0%              0%         1%           4%                  7%           0%
                16     2011                                                             8%               0%               0%              0%         1%           2%                  2%           0%
                17     2010                                                             7%               0%               1%              0%         1%           3%                  2%           0%
                18     2009                                                             7%               0%               1%              0%         2%           3%                  2%           1%
                19     New single-family book (2009 to 2013)                            54%              0%               2%              0%         6%           17%                23%           2%
                                                                6
                20     HARP and other relief refinance loans                            21%              0%               0%              0%        29%           22%                60%          54%

                21     2005 to 2008 Legacy single-family book                           16%             84%              94%             71%        44%           41%                11%          28%
                22     Pre-2005 Legacy single-family book                               9%              16%               4%             29%        21%           20%                 6%          16%
                23 % of Loans with Credit Enhancement                                   13%             12%               9%             15%        22%           19%                49%          53%
                                                  7
                24 % Seriously Delinquent                                             2.39%           10.06%           12.51%           12.30%     9.99%        7.18%               3.22%        9.60%

   1 Portfolio characteristics are based on the unpaid principal balance (UPB) of the single-family credit guarantee portfolio. Approximately $1 billion in UPB for Other Guarantee Transactions
       is includedi ntotal UPBa n d percentage seriously delinquentbut not includedi nthe calculationof other statistics since these securities are backedby non-FreddieM a cissued securities
       for which loan characteristic data was not available.
   2 For a descriptionof Alt-A, see the “Glossary” i nthe company’sAnnual Reporton Form 10-K for the year ended December 31, 2013.
   3 Beginning September 1, 2010, the company fully discontinued purchases of interest-only loans.

   4   Represents the FICO score of the borrower at loan origination. The company estimates that less than 1% of loans within the portfolio are missing origination FICO scores and as such are
       excluded.
   5 Indicates year of loan origination (except for HARP and other relief refinance loans). Calculated based on the loans remaining in the portfolio as of December 31, 2013, rather than all
       loans originallyguaranteedby the companya n doriginatedi nthe respective year. EachBook Year category represents the percentage of loans referenced i nline1 of the same vertical
       column. Individual book years exclude HARP and other relief refinance loans originated in that year. See endnote (6).
   6    HARP and other relief refinance loans are presented separately rather than in the year in which the refinancing occurred (from 2009 to 2013). All other refinance loans are presented within
       the year that the refinancing occurred.
   7   Based on the number of loans that are three monthly payments or more past due or in the process of foreclosure.                                                                                         30
       Note: Individual categories are not mutually exclusive, and therefore are not additive across columns.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                Powered by Morningstar ® Document Research ℠
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                                   Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 167 of 179


      Single-family credit profile by book year and product
      feature 1
                                                                                                                                                              Book Year 2

                                                                                                                                                                                              HARP and
                                                                          Total Portfolio                                                                                    New single-      other relief     2005 to 2008        Pre-2005
                                                                              as of                                                                                          family book       refinance      Legacy single-   Legacy single-
                                                                                                                                                                                                          3
              Attribute                                                 December 31, 2013     2013             2012            2011            2010             2009        (2009 to 2013)       loans          family book      family book
         1    UPB $ Billions                                                  $1,653          $270             $265            $120            $113            $120              $888              $342             $268            $155
         2    Original Loan-to-Value (OLTV)                                    75%             71%             69%              69%             69%             69%              69%                89%              75%             72%
         3    OLTV > 90%                                                       16%             9%               7%              5%               4%              3%               7%                45%              11%             11%
         4    Current Loan-to-Value (CLTV)                                     69%             69%             61%              58%             60%             62%              63%                81%              87%             50%
         5    CLTV > 100%                                                      10%             0%               0%              0%               0%              1%               0%                21%              29%              3%
         6    CLTV > 110%                                                      6%              0%               0%              0%               0%              0%               0%                13%              19%              1%
                                             4
         7    Average FICO Score                                               739             755             761              757             754             751              757                735              704             711
                               4
         8     FICO < 620                                                      3%              0%               0%              0%               0%              1%               0%                4%               8%               7%
         9     Adjustable-rate                                                 6%              5%               5%              9%               4%              1%               5%                1%               15%             11%
                                   5
         10    Interest-only                                                   2%              0%               0%              0%               0%              0%               0%                0%               12%              1%
         11 Investor                                                           6%              5%               4%              5%               5%              3%               5%                9%               6%               5%
         12 Condo                                                              7%              6%               5%              5%               6%              7%               6%                9%               11%              8%
              Geography
                                                                    6
         13     Arizona,       California,       Florida & Nevada              26%             27%             26%              21%             19%             17%              23%                28%              31%             22%
                                                          7
         14     Illinois,   Michigan         & Ohio                            11%             10%             10%              10%             10%              9%              10%                13%              9%              14%
                                                      8
         15     New York & New Jersey                                          9%              8%               7%              9%               9%             10%               8%                8%               10%             11%
         16     All other states                                               54%             55%             57%              60%             62%             64%              59%                51%              50%             53%
         17 % of Loans with Credit Enhancement                                 13%             18%             13%              11%              8%              8%              13%                12%              18%             11%
                                                  9
         18 % Seriously Delinquent                                            2.39%           0.01%           0.04%            0.18%           0.39%           0.88%             0.24%            0.64%             8.77%           3.24%

  1 Portfolio characteristics are based on the unpaid principal balance (UPB) of the single-family credit guarantee portfolio. Approximately $1 billion in UPB for Other Guarantee Transactions is
      included in total UPB and percentage seriously delinquent but not included in the calculation of other statistics since these securities are backed by non-Freddie Mac issued securities for which
      loan characteristic data was not available.
  2 Indicates year of loan origination (except for HARP and other relief refinance loans). Calculated based on the loans remaining in the portfolio as of December 31, 2013, rather than all loans
      originally guaranteed by the company and originated in the respective year. Individual book years exclude HARP and other relief refinance loans originated in that year. See endnote (3).
  3 HARP and other relief refinance loans are presented separately rather than in the year in which the refinancing occurred (from 2009 to 2013). All other refinance loans are presented within the
      year that the refinancing occurred.
  4 Represents the average of the borrowers’ FICO scores at origination. The company estimates that less than 1% of loans within the portfolio are missing FICO scores and as such are excluded.

  5 Beginning September 1, 2010, the company fully discontinued purchases of interest-only loans.
  6 Represents the four states that had the largest cumulative declines in home prices during the housing crisis that began in 2006, as measured using Freddie Mac’s home price index.

  7 Represents selected states in the North Central region that have experienced adverse economic conditions since 2006.

  8
      Represents two states with a judicial foreclosure process in which there are a significant number of seriously delinquent loans within Freddie Mac’s single-family credit guarantee portfolio.
  9 Based on the number of loans that are three monthly payments or more past due or in the process of foreclosure.

                                                                                                                                                                                                                                                31




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                                   Powered by Morningstar ® Document Research ℠
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                             Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 168 of 179


     Single-family cumulative foreclosure transfer and
     short sale rates1 by book year


          12.00%                                                                                                                                       2007

          11.00%
                                                                                                                                                                        2006
          10.00%
            9.00%
            8.00%
            7.00%
                                                                                                                                                                                             2005
            6.00%
            5.00%
                                                                                                                                    2008
            4.00%
            3.00%                                                                                                                                                                                          2004

            2.00%
                                                                                                                                                                                                                         2003
            1.00%                                                                                              2009
                                                                          2011                2010
                                    2013
            0.00%
                          Yr1       Yr1       Yr2       Yr2       Yr3    Yr3      Yr4       Yr4      Yr5      Yr5       Yr6      Yr6      Yr7       Yr7       Yr8      Yr8      Yr9        Yr9   Yr10    Yr10   Yr11   Yr11
                           Q1       Q3        Q1        Q3        Q1     Q3        Q1       Q3       Q1        Q3       Q1       Q3        Q1       Q3        Q1       Q3       Q1         Q3     Q1      Q3      Q1   Q3


                                                                                                     Quarter Post Origination


                2003                 2004                  2005                2006               2007                 2008                2009                 2010                  2011              2012           2013



  1 Rates are calculated for each year of origination as the number of loans that have proceeded to foreclosure transfer or short sale and resulted in a credit loss, excluding any
    subsequent recoveries, divided by the number of loans originated in that year that were acquired in the company’s single-family credit guarantee portfolio. Includes Other Guarantee
    Transactions where loan characteristic data is available.                                                                                                                                                                 32




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                              Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 169 of 179




   Multifamily portfolio composition

                                                                     Total Multifamily (MF) Portfolio
                                                                                        UPB $ Billions



                                                                                                                           $177                    $180
                                                                                                  $169                                                                     $167
                                                                          $164
                                                 $154
                         $135




                      12/31/07                12/31/08                 12/31/09                12/31/10                12/31/11                12/31/12                 12/31/13


                          MF loan portfolio                       MF investment securities portfolio                                    MF guarantee portfolio
                                                                                                                                                                                                      33




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 170 of 179




   Multifamily securitization volume

                                                                    K-Deal Securitization Volume ¹
                                                                                         UPB $ Billions



                                                                                                                                                              $28.0



                                                                                                                               $21.2



                                                                                                 $13.7



                                                                    $6.4

                                     $2.1


                                    2009                           2010                           2011                          2012                           2013



      1 Total UPB represents the total collateral UPB of multifamily loans sold via Freddie Mac’s K Certificate transactions.
                                                                                                                                                                                                      34




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                   Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 171 of 179



                                                                                                                            1
       Multifamily new business volume by state (%)
                                                                   MF New Business Volume $25.9B
                                                                Twelve Months Ended December 31, 2013
                                                                                                                                                                                             ME
                                       WA
                                                                                                                                                                                         <0.1%
                                       3.3%
                                                                                               ND                                                                                VT
                                                                      MT                     <0.1%                                                                              0.0%
                                                                      0.0%                                        MN                                                                   NH
                                    OR                                                                            0.6%                                                    NY          0.1%
                                                                                                                               WI
                                   1.3%              ID                                         SD                                                                       7.2%    MA 1.2%
                                                                                                                             0.6%
                                                   0.1%                                        0.0%                                                                                                  RI
                                                                                                                                             MI
                                                                         WY                                                                                                                         0.3%
                                                                                                                                            1.4%                   PA        NJ
                                                                        <0.1%                                        IA                                                                        CT
                                                                                                 NE                                                               3.0%      4.2%
                                                                                                                    0.2%                             OH                                       0.8%
                                                                                                0.4%
                                            NV                                                                                     IL       IN      2.3%                  MD
                                                                                                                                                                                         DE
                                           0.8%             UT                                                                    2.8%     0.8%            WV            2.9%
                                                                                                                                                                                        0.4%
                                                           1.1%                CO                                                                          0.0%     VA
                                                                                                      KS                  MO                      KY
                                                                              2.7%                                                                                 5.6%
                                 CA                                                                  0.4%                 0.9%                    0.3%                                 DC
                               16.8%                                                                                                                                 NC                0.3%
                                                                                                                                             TN
                                                                                                                                                                    2.4%
                                                                                                            OK                               0.9%
                                                           AZ                                                              AR                                     SC
                                                                             NM                            0.4%
                                                          2.8%                                                            0.1%                                  0.3%
                                                                           0.3%
                                                                                                                                    MS                   GA
                                                                                                                                    0.1%
                                                                                                                                              AL
                                                                                                                                                         5.0%
                                                                                                                                             0.9%
                                                                                                      TX                                                                                          5%
                                                                                                                            LA
                      AK                                                                           14.1%
                     0.0%
                                                                                                                           0.8%                                                                   3% - 5%
                                                           HI
                                                                                                                                                                   FL
                                                          0.2%
                                                                                                                                                                  8.8%
                                                                                                                                                                                                  1% - 3%
                                                                                                                                                                                                  1%




       1 Based on the unpaid principal balance (UPB) of the multifamily loan purchases and issuance of other guarantee commitments and other structured securities.                     Percentages shown
         above are rounded to the nearest tenth of a percent although classifications are based on unrounded figures.                                                                                     35




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                    Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 172 of 179


        Multifamily mortgage portfolio UPB concentration by
              1
        state
                                                                                                                                            2
                                                                     MF Mortgage Portfolio $132.8B
                                                                        As of December 31, 2013
                                       WA                                                                                                                                                        ME
                                       3.4%                                                                                                                                                     <0.1%
                                                                                                ND                                                                                   VT
                                                                      MT                       0.1%
                                                                                                                 MN                                                              0.0%
                                                                     <0.1%                                                                                                            NH
                                    OR                                                                           1.2%                                                         NY     0.2%
                                   0.9%              ID                                         SD                              WI                                           8.5% MA 1.8%
                                                                                                                            0.7%
                                                   0.1%                                        0.1%                                          MI                                                         RI
                                                                         WY                                                                 1.0%                                                   0.2%
                                                                                                                                                                       PA          NJ
                                                                        <0.1%                                       IA                                                                            CT
                                                                                                  NE                                                                  2.5%      2.7%
                                                                                                                   0.2%                                   OH                                     0.9%
                                                                                                 0.5%
                                              NV                                                                                     IL      IN        1.9%                   MD
                                           1.1%
                                                                                                                                                               WV             5.1%              DE
                                                            UT                                                                   2.5%       0.7%
                                                                                                                                                               0.1%     VA                     0.2%
                                                            0.6%               CO
                                                                                                       KS                MO                          KY                5.3%
                                                                              3.0%
                                CA                                                                    0.8%               1.1%                        0.5%                                 DC
                               16.7%                                                                                                                                    NC              0.7%
                                                                                                                                                TN                     2.8%
                                                                                                          OK                                 1.4%
                                                                                                                          AR                                       SC
                                                          AZ                 NM                           0.5%
                                                                                                                         0.3%                                      1.0%
                                                          2.3%             0.3%
                                                                                                                                      MS                     GA
                                                                                                                                                  AL
                                                                                                                                     0.3%
                                                                                                                                                0.9%
                                                                                                                                                            4.4%                                      5%
                                                                                                     TX                                                                                               2% - 5%
                                                                                                  12.7%                    LA
                      AK
                     0.0%
                                                                                                                          0.8%                                                                        1% - 2%
                                                                                                                                                                      FL
                                                           HI
                                                          0.2%
                                                                                                                                                                      7.0%                            1%




    1 Based on the unpaid principal balance (UPB) of unsecuritized mortgage loans, other guarantee commitments, and collateral underlying other structured securities and K Certificate
        transactions. Percentages shown above are rounded to the nearest tenth of a percent although classifications are based on unrounded figures.
    2
        Consists of the UPB of unsecuritized multifamily loans, other guarantee commitments, and guaranteed Freddie Mac mortgage-related securities. Excludes the UPB associated with
                                                                                                                                                                                  36
        unguaranteed subordinated tranches in K Certificate transactions and other structured securities.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                        Powered by Morningstar ® Document Research ℠
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                               Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 173 of 179



                                                                                                                                                    1
   Multifamily mortgage portfolio by attribute
                                                                                        December 31, 2012                             September 30, 2013                               December 31, 2013



                                                                                                       Delinquency                                      Delinquency                                  Delinquency
                                                                                                                       2                                            2                                              2
                                                                                       UPB                  Rate                     UPB                    Rate                      UPB                  Rate
                                                                                  ($ Billions)                (%)               ($ Billions)                  (%)              ($ Billions)                 (%)

                                                                        3
                                Year of Acquisition      or Guarantee
                          1        2006 and prior                                    $25.2                  0.17%                  $21.2                    0.01%                     $19.1                   - %
                          2        2007                                                 17.8                  0.86                    15.8                   0.29                      15.1                 0.54
                          3        2008                                                 16.6                  0.30                    14.1                   0.15                      13.2                 0.18
                          4        2009                                                 12.2                       -                  11.5                      -                      11.2                   -
                          5        2010                                                 12.0                       -                  11.4                      -                      10.9                 0.13
                          6        2011                                                 17.0                       -                  16.4                      -                      15.9                   -
                          7        2012                                                 26.6                       -                  24.1                      -                      23.7                   -
                          8        2013                                                 N/A                   N/A                    17.6                       -                   23.7                      -
                                          Total                                      $127.4                 0.19%                  $132.1                   0.05%                 $132.8                   0.09%

                                Maturity Dates
                          9        2013                                                $3.3                 0.86%                   $0.5                    1.73%                      N/A                  N/A
                          10       2014                                                 5.8                        -                  3.4                       -                     $2.1                 0.12%
                          11       2015                                                 9.8                   0.53                    7.8                       -                      6.9                  0.05
                          12       2016                                                 13.0                  0.05                    11.9                   0.04                      11.2                   -
                          13       2017                                                 10.9                  0.02                    10.4                   0.17                      10.0                 0.43
                          14       2018                                                 17.3                       -                  17.1                      -                      17.0                   -
                          15       Beyond 2018                                          67.3                  0.24                    81.0                   0.05                      85.6                 0.08
                                          Total                                      $127.4                 0.19%                  $132.1                   0.05%                 $132.8                   0.09%
                                                  4
                                Geography
                          16       California                                        $21.1                  0.12%                  $21.9                        - %                   $22.4                0.03%
                          17       Texas                                              15.9                   0.13                   16.3                     0.04                      16.7                 0.02
                          18       New York                                             10.7                  0.09                    11.3                   0.09                      11.4                 0.12
                          19       Florida                                               8.4                  0.12                    9.3                       -                       9.3                 0.28
                          20       Virginia                                             6.6                        -                  7.1                       -                      7.0                  0.37
                          21       Maryland                                             6.9                        -                  6.8                       -                      6.7                    -
                          22       All other states                                   57.8                   0.32                    59.4                    0.09                   59.3                    0.08
                                          Total                                      $127.4                 0.19%                  $132.1                   0.05%                 $132.8                   0.09%


     1 Based on the unpaid principal balance (UPB) of the multifamily mortgage portfolio.
     2 Based on the UPB of mortgages two monthly payments or more past due or in the process of foreclosure.

    3 Based on either: (a) the year of acquisition, for loans recorded on the company’s consolidated balance sheets; or (b) the year that the company issued its guarantee, for the
        remaining loans in its multifamily mortgage portfolio.
    4
                                                                                                                                                                                                                           37
        Presents the six states with the highest UPB at December 31, 2013.




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                               Powered by Morningstar ® Document Research ℠
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                             Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 174 of 179




   Multifamily mortgage portfolio by attribute, continued 1
                                                                                                   December 31, 2012                             September 30, 2013                          December 31, 2013



                                                                                                                   Delinquency                                    Delinquency                           Delinquency
                                                                                                UPB                      Rate 2                UPB                     Rate 2               UPB             Rate 2
                                                                                             ($ Billions)                 (%)               ($ Billions)                (%)              ($ Billions)        (%)

             Current Loan Size
       1       > $25M                                                                            $48.5                  0.06%                  $50.8                       - %              $50.6          0.05%
       2       > $5M & <= $25M                                                                    70.0                    0.26                   72.4                   0.07                 73.2           0.11
       3       > $3M & <= $5M                                                                      5.7                    0.22                    5.8                   0.23                 6.0            0.11
       4       > $750K & <= $3M                                                                    3.0                    0.65                    2.9                   0.23                 2.8            0.17
       5       <= $750K                                                                            0.2                    0.37                    0.2                   0.45                 0.2            0.46
       6            Total                                                                        $127.4                 0.19%                  $132.1                  0.05%               $132.8          0.09%

             Legal Structure
       7       Unsecuritized Loans                                                               $76.6                  0.08%                  $64.9                   0.05%                $59.2          0.08%
       8       K Certificates                                                                     37.2                    0.07                  54.1                    0.01                59.8            0.07
       9       Other Freddie Mac mortgage-related securities                                       4.2                    3.20                   4.0                    0.75                 4.8            0.59
       10      Other guarantee commitments                                                         9.4                   0.13                   9.1                       -                  9.0              -
       11         Total                                                                         $127.4                  0.19%                 $132.1                   0.05%               $132.8          0.09%


             Credit Enhancement
       12     Credit Enhanced                                                                    $47.8                  0.36%                  $64.1                   0.06%                $70.2          0.11%
       13     Non-Credit Enhanced                                                                 79.6                   0.10                    68.0                   0.05                 62.6           0.07
       14       Total                                                                            $127.4                 0.19%                  $132.1                  0.05%               $132.8          0.09%

             Other
       15      Original LTV > 80%                                                                 $5.8                  2.31%                   $5.2                   0.33%                $5.6           0.19%
                                        3
       16      Original DSCR below 1.10                                                           $2.3                  2.97%                   $2.0                   0.30%                $2.2              - %


   1 Based on the unpaid principal balance (UPB) of the multifamily mortgage portfolio.
  2 Based on the UPB of mortgages two monthly payments or more past due or in the process of foreclosure.

  3 DSCR – Debt Service Coverage Ratio – is an indicator of future credit performance for multifamily loans. DSCR estimates a multifamily borrower’s ability to service its mortgage
     obligation using the secured property’s cash flow, after deducting non-mortgage expenses from income. The higher the DSCR, the more likely a multifamily borrower will be able to
     continue servicing its mortgage obligation.                                                                                                                                                                      38




Source: FEDERAL HOME LOAN MORTGAGE CORP, 8-K, February 27, 2014                                                                                                                          Powered by Morningstar ® Document Research ℠
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 175 of 179




     Multifamily market and Freddie Mac delinquency rates
  Percent
    14


    12


    10


      8

                                                                                                                                                                                                  6.41%
      6


      4


      2
                                                                                                                                                                                                  0.96%
                                                                                                                                                                                                  0.05%
      0                                                                                                                                                                                           0.00%
          3Q 2009              1Q 2010              3Q 2010               1Q 2011             3Q 2011              1Q 2012               3Q 2012              1Q 2013              3Q 2013

                                                                      1
                                 Freddie Mac (60+ day)                                                                   FDIC Insured Institutions (90+ day)

                                 MF CMBS Market (60+ day)                                                                ACLI Investment Bulletin (60+ day)

      1
          See “MD&A– RISKMANAGEMENT– CreditR i s k– Mortgage Credit Risk – Multifamily Mortgage Credit Risk ” i nFreddieMac’sForm10-K for the year ended December 31,
          2013, for information about the company’s reported multifamily delinquency rate. The multifamily delinquency rate at December 31, 2013 was 0.09%.
          Source: FreddieM a c ,FDICQuarterly BankingProfile,TREPP(CMBS multifamily60+ delinquencyrate, excludingREOs), AmericanCouncilof LifeInsurers (ACLI). Non-Freddie
          Mac data is not yet available for the fourth quarter of 2013.
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                         Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 176 of 179




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               Freddie Mac's presentations may contain forward-looking statements, which may include statements pertaining to the conservatorship,
               the company’s current expectations and objectives for its single-family, multifamily and investment businesses, its loan workout
               initiatives and other efforts and other programs to assist the U.S. residential mortgage market, liquidity, capital management, economic
               and market conditions and trends, market share, the effect of legislative and regulatory developments, and new accounting guidance,
               credit quality of loans we guarantee, and results of operations and financial condition on a GAAP, Segment Earnings and fair value
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               the company’s Annual Report on Form 10-K for the year ended December 31, 2013, which is available on the Investor Relations page of
               the company’s Web site at www.FreddieMac.com/investors and the SEC’s Web site at www.sec.gov. The company undertakes no
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Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 177 of 179




                  Exhibit C
Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 178 of 179
Case 1:13-mc-01288-RCL Document 33-1 Filed 03/21/14 Page 179 of 179
